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                EXHIBIT F
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Attorneys for Plaintiffs Samantha Alario,
Heather DiRocco, Carly Ann Goddard, Alice
Held, and Dale Stout

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

SAMANTHA ALARIO, HEATHER                       Lead Case No.
DIROCCO, CARLY ANN GODDARD,
ALICE HELD, and DALE STOUT,                    9:23-cv-00056-DWM
                                               CV 23–56–M–DWM
             Plaintiffs,
      v.                                       Member Case No.
                                               CV 23–61–M–DWM
AUSTIN KNUDSEN, in his official
capacity as Attorney General of the State      DECLARATION OF AMBIKA
of Montana,                                    KUMAR IN SUPPORT OF
                                               PLAINTIFFS’ MOTION FOR
             Defendant.                        PRELIMINARY INJUNCTION




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I, Ambika Kumar, declare as follows:

      1.     I am a partner in the law firm Davis Wright Tremaine LLP, have been

admitted pro hac vice to practice before this Court, and am counsel for Plaintiffs in

this matter. I make this declaration from personal knowledge and a review of the

files and records in this matter.

      2.     Attached as Exhibit 1 is a true and correct copy of a transcript of the

March 28, 2023 Montana House Judiciary Committee Hearing on SB 419, which

my office had transcribed.

      3.     Attached as Exhibit 2 is a true and correct copy of the following article

attributed to Aaron Drapkin and published in tech.co on November 15, 2022: TikTok

Extends Video Length Limit to 10 Minutes, available at https://tech.co/news/tiktok-

extends-video-10-minutes. My office obtained a copy of this article as well as the

remaining exhibits to my declaration by visiting the websites listed in each

paragraph. In addition, my office has omitted extraneous pages following the

articles attached to this Declaration as Exhibits 7, 13, 14, 16, 18, and 19.

      4.     Attached as Exhibit 3 is a true and correct copy of a portion of TikTok’s

website    titled   Effects,      available       at   https://support.tiktok.com/en/using-

tiktok/creating-videos/effects.




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      5.     Attached as Exhibit 4 is a true and correct copy of TikTok’s Support

website      describing      Messaging        and      Notifications,     available    at

https://support.tiktok.com/en/using-tiktok/messaging-and-notifications.

      6.     Attached as Exhibit 5 is a true and correct copy of TikTok’s September

27,   2021        press   release   titled    Thanks     a    Billion!,    available   at

https://newsroom.tiktok.com/en-us/1-billion-people-on-tiktok.

      7.     Attached as Exhibit 6 is a true and correct copy of TikTok’s March 21,

2023, press release titled Celebrating our thriving community of 150 million

Americans, available at https://newsroom.tiktok.com/en-us/150-m-us-users.

      8.     Attached as Exhibit 7 is a true and correct copy of the following article

attributed to Cat Zakrzewski et al. and published by The Washington Post on

October 31, 2022: As Midterms Loom, TikTok Faces Its Next Political Test, available

at      https://www.washingtonpost.com/technology/2022/10/31/tiktok-faces-2022-

midterm-elections/.

      9.     Attached as Exhibit 8 is a true and correct copy of the following article

attributed to Anna P. Kambhampaty and published by The New York Times on

March      19,      2022:     Securing       the    TikTok      Vote,     available    at

https://www.nytimes.com/2022/03/19/style/tiktok-political-campaigns-midterm-

elections.html.



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      10.    Attached as Exhibit 9 is a true and correct copy of the following article

attributed to Josh Robin and Rachel Tillman and published by Spectrum News on

September 22, 2022: Views to votes: Candidates employ TikTok to spread political

message     ahead     of   midterms,   available   at   https://www.ny1.com/nyc/all-

boroughs/news/2022/09/22/tiktok-midterm-elections-campaign-season-democrats-

fetterman-oz.

      11.    Attached as Exhibit 10 is a true and correct copy of the main page of

Montana     State    Senator   Ken     Bogner’s    TikTok    account,   available    at

https://www.tiktok.com/@kenbogner.

      12.    Attached as Exhibit 11 is a true and correct copy of the main page of

Montana State Representative Zooey Zephyr’s TikTok account, available at

https://www.tiktok.com/@zoandbehold.

      13.    Attached as Exhibit 12 is a true and correct copy of TikTok’s June 18,

2020, press release titled How TikTok Recommends Videos #ForYou, available at

https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you.

      14.    Attached as Exhibit 13 is a true and correct copy of the following article

attributed to Alexandra Garfinkle and published by Yahoo! Finance on January 19,

2023: TikTok: Are influencers panicking about bans? We asked three to weigh in,

available    at     https://finance.yahoo.com/news/tiktok-are-influencers-panicking-

about-bans-we-asked-three-to-weigh-in-205625085.html.

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      15.    Attached as Exhibit 14 is a true and correct copy of the following article

attributed to Jaimie Ding for Tribune News Service and published by The Dallas

Morning News on March 28, 2023: TikTok has created small business success

stories     and        fast-tracked     American        dreams,      available       at

https://www.dallasnews.com/business/retail/2023/03/28/tikttok-has-created-small-

business-success-stories-and-fast-tracked-american-dreams/.

      16.    Attached as Exhibit 15 is a true and correct copy of SB 419, as enacted

by the Montana Legislature on April 18, 2023 and signed into law by Governor Greg

Gianforte         on         May          17,        2023,         available         at

https://leg.mt.gov/bills/2023/BillPdf/SB0419.pdf.

      17.    Attached as Exhibit 16 is a true and correct copy of the following article

attributed to Fran Beyer and published by Newsmax on April 17, 2023: Mont. AG

Knudsen to Newsmax: State TikTok Ban First of Its Kind, available at

https://www.newsmax.com/newsmax-tv/tiktok-montana-

ban/2023/04/17/id/1116448/.

      18.    Attached as Exhibit 17 is a true and correct copy of an email I received

on June 26, 2023.

      19.    Attached as Exhibit 18 is a true and correct copy of the following article

attributed to Will Oremus and published by The Washington Post on April 17, 2023:

Discord Leak Suggests China Doesn’t Need TikTok to Find U.S. Secrets, available

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at    https://www.washingtonpost.com/technology/2023/04/17/discord-document-

leak-tiktok-ban/.

      20.    Attached as Exhibit 19 is a true and correct copy of the following article

attributed to Darrell M. West and Mishaela Robison and published by the Brookings

Institute on February 16, 2023: TikTok Bans Won’t Guarantee Consumer Safety,

available    at     https://www.brookings.edu/articles/tiktok-bans-wont-guarantee-

consumer-safety/.

      21.    Attached as Exhibit 20 is a true and correct copy of Montana Governor

Greg Gianforte’s December 16, 2022, memorandum Prohibiting the Use of TikTok

on          State           IT          Infrastructure,           available          at

https://governor.mt.gov/_docs/MEMO_221216_Banning_TikTok_on_State_Devic

es.pdf.

      22.    Attached as Exhibit 21 is a true and correct copy of Montana SB 384,

as signed into law by Governor Greg Gianforte on May 19, 2023, available at

https://leg.mt.gov/bills/2023/billpdf/SB0384.pdf.

      23.    Attached as Exhibit 22 is a true and correct copy of TikTok CEO Shou

Zi Chew’s June 30, 2022, letter to Senator Marsha Blackburn, et al., available at

https://www.blackburn.senate.gov/services/files/A5027CD8-73DE-4571-95B0-

AA7064F707C1.



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        24.   Attached as Exhibit 23 is a true and correct copy of TikTok’s website

titled User Safety, available at https://support.tiktok.com/en/safety-hc/account-and-

user-safety/user-safety.

        25.   Attached as Exhibit 24 is a true and correct copy of the Petition for

Review filed in TikTok, Inc. v. CFIUS, No. 20-1444 (D.C. Cir.) on November 10,

2020.

        26.   Attached as Exhibit 25 is a true and correct copy of the Status Report

filed in TikTok, Inc. v. CFIUS, No. 20-1444 (D.C. Cir.) on Feb. 21, 2023.

        I declare under penalty of perjury that the foregoing is true and correct.

Signed in Seattle, Washington this 5th day of July, 2023.




                                                             Ambika Kumar




DECL. OF AMBIKA KUMAR IN SUPPORT OF PLS.’ MOT. FOR PRELIM. INJ.
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[00:00:00]

CHAIR AMY REGIER: The House Judiciary will come to order. Will the Secretary please
take roll?

SECRETARY: Thank you, Madam Chair, Vice-Chair Ler.

VICE CHAIR LER: Here.

SECRETARY: Vice-Chair, Bishop.

VICE CHAIR BISHOP: Here.

SECRETARY: Representative Mitchell.

REPRESENTATIVE BRAXTON MITCHELL: Here.

SECRETARY: Representative Sheldon Galloway.

REPRESENTATIVE SHELDON GALLOWAY: Here.

SECRETARY: Representative Smith.

REPRESENTATIVE LAURA SMITH: Here.

SECRETARY: Representative Deming.

REPRESENTATIVE LEE DEMING: Here.

SECRETARY: Representative Knudsen.

REPRESENTATIVE CASEY KNUDSEN: Here.

SECRETARY: Representative France.

REPRESENTATIVE TOM FRANCE: Here.

SECRETARY: Representative Carlson.

REPRESENTATIVE JENNIFER CARLSON: Here.

SECRETARY: Representative Howell.

REPRESENTATIVE SJ HOWELL: Here.



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SECRETARY: Representative C. Hinkle.

REPRESENTATIVE CALEB HINKLE: Here.

SECRETARY: Representative Duram.

REPRESENTATIVE NEIL DURAM: Here.

SECRETARY: Representative Hawk.

CHAIR AMY REGIER: Excused.

SECRETARY: Representative Zephyr.

REPRESENTATIVE ZOOEY ZEPHYR: Here.

SECRETARY: Representative Kmetz.

REPRESENTATIVE GREG KMETZ: Here.

SECRETARY: Representative Etchart.

REPRESENTATIVE JODEE ETCHART: Here.

SECRETARY: Representative J. Hinkle.

REPRESENTATIVE JED HINKLE: Here.

SECRETARY: Representative Rusk.

REPRESENTATIVE WAYNE RUSK: Here.

SECRETARY: Minority Leader Abbott.

REPRESENTATIVE KIM ABBOTT: Here.

SECRETARY: Chair Regier.

CHAIR AMY REGIER: Here. Good morning, everyone. We are going to begin with Senate
Bill 419. We’ll open Senate Bill 419. Senator, please open on your bill.

SENATOR SHELLEY VANCE: Madam Chair, member of the House Judiciary, my name is
Shelley Vance, Senate District 34. I hail from Gallatin County, and I represent Belgrade and the
surrounding area. It’s an honor for me to bring you Senate Bill 419, a ban to – excuse me, a bill
to ban TikTok in Montana. Weeks ago, China shocked our nation and our state when it flew a


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surveillance balloon over Montana and other parts of our nation. This brazen intrusion of our
national sovereignty gathered untold information in service of the Chinese Communist Party.
Whatever information the balloon gathered, it surely fell short of China’s other surveillance tool,
TikTok. After years of investigative reporting, we now know this to be true. TikTok endangers
the safety of Montanans and Americans at large. We know beyond a doubt that TikTok’s parent
company, ByteDance, is operating as a surveillance arm of the Chinese Communist Party and
gathers information about Americans against their will or unknown to them. TikTok, which
markets itself as a harmless mobile app, entices people to download the app like any other social
media network to join viral dance trends, post funny entertaining content and all sorts of shiny
distracting things. Once downloaded, TikTok has access to the most sensitive information on
your device—your name, your home address, your personal network, your friends, your online
viewing habits and whole host of other pieces of information. You’re not the user, you’re being
used. Senate Bill 419 puts an end to China’s surveillance operation in Montana. It’s operative
clause is simple: “TikTok may not operate within the territorial jurisdiction of Montana.”
Whenever TikTok operates where the criminal law of Montana applies, it’s on the hook for
$10,000 dollars. Penalties attached for each discreet violation and continue in the amount of an
additional $10,000 dollars each day the violation occurs. This bill also provides for contingent
voidness by allowing TikTok to operate in Montana if it severs its ties with ByteDance. Madam
Chair, the Attorney General of Montana and others on his team are here with me today to speak
on the bill. Thank you.

CHAIR AMY REGIER: Thank you. We’ll begin with proponents in the room. I am limiting
testimony to two minutes, both online and in the room. Thanks for being here.

ATTORNEY GENERAL AUSTIN KNUDSEN: Excuse me. Madam Chair and members of
the committee, for the record, Attorney General Austin Knudsen here representing the Montana
Department of Justice. I want to thank Senator Vance for bringing this very important bill.
We’ve seen some amazing things in the last few weeks. As the Senators noticed – or as she
noted, the surveillance spy drone that floated over our state, took pictures of our sensitive nuclear
installations here in Montana, but let’s just talk about TikTok, that we’re talking about here
today. We’ve seen some amazing things on Capitol Hill. We’ve seen bipartisan support for a
federal ban on TikTok. I think that’s pretty amazing in and of itself. We saw the CEO of TikTok

[00:05:00]

get in front of a bipartisan Congressional Committee and duck and dive and do everything he
could to not say that TikTok is spying on Americans. We know that’s exactly what TikTok is
doing. TikTok is spying on Americans, period. TikTok is a tool of the Chinese Communist Party.
It is owned by a Chinese company, and under China law, if you are based in China, you will
cooperate with the Chinese Communist Party, period. If they request that data, they will – they
required to turn it over, and that’s what’s happening here. We know this just from all the
investigations that have gone on from our own internal investigations. There’s a lot of people
here behind me that are employees of the Department of Justice who are much more
knowledgeable than I am and can provide some detailed information for you. I’m not one to ban
private business, but I think this is an extraordinary situation. This is a business that is controlled


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by an existential threat an enemy of the United States, and that’s China’s own words. China
considers America it’s largest enemy by their own military doctrines and publications. They see
a war with the United States as inevitable, and they’re using TikTok as an initial salvo in that
war. So, I would strongly urge a due pass here. This is something we think we can defend and
something we think we can enforce. So, thank you, Madam Chair.

CHAIR AMY REGIER: Thank you. Next proponent in the room.

ANNE DORMADY: Madam Chair and members of the Committee, my name is Anne
Dormady—D-o-r-m-a-d-y. I’m the current Information Bureau Chief at the Division of Criminal
Investigation with the Montana Department of Justice. I’ve been with the organization for 19
years. Part of my responsibility is coordinating threat response strategies for our state, both
foreign and domestic. My team works closely with state government and federal law
enforcement agencies all committed to protecting Montana and national interests from foreign
interference. At the same time, I also oversee our Cyber Crime Unit and Internet Crimes Against
Children Program, aggressively pursuing online sexual predators. I’m here today on behalf of
Montana Department of Justice to discuss some observations and analysis regarding the impact
of TikTok and the potential threat it poses to Montana. TikTok is owned by the company
ByteDance, which is headquartered in Beijing. There are grave concerns with this popular app
related to national security and China’s influence through TikTok. TikTok has claimed that the
company protects all American users’ data and that the Chinese government officials have no
access to it. However, ByteDance recent confirmed the company employees use TikTok to track
U.S. journalists’ IP addresses to find their location information to determine if employees were
meeting with the media. FBI Director, Wray, and a Commissioner of the Federal
Communications Commission, or FCC, have made public statements about concerns related to
the economic and national security threat that the Chinese government poses to the United
States, including statements specifically about TikTok. Last year, the Montana Department of
Justice identified this threat posed by the app and banned the use on agency devices due to the
potential foreign government security threat. Imagine if the app was used for nefarious reasons
by the Chinese government to target staff by determining location data on where they lived, their
routes of travel, who they communicated with, or any other sensitive information housed on
state-owned devices. Finally, there are concerns on the threat the application poses to children by
online predators. Nationally, predators have been found guilty of using TikTok to commit child
exploitation by targeting minors viewing and even distributing child pornography. The Montana
Internet Crimes Against Children Program, which is one of the units I oversee, has received
multiple cyber tip reports on concerns that child exploitation is occurring through TikTok. Chair
and Members of Committee, as our federal partners continue to assess the impact to national
security given what we know, then it is reasonable to ask if the Chinese government should be
able to track and control the data collection on Montana’s citizens. We have a responsibility to
protect our citizens from harm, and as innocent -

MALE VOICE: Madam Chair, time is up.

ANNE DORMADY: - and entertaining as this software system appears to be, it can be used for
malicious intent with global implications of harm. Thank you for your time.


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ERIC TARR: Good morning. Madam Chair, my name is Eric Tarr—T-a-r-r-. I’m the
Information Security Officer for the Department of Justice. My role here today is to talk about
the data extrapolation and understand how TikTok is taking our personal data and using it for
their benefit.

[00:10:00]

If you look at the privacy policy of TikTok and read it, it actually tells you it will scan things
more than what’s just on the app. As soon as you open it, it will scan everything on your device,
including your computer files, and any other data. So, the point that we’re trying to make is
there’s a lot more on the back end that TikTok is grabbing from the citizens of Montana, and we
see the traffic going to China. So, 30 percent of the traffic is always going to China from the IP
addresses that TikTok and ByteDance are using. The main issue I have is the data protection. So,
we have to protect the integrity of the data and the citizens, and that’s why I’m here today. So, I
will answer any technical questions if you had them. So, thank you.

CHAIR AMY REGIER: Thank you. Next proponent. No further proponents in the room?
Moving online, Steve Cape.

STEVE CAPE: Mr. Chairman, Members of the Committee, thank you for having this bill and a
hearing and the witnesses. I come here on behalf of a Montana Coalition for Safety and Justice.
Privacy has become a major issue with us because privacy and data security is key to a free
society and the safety of our citizens. With that, I testify with a background in data security. I am
a member of the International Association of Privacy Professionals. I also sit on the American
Bar Association in Cyber Security, Privacy and Digital Rights Committee. I also sit on the
Human Rights Committee. TikTok is one of the greatest dangers when it comes to privacy
security, and is a great danger to our citizens, it’s a great danger to our children. Within 40
minutes of using TikTok, your information off your computer has been sent to China an a profile
has been made based on what you’re watching.

ANNOUNCER: Madam Chair, one minute left.

STEVE CAPE: If you’re depressed, you will successfully be sent more depressive videos
finally to how-to-kill-yourself videos. If you’re a child molester, they pick that up and
immediately within 55 minutes, you’re in the middle of child exploitation videos. If you have
any other personal issue, it will take you right to [PH] viddies and feed on them. While you’re
watching it, it’s taking all your data. It’s taking all the data of anything that’s connected to your
device. So, your phone, your connections, your contacts, your children’s information, the
children’s information and who they play with and talk to is all being sent to China. It’s all being
exploited. It’s all being used. Using TikTok is the digital equivalent of inviting Bundy, Adolf
Hitler, [PH] Mangala right into your own house.

CHAIR AMY REGIER: Joel Thayer.



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JOEL THAYER: Thank you, Madam Chair and esteemed Members of this Committee for
allowing me to testify in support of SB419. My name is Joel Thayer and I am a practicing
attorney in the technology space in Washington, DC, and am President of the Digital Progress
Institute, which is a nonprofit organization that advocates for incremental changes in the tech
sector through bipartisan consensus. It is my view that SB419 presents a measured bill that seeks
to address an important public policy concern, which in this case is the Chinese government’s
use of China’s own technology to surveil American citizens. Candidly, given the lack of federal
leadership regarding a commercial ban of TikTok, Montana is well suited to act as a leader here.
It's undeniable that TikTok is more than just an innocuous dancing app. It is a sophisticated tool
designed to monitor your every move and collect your physical characteristics, much like other
social media companies do. However, TikTok has one troubling distinction from its competitors,
the Chinese government may be the one watching. Such potential access from a foreign
government to Americans’ data drove the Biden administration to call for a full ban of the app.

[OVERLAY]

MODERATOR: Madam Chair, one minute.

[OVERLAY]

JOEL THAYER: [INDISCERNIBLE] President Biden’s call for a ban hearkens back to what
the Trump administration attempted in its 2020 order. Strangely, some take issue with ban the
app commercially on the grounds that TikTok has a First Amendment right to be in our markets.
However, the First Amendment does not prevent the government from imposing a ban on
TikTok. The courts have been very clear on this issue.

[00:15:00]

The government would be acting here based on TikTok’s conduct, namely its action that present
an unacceptable national security threat, not based on the content of TikTok’s speech or that of
its users. Courts have consistently distinguished between conduct and speech to determine
whether the First Amendment is applicable or prohibitive towards the enactment or enforcement
of a particular policy. I appreciate the opportunity to testify, and I look forward to addressing
your questions regarding this important bill.

CHAIR AMY REGIER: Bryan Burack.

BRYAN BURACK: Madam Chair, Members of the Committee, my name is Bryan Burack—
that’s B-u-r-a-c-k, and I’m the Senior Policy Advisor of the Heritage Foundation’s Asian Study
Center here in Washington, DC. Madam Chair, TikTok presents a unique national security threat
that can only be resolved through a ban. Like many social media apps, TikTok turns a cellphone
into a powerful surveillance device, but TikTok is different than other social media giants. Its
parent company, ByteDance, is ultimately controlled by the Chinese government and the
Communist Party of China. ByteDance is obligated under Chinese law to share data with the
government and to assist them with intelligence operations. The government owns a golden chair


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in ByteDance, which gives them a seat on its corporate board and the power to select
ByteDance’s so-called editor in chief, who is really its chief sensor and happens to be the
secretary of ByteDance’s Communist Party [PH] cell. TikTok’s government connection is on full
display during the CEO’s Congressional testimony here in Washington last week. Although
ByteDance has structured itself so that technically TikTok and its Chinese business are separate
subsidiaries of a Cayman Island’s parent, the members of Congress easily recognized that this is
a shell company and that decisions are made in Beijing.

[OVERLAY]

MODERATOR: Madam Chair, one minute.

[OVERLAY]

BRYAN BURACK: [INDISCERNIBLE] is led by the same person in charge of ByteDance’s
larger business in China. Important TikTok staff report to ByteDance, not TikTok’s CEO, and
although the CEO promised not to comply with Chinse government demands, members on both
sides of the aisle just didn’t believe him. His bosses are legally required to help the Chinese
government collect intelligence or interfere in the United States. ByteDance has tried to hide
TikTok’s government control behind this elaborate corporate structure. They’ve made grandiose
promises about new security measures, but the truth is, they simply can’t guarantee the privacy
of American users. Under the control of the CCP, TikTok is the perfect tool for mass
surveillance, political interference and influence operations. The app should be banned. I thank
the Chair and the Members.

CHAIR AMY REGIER: Keith Krach. Mr. Krach, you’re on mute.

KEITH KRACH: Can you hear me now?

CHAIR AMY REGIER: We can hear you.

KEITH KRACH: Okay. Good morning, and I appreciate your leadership on this issue because
the reality we face as a nation is one of every increasing cyber warfare and seemingly ceaseless
intense variations of weaponized technological competition. I served as Undersecretary of State.
My mission was to develop a global economic security strategy to maximize national security,
drive economic growth, and combat authoritarian aggression. Both sides of the aisle watched,
and understand that our rivals are playing the long game, and they’re playing a game of keeps, a
game of four dimensional military, economic, diplomatic and cultural chess with technology at
its core. And TikTok is one of China’s most potent weapons. For the purpose of this critical
legislation, let me just emphasize three key points. First, TikTok is controlled by the Chinese
government from a legal, structural, governance and leadership perspective. It’s one percent
golden share stake even guarantees TikTok’s algorithm can be manipulated by the Communist
Party.

MODERATOR: Madam Chair, one minute.


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KEITH KRACH: Second, TikTok is programmed to be weaponized. It tracks keystrokes as
well as password and location, and it also preys on children. It’s disguised as candy, but it’s
really cocaine. I won’t let my 11-year-old twins near it. And to make matters worse, it’s not just
about you or your children, it’s about everybody you digitally interact with—your friends, your
family, your business associates and everyone in your life. It’s like a weaponized digital virus.
And then third, it’s also a powerful propaganda tool, and that’s why posts on something like
Tiananmen Square or democracy in Taiwan seem to magically disappear. Finally, the Chinese
government and TikTok are spending millions of dollars on the best lobbyists and lawyers.

CHAIR AMY REGIER: Mr. Johnson, I need to have Mr. Krach state an spell his name for the
record.

MR. JOHNSON: Madam Chair, I will bring him back.

[00:20:00]

CHAIR AMY REGIER: Mr. Krach, I need to have you state and spell your name for the
record.

KEITH KRACH: Keith Krach—K-r-a-c-h.

CHAIR AMY REGIER: Thank you. And are you representing anyone in particular?

KEITH KRACH: Excuse me?

CHAIR AMY REGIER: Are you representing anyone in particular?

KEITH KRACH: Yes, the Krach Institute for Tech Diplomacy at Perdu.

CHAIR AMY REGIER: Perfect. Thank you. Seeing no further proponents online, we’ll move
to opponents in the room. First opponent.

Here for the next bill really, but I’m kind of worked up about this bill too. You know, I think
we’re picking –

CHAIR AMY REGIER: Senator, please state and spell your name?

SENATOR JEREMY TREBAS: Thank you. Yeah, appreciate that. Jumped ahead of things
here. Thought you all knew me already. Senator Jeremy Trebas—T-r-e-b-a-s—just speaking on
my own behalf here. Why are we picking on one app? Just because it’s owned by China? If you
Google anything, you look up news stories, who else is spying on us domestically? Facebook,
how long have they been doing that? Facebook and Google participated in the Prism Program
back when Obama was president in 2013, and they passed that information off to the NSA
frankly. And most recently, Facebook was spying on American citizens who were taking about


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the election results of 2020, passing it off to the FBI. So, if we’re going to ban these things, let’s
ban them all. Let’s ban Google, let’s ban – Twitter might be okay now, I’m not sure. Let’s ban
Facebook especially. So, if we’re going to do this, let’s ban them all and protect all of our
citizens, right? The other question I ask you is, if I choose to put this app on my phone, is Google
spying on me in the shower or TikTok?

MODERATOR: Madam Chair, one minute.

SENATOR JEREMY TREBAS: Maybe so, but I made that choice, and I know all these apps
are spying on me, so I make the choice to put these apps on. I make the choice to have a
cellphone frankly, which hacks my location and could be hacked by the Chinese government at
any point, and they could know where I am. So, we’re going to be spied on no matter what. So,
let’s not pick on one app. Otherwise, let’s broaden the topic and talk about them all. Thanks.

CHAIR AMY REGIER: Next opponent.

SHAUNA WHITE BEAR: Hi, I’m Shauna White Bear, spelled –

CHAIR AMY REGIER: Get in front of the microphone, please.

SHAUNA WHITE BEAR: Hi, Shawna Whitebear, spelled S-h-a-u-n-a, White Bear is two
words. Senator Shelley’s Vance bill banning TikTok in Montana is anti-business, and it will
potentially shut down thousands of small businesses like mine. My business, White Bear
Moccasins, is thriving because of TikTok. When the pandemic hit, the platform not only kept me
connected with my customers, but also, I was able to grow my business. Small businesses across
the country make their livelihoods from TikTok in a way that energizes communities and puts
money in local economics. Senate Bill 419 will create unsettle – excuse me – will also show
Montana does not support entrepreneurs in our own state. It will deprive thousands of growing
businesses currently active on TikTok, and Montana of a free tool that helps companies succeed
and ultimately delivers meaningful economic impact to the state. White Bear Moccasins, for
example, sees a significant percentage of its business generated on TikTok. Not only has it been
great –

MODERATOR: [INDISCERNIBLE], one minute.

SHAUNA WHITE BEAR: - for my company, but it’s an amazing tool to help communities
grow. Indigenous makers like me thrive on it. This platform has opened wonderful opportunities
for other makers and me. People who may not have gotten the same traction on Instagram
flourish on TikTok. It has a much larger reach. Someone with 5000 followers on Instagram may
have 100,000 on TikTok. Vance’s argument that safety public is at risk because people will
attempt the viral challenges presented on the platform is flawed. The bill points to challenges
such as attempting to climb stacks of milk crates and cooking chicken in Nyquil. These
challenges are promoted across platforms such as Facebook and Instagram as well. Why should
the financial wellbeing of small businesses be tied to whether someone decides to do something



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unsafe? These are individual personal decisions. Shutting down TikTok and putting it’s makers
livelihoods at risk is not going to stop people from making bad decision.

MODERATOR: Madam Chair, two minutes.

SHAUNA WHITE BEAR: Look, too, at what TikTok has done to connect people to the rest of
the world.

[00:25:00]

CHAIR AMY REGIER: Time is up. Next opponent in the room.

VICTORIA CHEYENNE: Good morning. My name is Victoria Cheyenne—C-h-e-y-e-n-n-e.
Today I ask you think about when you were 18 years old. Maybe you were on your way to
college or imaging what dreams, careers, futures you wanted to explore, but difficulties of
figuring out who you could be and the paths to get there. When I was 18 years old, I threw
myself headfirst into the film and television industry, struggling to find mentors, educators,
voices of guidance. My name is Victoria Cheyenne. Today I work at producing, editing and
directing at Paramount, one of the world’s largest producers of entertainment. I’m proud to work
for a company occupying space for innovative storytelling and being behind hit Montana shows
like Yellowstone and 1883 that have contributed massively to the $191 million dollars in direct
spending in Montana, and over 840 fulltime jobs for locals, just between 2020 and 2022 alone.
I’m also an indigenous filmmaker who has spent the last year working on a documentary with
Native students at Montana State University in Boseman. So, how do I hire entertainment
workers? How do I spread education, awareness, how I document and spread enthusiasm for a
growing film industry in Montana?

MODERATOR: Madam Chair, one minute.

VICTORIA CHEYENNE: The answer is TikTok, a platform where I’ve been able to uniquely
reach millions of people contributing to young people across Montana having direct access to
freedom of speech, access to education, access to learn how to enter the industry, an industry that
is not predominantly in Montana, but Montanans have benefited from. Something that makes the
United States so special is this access to freedom of speech, access to education, access to
learning how we can reach all of this. Why would we want to make choices like China to limit
our access to public education, public information? Why would we want to hurt Montana small
businesses, students, workers and artists by banning a tool that directly contributes to the
community and economy? Thank you.

CHAIR AMY REGIER: Next opponent.

KEEGAN MEDRANO: Chair Regier, Members of the Committee, my name is Keegan
Medrano—that’s M-e-d-r-a-n-o—and I’m here representing the American Civil Liberties Union
of Montana. We oppose SB419 which prohibits TikTok from operating in Montana, targeting
app stores and fining this private business and any entity helping TikTok through fines of


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$10,000 dollars per day. So, firstly, I want to flag, we’re unsure of how this bill would be
implemented without an expansive exercise of government overreach. So, SB419, again,
prohibits its operation and targets app stores, but I’m curious as to what is stopping me from
accessing TikTok through a VPN? How will the state will know if I’m accessing it through a
VPN? I mean, what’s the enforcement model for this? So, there are many alternative ways to
seek out this information, and that’s ways that people can access information. We also believe
that, again, this is a blatant exercise of censorship and is an egregious violation of Montanans’
free speech rights. So, the bill deprives Montana, or people in Montana from their ability to
engage with diverse viewpoints and ideas. People have engaged on TikTok on things like
alternative viewpoints on vaccinations –

MODERATOR: Madam Chair, one minute.

KEEGAN MEDRANO: - and other ideas. Targeting one app from another country does not
solve whatever problem proponents think they are solving. Banning TikTok, we also believe,
would lay the groundwork for excessive government control over the internet and violate our
constitutional right to free expression. The First Amendment protects our ability to speak, to
receive information, and to associate freely, and this legislation is an egregious violation of that.
And we believe that neither the state or the federal government has the authority to ban speech in
this way. And as previous opponents have mentioned, what differentiates this app from other
apps, which also takes in our data, tracks us, collects biometric information? So, please oppose
SB419. Thank you.

CHAIR AMY REGIER: Further opponents in the room. Seeing none. Moving online, Daniel
Carlino.

DANIEL CARLINO: Hey, my name’s Daniel Carlino. I’m here to fight against the big
government overreach that’s going on in this room, and to help protect Montanans’ rights. Social
media companies do need to be reeled in, and I’d like to see regulation to protect our privacy, but
banning TikTok at Montanans’ expenses is not [INDISCERNIBLE] Facebook/Meta will profit
off of this bill and is going to gain more power and control off of bills like this. This bill does not
solve the problem of social media companies taking away our privacy, but this bill does just
empower companies like Meta and Facebook to have more and more power to take away our
privacy.

[00:30:00]

I ask that you do not take away Montanans’ rights, and I ask that you stand up against this big
government overreach and vote “no”.

CHAIR AMY REGIER: Christopher Marchese.

CHRISTOPHER MARCHESE: Good morning, Chair, and Members of the Committee. My
name is Chris Marchese spelled M-a-r-c-h-e-s-e, and I serve as Director of Litigation for
NetChoice. I respectively ask that you vote against SB419 for two reasons. First, it violates the


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First Amendment and risks unintended consequences. As we heard from earlier speakers here
today, TikTok is a platform for Americans to share their free speech. And even if everybody in
the room is convinced that TikTok poses a security risk, the bill is not narrowly tailored enough
to survive a First Amendment challenge. For example, the bill encompasses innocent third
parties that are not the subject of the bill, including apps and app stores. That alone is enough to
give the court some skepticism about the bill’s constitutionality. So, at the very least, the
committee should rework the bill to do what it actually is alleging to do, but also recognizing that
the First Amendment prohibits the government from banning Americans from using a platform
or from accessing content on that platform. Now there is a CFIUS review that is ongoing at the
federal level, and that choice respectively asks that the Committee wait until that review is over.

MODERATOR: Madam Chair, one minute.

CHRISTOPHER MARCHESE: Otherwise, legislation like this might interfere with efforts to
ensure that Americans can still use TikTok while addressing any privacy concerns the U.S.
government has. Thank you.

CHAIR AMY REGIER: Frederick Baker.

FREDERICK BAKER: Hello. My name is Frederick Baker—B-a-k-e-r. I’m in opposition of
Senator Shelley Vance’s bill proposing to ban TikTok in Montana as I believe it’s an
unwarranted attempt to control and regulate information. Many perceive TikTok as merely a
platform for teenagers to share dance videos, but its offerings go far beyond that. TikTok serves
as a valuable resource for small businesses in Montana seeking advice and support, a hub for
building and [PH 00:32:26] finding community, and a vital network for those in recovery from
addiction. As a 39-yaer-old combat veteran and small business owner based in Montana, I can
attest to the positive impact of TikTok. After overcoming opioid dependency, legal troubles and
rehabilitation, I started a metal fabrication business called Metal Tech. Promoting my business
on TikTok led to significant growth and revenue, far surpassing the results from Facebook and
Instagram.

MODERATOR: [INDISCERNIBLE 00:33:00]

FREDERICK BAKER: I’ve been able to grow my business from a plasma table and a shipping
container in my backyard to my spacious shop. Not only has TikTok been instrumental in the
success of my Montana-based business, but it has also contributed to my personal development
and recovery journey. Addiction recovery needs community, and TikTok offers an accessible
and supportive network for Montanans and similar situations. Unfortunately, this bill jeopardizes
the powerful tool for personal and professional growth in Montana. By attempting to ban
TikTok, the government infringes upon our First Amendments rights of freedom of speech,
setting a dangerous precedent for further erosion of our constitutional rights that I and my fellow
soldiers fought to protect. This legislation not only endangers businesses in Montana, but also
puts nonprofits like My Hoodies for Heroes at risk, and we’re –

CHAIR AMY REGIER: David Edmonson.


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DAVID EDMONSON: Good morning, Chair Regier and Members of the Committee. My name
is David Edmonson. That’s E-d-m-o-n-s-o-n, and I’m here on behalf of Tech Net respectfully
testifying in opposition to SB419. Listening to today’s testimony and the bill layout, I understand
that the bill seeks to prohibit the use of TikTok in Montana. However, as currently written,
SP419 would affect separate technology companies that we do not believe are the intended
targets of the legislation, specifically companies that operate app stores. As drafted, a company
would violate the provisions of the bill simply by having the app listed as an option to be
downloaded within Montana. App stores, however, do not have the ability to geo-fence on a
state-by-state basis, and it would thus be impossible

[00:35:00]

for our members to prevent the app from being downloaded specifically in the state of Montana.
We therefore urge this Committee and the House to narrow the bill by removing the references to
mobile application stores. Appreciate your consideration and thank you for your time.

CHAIR AMY REGIER: Seeing no further opponents online. Do we have any informational
witnesses in the room?

ANNA SCHNEIDER: Madam Chair, Members of the Committee, my name is Anna
Schneider—S-c-h-n-e-i-d-e-r. I am the Bureau Chief for the Office of Consumer Protection with
the Department of Justice, and I am here to answer any questions that you may have regarding
the investigation and litigation.

CHAIR AMY REGIER: Thank you. Further informational witnesses. Seeing none. Questions
from the Committee? Representative Kmetz.

REPRESENTATIVE GREG KMETZ: Madam Chair, I have a question for the Attorney
General.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative.

REPRESENTATIVE GREG KMETZ: Madam Chair, Attorney General, what are out kids
being exposed to on TikTok?

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative Kmetz, a lot of
harmful stuff frankly. The more we dig into an investigate the content—and I want to stress, this
bill is not about content—I don’t care what the content on TikTok is, I’m concerned with the
spying applications for the Chinese Communist Party. But with that said, as a parent of teenage
kids, it’s certainly something I’ve looked into. There’s a lot of dangerous content that TikTok
pushes. There was an investigation earlier in the year, some really good investigative journalism
where a handful of news outlets put together basically false profiles. Built a profile for
themselves on TikTok and rolled in TikTok and put themselves out there as 13-year-old and 14-
year-old children. And within a matter of less than an hour, these “children” were being fed


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content from TikTok, pornographic content, drug abuse content, suicide content. Frankly stuff
that no 13 or 14-year-old child should be exposed to. And again, I want to stress, this bill is not
about content. This is about TikTok being abused and used a foreign entity to spy on Montanans
and spy on Americans. However, I do have some content – definite content concerns being
pushed on children by TikTok. Madam Chair.

CHAIR AMY REGIER: Representative Ler.

REPRESENTATIVE BRANDON LER: Also, for the Attorney General.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Mr. Vice-Chair.

REPRESENTATIVE BRANDON LER: Madam Chair, eg, what types of information can
TikTok harvest from its users.

ATTORNEY GENERAL AUSTIN KNUDSEN: This is pretty amazing. Madam Chair,
Representative Ler, this is pretty amazing stuff. First of all, I will say that Mr. Tarr might be able
to provide some better information on this, but I have done some of my own research on this. If
you look at the actual privacy settings that TikTok has available on its app--most people just
scroll through that stuff and click “accept” and just go--but if you actually look into what they
can collect, it’s quite concerning. First of all, TikTok basically gave itself permission to collect
all of your biometric data. Your keystrokes, but let’s talk about facial recognition. I mean, that’s
one that’s very concerning to this legislature. We’ve already seen some legislation moving.
They’re collecting your facial recognition data, and it says right in their privacy settings that
they’re doing that. They’re scanning the backgrounds of all your other apps on your phone. That
was stated earlier, but I really want to stress that. I mean, you are allowing ByteDance and
therefore the Chinese Communist Party access to everything on your phone. They’re scanning all
of your files. They’re scanning all of your other apps. They’re tracking your background
information. They’re tracking your location. They’re going so far as to when you post that funny
video on TikTok, they’re scanning the background information in that video and in that
photographic evidence for any kind of sensitive useful intelligence. Is there anything in that
picture we can use? So, this is pretty astounding stuff. I’m not going to stand here and defend
any of the other social media companies either. I think they do certainly some egregious things,
but none of them to that level. None of the other applications are collecting data on that level.

REPRESENTATIVE BRANDON LER: Follow up.

CHAIR AMY REGIER: Go ahead.

REPRESENTATIVE BRANDON LER: Last question, why should Montana ban this if the
federal government is already looking at doing so.

ATTORNEY GENERAL AUSTIN KNUDSEN: Mr. Chairman – Madam Chairman, Mr. Vice-
Chair, that’s a great question. First of



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[00:40:00]

all, I think Montana’s got an opportunity here to be a leader. No other state has done this.
Secondly, I think we found an actual enforceable mechanism for us to do that. Third, there’s no
guarantee that the feds are actually going to act here. I mean, there’s a lot of saber rattling going
on, and it’s bipartisan, which I’m really, really excited about. I’m glad that both sides of the aisle
are equally concerned about national security, equally concerned about providing intelligence to
a stated enemy. And again, I really want to stress that. In Chinese People’s Liberation Army
published materials—and you have to understand that the PLA, the People’s Liberation Army in
China is not a stand-alone entity. It is an arm of the CCP. It is an arm of the Chinese Communist
Party. So, nothing comes out of the military doctrines without signoff by the CCP. In China’s
military published manuals and a lot of their training materials, they don’t refer to the United
States as “the United States”. They refer to us as a term that is best translated as “strong enemy”.
That is their term for the United States in all of their military doctrine and all of their training
manuals. So, at the outset, we are dealing with a foreign actor who views the United States as an
existential enemy. To me, that’s the real concern here. So, I think Montana’s got a great
opportunity here to be on the cutting edge and be the first, be out in front of this. But really, I’m
concerned about whether the feds are actually going to do anything here. Madam Chair.

REPRESENTATIVE BRANDON LER: Thank you.

CHAIR AMY REGIER: Representative Mitchell. Chair, I have one for the AG, also.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative.

MITCHELL: Madam Chair, Attorney General, so from my understanding, TikTok is banned in
China. So, why do you think that China, they isolate their app from their kids and their own
culture but why do you think they’re not isolating it from the kids in our country.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative Mitchell, that
is an excellent point and thank you for bringing that up. That’s a great point for folks that maybe
don’t know that. The version of TikTok that we get here in the United States, the Chinese
government doesn't even allow its own citizens to have access to. They don’t let their children
see the content that they push on our children, and I think there’s a real question there. Why is
that? Again, I’m kind of a nerd on this stuff, and I was doing some reading into Chinese military
doctrine, like what are they training their soldiers and their military brass? Well, they have a
think asymmetric warfare, and one of their stated goals, stated tools within a lot of their military
doctrine is aimed at creating social unrest, creating – undermining our country through media,
through social media. They view this as a weapon of war, as a tool to undermine our country,
and I think we have to ask ourselves if a lot of the dangerous content that is being pushed into
American and onto American children is not allowed in China for their own children, we have to
ask ourselves just exactly how fair is this? Representative, Madam Chair.

CHAIR AMY REGIER: Follow up?



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REPRESENTATIVE BRAXTON MITCHELL: For Mr./Miss Tarr, can’t remember who.

ERIC TARR: Madam Chair, Mr. Revenue.

REPRESENTATIVE BRAXTON MITCHELL: Now I’m sure, Mr. Tarr, can you explain to
the degree of control that the CCP has over ByteDance and TikTok, and then how specifically
does China access data from American users? Because I mean I know if I go on my phone here,
if I have the app downloaded, you grant access to microphone, you grant access to photos, you
grant access to this, that and this. Unless that application is closed, and they don’t necessarily
have to be on it, at anytime, anywhere you go, they have access to what you’re doing, what
you’re streaming, what you’re saying through your microphone. Do you know how they access
all that and if they do when you’re not –

ERIC TARR: Madam Chair and Mr. Representative, I don’t have all the technical details on
that right now. I do know if you leave the app running in the background, it’s still scraping
information on your phone. So, if you don’t close app out on the phone, it’s still going out there
and extrapolating all the information. So, any files you open during the day, if that app is still
running on the back end, it’s going to grab that information, text messages and anything like that.
And as far as the first part of your question, I don’t have that information for you.

REPRESENTATIVE BRAXTON MITCHELL: Just one more.

CHAIR AMY REGIER: Go ahead.

REPRESENTATIVE BRAXTON MITCHELL: Are there any less restrictive ways for kind
of protecting Montana’s interests, other ways of maybe going about this potentially? And do you
think this is a constitutional effort?

ERIC TARR: I’m probably not at the level to answer that one, so I might have to defer.

[00:45:00]

Sorry.

ATTORNEY GENERAL AUSTIN KNUDSEN: I got pointe at, Madam Chair. May I answer?

CHAIR AMY REGIER: You may. Thank you.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative Mitchell, I
think this is the least restrictive way for us to do this. I want to stress, I mean, we made it
appoint, we’re not coming after individual users. I have no interest in doing that, and the bill
before you specifically prohibits that. The easiest way for us to do this is through the Google
Play Store and the app store in Apple. Despite some testimony that you heard earlier from
opponents, they do have the ability to block certain apps. They do have the ability to geo-fence
certain apps out of Montana. That technology exists and it’s in use. I’ll point to certain gambling


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apps. Gambling is legal is some states, it’s illegal in other states. Lottery is legal in some states,
it's illegal in other states. Why is it when you drive between states, suddenly your gambling app
in one legal state shuts off and is not able to be used in the state you’re visiting? It’s because they
geo-fenced that app out. That technology exists. Likewise both Google and Apple block certain
apps every day for all kinds of different reasons, but we know there are certain apps that for
whatever reasons—political, financial, whatever they may be—that those entities block from
their application stores. So, the idea that this can’t be done is just simply not true. It can be done
quite easily and there’s a lot of data out there that that’s doable. The constitutional question, I do
think this will withstand First Amendment scrutiny, Madam Chair and Representative. Again,
we’ve done this in the least restrictive way we can, number one. Number two, this is not content-
based. This has got nothing to do with the content put out by TikTok. This has to do with their
use as a spying tool on Americans by a foreign enemy. And I think that really is the key legal
argument here, and we are kind of in uncharted waters here a bit. I mean, this has never really
been litigated before, and frankly, we might need the U.S. Supreme Court to weigh in on this
one. What is now the public square? When we’re talking about the First Amendment, what is the
best way to get your message, to get your free speech out there? It’s not longer to stand on an
apple cart in the public square and give a speech. It’s to get on social media. We know that. The
best way to spread your message is via social media. Well, what do you do with an entity, a
social media entity that is controlled by a foreign enemy and is being used by that foreign enemy
to spy on Americans? This is really unprecedented, we don’t really know the full legal
implications here, and I this might be something that the courts need to weigh in on. So, from
that standpoint alone, I think this legislation is valuable, but I do think it’s going to withstand
scrutiny. We’ve dug into this quite deeply. I’m very comfortable, Representative.

REPRESENTATIVE BRAXTON MITCHELL: Thank you. AG, one more follow up just for
Mr. Edmonson online.

CHAIR AMY REGIER: Go ahead. Sorry, who did you say?

REPRESENTATIVE BRAXTON MITCHELL: Mr. Edmonson online.

CHAIR AMY REGIER: Mr. Edmonson.

REPRESENTATIVE BRAXTON MITCHELL: Madam Chair, Mr. Edmonson, to kind of
elaborate on what the Attorney General was saying, so obviously right now, we have app –
Montana, I’m not sure, you said you were from Texas, so Montana, sports betting is illegal, so
apps like DraftKings, FanDuel, Sportsbook, all that stuff is all prohibited in Montana. So, you’re
saying that it’s unenforceable to geo-fence a location, specifically Montana. I don’t understand
where you’re getting that from. I think it’s pretty easy to geo-fence or shut down an app.
Obviously, you can download an app still, but it might just buffer, but I think it’s pretty easy
from my understanding to prevent an app from being used in the state. Are you just saying that
because it’s out of your convenience to do so or –

DAVID EDMONSON: Madam Chair, Representative, no, sir. So, while that conversation was
just going on, while the Attorney General was talking, so I am in Texas and I can’t do sports


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betting via an app. I downloaded the app to be able to do so, but the compliance is on the app to
verify my location--I mean, I literally just did this—to ensure that I am in a location in which
gambling is allowed. So, the app is the actual one that ensures that they are able to operate in an
area in which it’s not restricted. During my testimony, I mentioned that app stores aren’t able to
geo-fence on a state-by-state basis. They do so on a national level, but don’t have that capability
at a sub-national

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level. And the issue comes about over the fact that state borders are going to be hard borders in
the same sense as national ones. You know, consider someone that is near the border in Montana
in another state but their wireless service might be using a tower in another state. So, that person
is going to be located in Montana physically, but their cell service is being provided by another
state. And so, removing the app store provisions wouldn't make the ban meaningless. Instead, it
would just place the responsibility on TikTok much like it is with gambling apps.

CHAIR AMY REGIER: Representative Jed Hinkle.

REPRESENTATIVE JED HINKLE: Thank you, Madam Chair. I guess I’ll start out with the
sponsor.

SENATOR SHELLEY VANCE: Madam Chair, Representative.

REPRESENTATIVE JED HINKLE: Thank you, Madam Chair and Senator, couldn't let you
off in the hearing here. I don’t know if you will be able to answer this question, so you can re-
refer if need to be, but I notice that the internet service provider was struck out of the bill.
Guessing that must have happened over in the Senate. I heard just some rumblings about the
internet service provider and how that’s really the teeth if the State of Montana were to ban
TikTok. However, it was taken out of the bill. Could you help us to understand why it was taken
out of the bill and/or if it needs to be put in the bill to make what we’re trying to do here, or what
you’re trying to do here successful?

SENATOR SHELLEY VANCE: Madam Chair, Representative. Hinkle, I will try to answer
your question, but I am going to defer if I – if we need further explanation on that. My
understanding is, okay, I’m going to go old school. I recognize the fact that we have got a
minimum of three generations in this room, maybe a little older than that, I don’t know, or more
than that. I don’t know. So, my explanation would be going old school, a telephone line is like an
ISP to a landline. So, take it down to one of these, the ISP, the internet service provider is like
the line of connection between the apps that we put on our phone and the actual phone. So, any
further? Okay. That’s me – so, we took it out because it was a situation where the ISPs were not
the ones that are doing the spying. They’re not the ones that this bill is all about. Thank you.

REPRESENTATIVE JED HINKLE: Thank you, and if I could also, Madam Chair, ask a
question of the Attorney General?



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CHAIR AMY REGIER: Attorney General?

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative Hinkle.

REPRESENTATIVE JED HINKLE: Thank you, Madam Chair, Attorney General. So, what
I’m looking at it, and I think you touched on a little bit with Representative Mitchell’s question,
but I’m looking at just to try to get a picture of how this is really going to be enforced in
Montana should this bill go forward, and if you have any comments on the internet service
provider, whether that’s actually a key part of the legislation or – just give me a picture of how
this is going to work, should this be signed into law in the state of Montana. We have individuals
who already have this on their phones. We have individuals from out of state that may be coming
into Montana with this on their phones. And then also there’s a question of simply switching off
your location on your phone and then being able to download the app that way, and to get around
– if you could just cover kind of those topics. Thank you.

ATTORNEY GENERAL AUSTIN KNUDSEN: Sure. Madam Chair, Representative Hinkle,
I’m going to state at the outset, I’m not IT guru, so some of that might be a little out of my
wheelhouse, but let’s talk about enforcement, how this could – well, let’s talk about ISPs first.
We felt that was an appropriate amendment to make in the Senate after some discussions with a
lot of the ISPs, a lot of the cellphone carries, because that’s usually how people are downloading
content. We didn’t think it was necessarily appropriate to hold them accountable for what the end
user of the phone, number one, but number two, I think more importantly, the application store is
offering. So, from an enforcement standpoint, no, I don’t think that ISP component is necessary
to the bill. We’re comfortable with this. In fact, I think this is a

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better product. I mean, really what we’re talking about is the application markets. That’s how
we’re going to enforce this. I want to stress again—and it says right in the bill—we cannot
enforce this on the end user. If you’ve got TikTok on your phone, you want to download TikTok
on your phone, you’re not going to get a knock on the door from the Department of Justice.
We’re specifically precluded from doing that. What we can do for enforcement is civilly go after
Google and Apple for offering this product on their application stores, and that’s how we’re
going to enforce this. It’ll be done through our Office of Consumer Protection. That’s where
we’ve got the teeth under the Montana Unfair Trade Practices Act, and we’ve got investigative
authority, and we’ve got civil enforcement authority through that office. So, from that
standpoint, I think we’re good. I forget the last part of your question, Representative. I apologize.

REPRESENTATIVE JED HINKLE: Madam Chair, Attorney General, the last part of the
question was, I guess, just switching off the location data – the location on your phone and then
being able to still download the app because there is no location. And then with that, and I’m still
asking a question, are there any other entities beyond Google and Apple who offer that app? As
you know, I’m a flip hone user, and I don’t even download apps. So, if everyone wants to be safe
from TikTok, I think you should go back to flip phones. But anyway, if you could just kind of
touch on those subjects. Thanks.


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ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair and Representative Hinkle, the
further down this rabbit hole I go, the more I agree with you, and I’m considering going back to
my trusty old flip phone. And for the record, that’s what I got my children when they wanted a
cell phone for the house. I got them a flip phone. Representative, some of that stuff is probably a
little out of my wheelhouse just from a technical standpoint. I don’t know how that works if you
shut your location services off, if that somehow bypasses and allows you to download from a
geo-fence. I don’t believe that is the case, but technically I’m not in a position I can answer that.
Maybe Mr. Tarr can? I’m getting nods here. Can we get Mr. Tarr up here to re-refer that, Madam
Chair?

CHAIR AMY REGIER: Yes, Mr. Tarr?

ERIC TARR: Madam Chair, Representative, so I believe the question is how, if you turn off the
geolocations on your phone, is TikTok still able to track that? As the AG pointed out earlier,
even if you take a video with the geolocations off, they’re still tracking that information by
extrapolating the geolocation in the video.

REPRESENTATIVE JED HINKLE: Madam Chair, Mr. Tarr, I think my question is can you
switch your location off on your phone to get around the prohibition of downloading the app?
That’s what I’m looking for?

ERIC TARR: Oh, okay. Sorry. Probably not through a DNS umbrella, which is domain system
umbrella, you’re blocking the IP address. So, even if you were going through – you turned that
off, geolocation on your phone, the app store or any store you go to is still going to have that
location based on number.

REPRESENTATIVE JED HINKLE: Okay, and then Madam Chair, the second part of my
question if I may ask?

CHAIR AMY REGIER: Go ahead.

REPRESENTATIVE JED HINKLE: Madam Chair, Mr. Tarr, also are there any other app
providers other than Google and Apple whereby you may download this app that would not be
affected with this bill, or are we capturing who needs to be enforced upon?

ERIC TARR: Madam Chair, Mr. Representative, my understanding is that it would be any
provider who has an app store, so Samsung, Android. Those are all common names. So, anybody
who provides those type of app stores would be included.

REPRESENTATIVE JED HINKLE: Thank you.

CHAIR AMY REGIER: Representative Etchart.




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REPRESENTATIVE JODEE ETCHART: Thank you, Madam Chair. I have a question for
online, Mr. Krach.

KEITH KRACH: Yes, I’m here.

REPRESENTATIVE JODEE ETCHART: Madam Chair, Mr. Krach, can you please explain
to me if there would be any difficulty or if it would be easy for these app stores that we’ve talked
about and mentioned, for instance Google or Apple, to ban these apps from their platforms?

KEITH KRACH: Certainly. You know, this is a very appropriate method to do it. As
Undersecretary of State, we came up with a program called The Clean Network, and that’s how
we defeated China’s master

[01:00:00]

plan to control 5G. We also had Clean Carrier, Clean Cloud, Clean Cable, Clean Apps and Clean
Store. So, what you’re talking about is Clean Store. Certainly, the owners of those stores have
the capability to do that. I also was the CEO of DocuSign and we have one billion users around
the world. So, the capabilities to do this is really an issue for these companies and they can solve
it. They have the technical capabilities to be able to solve it. If you look at it in China, TikTok
serves up education STEM resources for children. So, it certainly is, the ability to do that. And a
big reason why this legislation is so important is because TikTok backed by the Chinese
government is spending millions and millions of dollars on lobbyists and lawyers—the best
money can buy—and this is going to be a precedent setting case, and one that’s really needed.
Just think, if the CCP can weaponize a balloon, imagine what they can do with 150 million U.S.
TikTok users at its mercy? I think this is totally appropriate and these companies will obey the
law. So, I think your approach is 100 percent correct.

CHAIR AMY REGIER: Follow up?

REPRESENTATIVE JODEE ETCHART: Follow up, Madam Chair, for Mr. Krach. Sir,
would you be able to discuss any of the geofencing issues? From I understand with geofencing,
if I’m out and I have different things on my phone of where I might want to go to dinner or
advertising, that they’ll pop up on my phone whether I’m in San Diego or Houston or Billings,
Montana. So, if that geofencing advertising can pop up on my phone to do that, why is it going to
be so hard for these tech companies to geofence different applications that are able to be
downloaded on phones?

KEITH KRACH: It’s not going to be difficult for them, and I think that’s the point. So, they
have the capabilities to do that, and I think you bring up a very profound point on this.

CHAIR AMY REGIER: Okay. Representative Duram.

REPRESENTATIVE NEIL DURAM: Thank you, Madam Chair. Question for our
representative from the American Civil Liberties Union.


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CHAIR AMY REGIER: Mr. Medrano?

REPRESENTATIVE NEIL DURAM: Of Montana specifically. Thank you for being here, Mr.
Medrano.

KEEGAN MEDRANO: Certainly. Chair Regier, Representative Durham.

REPRESENTATIVE NEIL DURAM: Madam Chair, Mr. Medrano, from the hundreds of
emails and the handful of phone calls I’ve received from young people—reference this bill—this
TikTok is a big deal to them. Would you agree with me that TikTok is the music played by the
Pied Piper to steal this generation’s heart and mind?

KEEGAN MEDRANO: Chair Regier, Representative Duram, I’m unsure a little bit of what
you’re getting at. There are –

REPRESENTATIVE NEIL DURAM: Madam Chair, if I may clarify?

CHAIR AMY REGIER: You may.

REPRESENTATIVE NEIL DURAM: I’m confident not everybody knows the story of the
Pied Piper.

KEEGAN MEDRANO: I do. Yes, sir.

REPRESENTATIVE NEIL DURAM: The Pied Piper played a team and stole a whole bunch
of children for a nefarious reason. Mr. Medrano, could you agree with me that TikTok is that
music that’s stealing a generation of children from the United States of America?

KEEGAN MEDRANO: Chair Regier, Representative Duram, I don’t understate that there are
issues with social media apps and its impact on children. If you take a look at how Instagram
impacts people’s perceptions of their bodies, if you take a look at how TikTok interprets and
how people approach consuming information, I would counter by saying that I think that social
media broadly has issues and impacts that we need to address, and that we also need to address
those issues outside of our communities, right? So, we’ve heard about sex trafficking and child
pornography, and those are horrible, awful things, and I believe that we, as a society, should
address those, and that social media does not create those issues. They may exacerbate those
issues, but they are reflective of the issues of our own society.

REPRESENTATIVE NEIL DURAM: Thank you, Mr. Medrano. Madam Chair, follow up?

CHAIR AMY REGIER: Follow up.




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REPRESENTATIVE NEIL DURAM: A similar concept, different language, if our daily
efforts are an act of worship, would you agree that this generation is choosing CCP through
TikTok as their new god?

[01:05:00]

KEEGAN MEDRANO: Chair Regier, Representative Duram, apologies, I’m not trying to be
obtuse. Could you rephrase your question?

REPRESENTATIVE NEIL DURAM: Thank you, Madam Chair. More generally paraphrased,
if our daily efforts and activities are a reflection of that which we value most, aka or God, and
the need for TikTok for this current generation, is it fair to say that that’s their act of worship,
that’s what they choose to worship with their daily effort?

KEEGAN MEDRANO: Chair Regier, Representative Duram, I believe that with appropriate
guardrails, that individuals should be able to engage with social media apps. I wouldn't amount it
to worship. I wouldn't say that TikTok is our new church, but I do believe that of course it is an
important app for expression, for exploring ideas, for sharing information, and I think that that’s
vitally important for our younger generation. And when it comes to China, I hope that we as a
body can reflect on the fact that a state may be counter to us, may be seeking to subvert, may be
a challenge to us on a state-to-state or sovereign-to-sovereign level, but I also hope that we can
avoid xenophobic approaches to this question of TikTok and to free speech and to our rights
under the constitution. You know, I want to posit another app, Representative Duram. There’s an
app called FaceApp. It’s owned by a Cypriot, or it’s owned in Cypriot, so Cyprus, by a Russian
owner. That app allows anyone to take a picture—I could take a picture of you, Representative
Duram—that’s available online, put it into the app, and then that company now owns your
biometric data, and that’s from a Russian owner. Russia is also enemy state.

REPRESENTATIVE NEIL DURAM: Thank you, Madam Chair, a follow up question for the
bill sponsor, please?

CHAIR AMY REGIER: Go ahead.

REPRESENTATIVE NEIL DURAM: Chair, Senator Vance, thank you for bringing this bill.
One of my concerns about the bill is if TikTok correctly spells its name as T-i-c-k, as the parasite
that I believe it is.

SENATOR SHELLEY VANCE: T-i-k.

REPRESENT DURAM: If they change – the bill says T-i-k. If tomorrow we pass this bill and
gets signed into law and then the day after, the corporation changes their name to T-i-c-k-t-o-k,
the bill would not apply to them. Is that your position as well?

SENATOR SHELLEY VANCE: Madam Chair, Representative, I’d like to defer to the AG,
please.


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CHAIR AMY REGIER: Yes.

REPRESENTATIVE NEIL DURAM: Madam Chair, if I could maybe clarify that question.
Attorney General Knudsen, thank you for being here. TikTok in this bill is spelled T-i-k-T-o-k. If
that corporation changed the spelling of their name but the content remained the same, would
this bill still prohibit that corporation?

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative Duram, that’s
an interesting point. I think from a logistics standpoint, from a branding standpoint, from a
trademark standpoint, I don’t imagine that TikTok is in a big hurry to change their name and
rebrand themselves, but you do make an interesting point that, as I stand here right now, I don’t
have a good answer for you. Possibly—that’s probably the best I can do right now. I think we
would hope it would still apply, and then there’s broad language in this bill that we would still be
able to take care of the parent company at least. Obviously, that’s a big concern, we’re taking
about divestment. That’s probably the best I can do right now, Representative.

REPRESENTATIVE NEIL DURAM: Thank you.

CHAIR AMY REGIER: Representative Smith.

REPRESENTATIVE LAURA SMITH: Thank you, Madam Chair. I have a question. I believe
it would be for the representative from it’s either Tech Net or Net Choice, or technology
language. It was an opponent. Do you remember? There’s one of each. Oh, are they online?

CHAIR AMY REGIER: They both are online, correct.

REPRESENTATIVE LAURA SMITH: Oh, my apologies. Is that David Edmunson?

DAVID EDMUNSON: Yes, ma'am.

REPRESENTATIVE LAURA SMITH: Yes, this is Representative Smith. So, I guess I want
to take us back to the privacy concerns that I think we all share on this bill. So, we heard
testimony—quite a bit of testimony—that businesses rely on TikTok, and probably other
platforms for advertising. So, we also heard testimony that there are a variety of apps that are
already sort of culling some of our private data. I think about my own phone and the number of
toddler games that I have on it. So, I guess what I think about is, would it make more sense to
really look at a more

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comprehensive privacy bill that would allow folks to access TikTok and the other platforms
while protecting user privacy? Do you have thoughts on that?




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DAVID EDMUNSON: Madam Chair, Representative, thank you for the question. First, I want
to be clear, TikTok is not a member of TechNet, of our organization, so I can’t speak to any
specifics as it relates to TikTok itself. Big picture though, I do agree that a comprehensive
omnibus privacy approach is sound. That’s why we, as an organization, support a federal
national privacy bill to offer both clear obligations to businesses as well as new rights to
consumers across the country. We have been leading a national cross coalition or cross industry
coalition effort in Washington, DC through our federal program to help push that conversation to
the forefront. So, I think in general, without speaking to the issues of TikTok that I know are
much of the source of the discussion of today’s hearing, we do agree that comprehensive privacy
bills make sense. Yes, ma'am.

REPRESENTATIVE LAURA SMITH: Thank you.

CHAIR AMY REGIER: Representative Zephyr.

REPRESENTATIVE ZOOEY ZEPHYR: Madam Chair, let’s start with Mr. Tarr.

ERIC TARR: Madam Chair, Representative.

REPRESENTATIVE ZOOEY ZEPHYR: Madam Chair, Mr. Tarr, I want to circle way back
just to clarify on a comment Representative Jed Hinkle made. In terms of downloading the app,
obviously if you turn off your location data that preclude that your IP address is still received, it
knows where you are. But there’s nothing stopping someone from utilizing a VPN network to
download TikTok from outside of the state.

ERIC TARR: So, Madam Chair, Representative, when it comes to the VPNs, it’s more of a
technical issue where they’d need to start geo-blocking those VPNs from certain geolocations.
The State of Montana is currently doing that for state phones with several malicious state actors
out there across the world. So, the possibility is there. It’s just going to take a lot more work.

REPRESENTATIVE ZOOEY ZEPHYR: Just a quick follow up on that?

CHAIR AMY REGIER: Go ahead.

REPRESENTATIVE ZOOEY ZEPHYR: Thank you, Madam Chair. So, just to clarify, the
intent of this bill would be if a VPN allowed you to set your location to Texas or Florida or
something, and you then downloaded TikTok from there, would the intent of the Department of
Justice be to pursue litigation against those VPN networks for allowing you to do so?

ERIC TARR: Okay, Madam Chair, Representative, I’m going to defer to legal counsel on that.

CHAIR AMY REGIER: Would you like to rerefer?

REPRESENTATIVE ZOOEY ZEPHYR: Yes, please, Madam Chair.



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CHAIR AMY REGIER: Attorney General?

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative, I think the
intent would be “no”, that would not be our intent. Yeah, I think that’s the best answer.

REPRESENTATIVE ZOOEY ZEPHYR: Thank you. Follow again for the Attorney General.

CHAIR AMY REGIER: Follow up.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative.

REPRESENTATIVE ZOOEY ZEPHYR: Madam Chair, Attorney General, again, going back
to the striking out of the provision around ISPs, my reading of this bill would then be that I could
access TikTok from my computer via one of my internet service like Chrome or something like
that. Is that a correct understanding of this bill?

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative, I mean, again,
I don’t want to get too far out over my skis and try to be a technical expert in those areas. I
certainly am not. My age gap is probably showing, but I might need to rerefer that one, honestly,
representative, because I’m not sure I have the answer to that. Could we get Mr. Tarr back up
here?

REPRESENTATIVE ZOOEY ZEPHYR: [PH] We’ll walk back and forth, and -

ATTORNEY GENERAL AUSTIN KNUDSEN: Maybe we’ll both just stand here.

REPRESENTATIVE ZOOEY ZEPHYR: Madam Chair, Mr. Tarr, the question was, my
understanding of the striking out of the ISP line in this bill, you can download TikTok onto your
phone. They also have a website that you can scroll the same content on. My understanding is
that this bill would allow for someone to go onto Chrome or whatever internet browser they
choose and access TikTok in that way. Is that correct?

ERIC TARR: Madam Chair, Representative, yeah, you could still go online. That’s where I was
mentioning the DNS umbrella. So, we would have a domain name blocked for IP addresses. So,
coming into the State of Montana, if you were online and you’re trying to go use TikTok, we
could have Google block those type of things too. Is that answer kind of –

REPRESENTATIVE ZOOEY ZEPHYR: That does, thank you. So, one follow up quickly for
you. Is the data –

CHAIR AMY REGIER: Follow up.

REPRESENTATIVE ZOOEY ZEPHYR: Thanks. Sorry, Madam Chair.

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So, is the concern around the data that’s being collected, we heard the sponsor mention name,
home, viewing habits, friends, network—network being your IP address—data that’s collected
by other social media network as well?

ERIC TARR: Madam Chair, Representative, you know, looking at other social platforms, they
do collect certain things, but there’s privacy settings that you actually have to go in and click.
The issue we’re seeing with TikTok is, they’re blatantly stating in their privacy, they’re even
collecting your keystrokes and everything as soon as you agree. There’s no settings where you
can turn that off.

REPRESENTATIVE ZOOEY ZEPHYR: Follow up for the Attorney General.

CHAIR AMY REGIER: Follow up.

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative.

REPRESENTATIVE ZOOEY ZEPHYR: Thank you, Madam Chair, Attorney General. I am a
little bit astounded by, I think, we talked about the technical understanding here. I feel like
there’s a lack of understanding around how algorithm works, around how other social media
companies collect data around what [PH] worship is. My question is, we see, we talked – one of
the proponents or opponents mentioned Facebook selling data around election security. We
talked about Cambridge Analytica. My question for you is, if privacy is the concern—and you
said content’s not the concern, privacy is the concern. This feels so much like it’s not about that
concern. Moreso that it’s about saber waving for China. Can you talk about why you’re not
doing that broad type of privacy bill that was discussed by the TechNet representative?

ATTORNEY GENERAL AUSTIN KNUDSEN: Sure. Madam Chair, Representative, again, I
come back to my previous testimony. I think this is a unique legal question, and I think this is a
unique legal situation. Certainly, I have concerns about other social media companies collecting
data. I have concerns about privacy, I have concerns about personal data of Montanans being
collected by other companies. I think the discreet difference here is that those are U.S.
companies, and from a legal standpoint, I think that puts us in a lot different situation. This is –

REPRESENTATIVE ZOOEY ZEPHYR: Follow up, real quick. Sorry to cut you off. Can I
follow up?

CHAIR AMY REGIER: Follow up.

REPRESENTATIVE ZOOEY ZEPHYR: Madam Chair, Attorney General, so just to clarify,
U.S. companies selling our data to a foreign company who uses that to spy on us versus TikTok
giving it to China, you see those as – you see the former as okay and the latter as not okay?

ATTORNEY GENERAL AUSTIN KNUDSEN: Madam Chair, Representative, no, I certainly
did not say that and I certainly would not say that, and I would not advocate for that. I will also


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Transcript by TransPerfect

posit that this bill is now in your hands. I mean, Representative, if you feel like that should be
amended into this bill, we would certainly take that into account. This is fully in the House’s
hands at this point, if you feel that necessary.

REPRESENTATIVE ZOOEY ZEPHYR: Thank you, Madam Chair.

ATTORNEY GENERAL AUSTIN KNUDSEN: But Representative, no, I certainly don’t think
one is better than the other. I think from a legal standpoint and from a First Amendment
standpoint, we are on new ground here because this is an entity basically controlled by an enemy
foreign actor. Madam Chair.

CHAIR AMY REGIER: Thank you. Any further questions? See none. Senator, would you like
to close on your bill?

SENATOR SHELLEY VANCE: Thank you, Madam Chair, Members of the Committee. We
are in new grounds. We’re in very new ground. I offer these things for you to think about.
TikTok is about power and control. I believe it’s a national security issue. The CCP is using
TikTok to study our people while invading on Americans’ privacy. A common phrase to help
government or business in Montana’s legislative committee hearings is, “Here’s another tool in
the toolbox”. TikTok is one of CCP’s tool in their toolbox. Cui bono? Who benefits? I have no
faith in our national administration. I’d like for us to send a message to other states and to
Congress by passing Senate Bill 419 to ban TikTok in Montana. Thank you, Madam Chairman
and Members of the House Judiciary.

CHAIR AMY REGIER: This closes the hearing on Senate Bill 419.

[01:20:00]




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                 EXHIBIT 8
                               https://www.nytimes.com/2022/03/19/style/tiktok-political-campaigns-midterm-elections.html
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Securing the TikTok Vote
Is the app the next frontier of political campaigning or just another place to burnish one’s image?


         By Anna P. Kambhampaty


Published March 19, 2022   Updated June 22, 2023


If all politics is theater, Representative Tim Ryan is one of its subtler actors. A moderate Democrat from Ohio’s 13th district who has represented the
state for nearly two decades, his speeches and debate performances are often described as coming out of central casting. His style choices are D.C.
standard. He’s not usually the subject of late-night skits or memes.

That’s not to say he isn’t trying. Back in the spring of 2020, as Covid-19 was overtaking the country and a divided Congress was duking it out over a
sweeping stimulus bill, Mr. Ryan, 48, was so frustrated at the stalled legislation that he decided to channel his emotion into a TikTok video.

The 15-second clip features Mr. Ryan lounging around his office in a white button-down and dress pants, his tie slightly loose, as he mimes a clean
version of “Bored in the House,” by Curtis Roach. It’s a rap song that resonated with cooped-up Americans early on in the pandemic, featuring a refrain
(“I’m bored in the house, and I’m in the house bored”) that appears in millions of videos across TikTok. Most of them depict people losing their minds in
lockdown. Mr. Ryan’s interpretation was a little more literal: Bored … in the House … get it?



                                                                              Watch more exciting         Watch now

                                                                          @reptimryan
                                                                          In the (People’s) House bored.
                                                                             original sound - curtistootrill




Mr. Ryan is not a politician one readily associates with the Zoomers of TikTok. His talking points tend to revolve around issues like reviving American
manufacturing rather than, say, defunding the police. But the chino-clad congressman wasn’t naïve to the nontraditional places from which political
influence might flow. Years ago he was all in on meditation. Why not try the social platform of the moment?

His teenage daughter, Bella, got him up to speed and taught him some of the dances that had gone viral on the app. “I just thought it was hysterical, and
that it was something really cool that her and I could do together,” Mr. Ryan said in a phone interview.




                                                   Representative Tim Ryan of Ohio joined TikTok in 2020. “I started to see it as an opportunity
                                                   to really speak to an audience that wasn’t watching political talk shows or watching the
                                                   news,” he said. Elizabeth Frantz for The New York Times


Soon enough, he was posting on his own account, sharing video montages of his floor speeches and his views on infrastructure legislation, backed by the
sound of Taylor Swift’s “All Too Well.” (As any TikTok newbie would quickly learn, popular songs help videos get discovered on the platform.)

“I started to see it as an opportunity to really speak to an audience that wasn’t watching political talk shows or watching the news,” Mr. Ryan said. This
year, he’s running for Ohio’s open Senate seat; he thinks TikTok could be a crucial part of the race.
But as primaries begin for the midterm elections, the real question is: What do voters think?
Privacy, Protest andCase 9:23-cv-00061-DWM Document 22-6 Filed 07/05/23 Page 61 of 216
                    Punditry
Social media has played a role in political campaigning since at least 2007, when Barack Obama, then an Illinois senator, registered his first official
Twitter handle. Since then, enormous numbers of political bids have harnessed the power of social platforms, through dramatic announcement videos on
YouTube, Twitter debates, Reddit A.M.A.s, fireside chats on Instagram Live and more. TikTok, with its young-skewing active global user base of one
billion, would seem a natural next frontier.

So far, though, compared with other platforms, it has been embraced by relatively few politicians. Their videos run the gamut of cringey — say, normie
dads bopping along to viral audio clips — to genuinely connecting with people.

“TikTok is still in the novelty phase in terms of social media networks for political candidates,” said Eric Wilson, a Republican political technologist.

Republicans in particular have expressed concerns about the app’s parent company, ByteDance, whose headquarters are in China. In the final year of his
presidency, Donald J. Trump signed an executive order to ban the app in the United States, citing concerns that user data could be retrieved by the
Chinese government. (President Biden revoked the order last summer.)

After a brief stint on the app, Senator Marco Rubio of Florida, a Republican, deleted his account. He has since called on President Biden to block the
platform entirely. In an email statement, Mr. Rubio, 50, wrote that TikTok “poses a serious threat to U.S. national security and Americans’ — especially
children’s — personal privacy.”




                                        Senator Marco Rubio of Florida believes that TikTok “poses a serious threat to U.S. national
                                        security and Americans’ — especially children’s — personal privacy.” Scott McIntyre for The
                                        New York Times



That point has been disputed by national security experts, who think the app would be a relatively inefficient way for Chinese agencies to obtain U.S.
intelligence.

“They have better ways of getting it,” said Adam Segal, the director of the Digital and Cyberspace Policy program at the Council on Foreign Relations,
among them “phishing emails, directed targeted attacks on the staff or the politicians themselves or buying data on the open market.”

Regardless, TikTok seems to have empowered a new generation to become more engaged with global issues, try on ideological identities and participate
in the political process — even those not old enough to vote.

There have been rare but notable examples of TikTok inspiring political action. In 2020, young users encouraged people to register for a Tulsa, Okla.,
rally in support of former President Donald Trump as a prank to limit turnout. Ahead of the rally, Brad Parscale, Mr. Trump’s 2020 campaign manager,
tweeted that there had been more than a million ticket requests, but only 6,200 tickets were scanned at the arena.

Such activity is not limited to young liberals on the platform. Ioana Literat, an associate professor of communication at Teachers College, Columbia
University, who has studied young people and political expression on social media with Neta Kligler-Vilenchik of the Hebrew University of Jerusalem,
pointed to the political “hype houses” that became popular on TikTok during the 2020 election. The owners of those accounts have livestreamed debates,
debunked misinformation spreading on the app and discussed policy issues.

“Young political pundits on both sides of the ideological divide have been very successful in using TikTok to reach their respective audiences,” Ms.
Literat said.

You’ve Got My Vote, Bestie
Many of the politicians active on TikTok are Democrats or left-leaning independents, including Senator Jon Ossoff of Georgia, Senator Bernie Sanders of
Vermont, Senator Ed Markey of Massachusetts, Representative Ilhan Omar of Minnesota and the mayors of two of America’s largest cities, Lori
Lightfoot and Eric Adams (who announced he had joined this week with a video that featured his morning smoothie regimen).
This could be because the platform has a large proportion of young users, according to internal company data and documents that were reviewed by The
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New York Times in 2020, and young people tend to lean liberal. (TikTok would not share current demographic data with The Times.)




                                       Senator Ed Markey of Massachusetts has cultivated a following on TikTok, where young
                                       users often refer to him as their “bestie.” Alyssa Schukar for The New York Times


“If you are a Democrat running for office, you’re trying to get young voters to go out and support you,” said Mr. Wilson, the Republican strategist. “That
calculation is different for Republicans, where you’re trying to mobilize a different type of voter” — someone who is likely older and spends time on other
platforms.

For his part, Mr. Markey has cultivated a following on TikTok with videos that are a mix of silly (such as him boiling pasta in acknowledgment of
“Rigatoni Day”), serious (for example, him reintroducing the Green New Deal with Alexandria Ocasio-Cortez and Cori Bush) and seriously stylish (him
stepping out in a bomber jacket and Nike high tops). The comments on his videos are filled with fans calling him “bestie” (“go bestie!!”, “i love you
bestie,” “YES BESTIE!!!!”).

The feeling is mutual. “When I post on TikTok, it’s because I’m having fun online and talking with my friends about the things we all care about,” Mr.
Markey, 75, wrote in an email. “I listen and learn from young people on TikTok. They are leading, they know what’s going on and they know where we
are headed, especially online. I’m with them.”
                         Case 9:23-cv-00061-DWM Document
                                                 ed_markey 22-6 Filed 07/05/23 Page 63 of 216
                                                               View profile
                                                                   Senator Ed Markey




                                                                 Related videos




                                                                    534.6K                         4




                                                              Watch more exciting      Watch now

                                                           @ed_markey
                                                           you have to stop
                                                              A Moment Apart - ODESZA -
                                                           hannah_harpist




Dafne Valenciano, 19, a college student from California, said that she’s a fan of Mr. Ossoff’s TikTok account. During his campaign season, “he had very
funny content and urged young voters to go to the ballots,” Ms. Valenciano said. “Politicians accessing this social media makes it easier for my
generation to see their media rather than through news or articles.”

Several of the videos posted by Mr. Ossoff, 35, who has moppy brown hair and boyish good looks, have been interpreted by his fans as thirst traps. “YAS
DADDY JON,” one user commented on a video of him solemnly discussing climate change. Another wrote, on a post celebrating his first 100 days in
office, that Mr. Ossoff was “hot and he knows it,” calling him a “confident king.” The senator has more than half a million followers on TikTok.

Some politicians end up on the platform unwittingly. Take, for instance, the viral audio of Kamala Harris declaring, “we did it, Joe” after winning the 2020
election. Though the vice president doesn’t have an account herself, her sound bite has millions of plays.

Catering to such viral impulses may seem gimmicky, but it’s a necessary part of any candidate’s TikTok strategy. Political advertising is prohibited on the
platform, so politicians can’t promote much of their content to target specific users. And the app pushes videos from all over the world into users’ feeds,
making it hard for candidates to reach the ones who might actually vote for them.

Daniel Dong, 20, a college student from New Hampshire, said that he often sees posts from politicians in other states in his TikTok feed, but “those races
don’t matter to me because I’m never going to be able to vote for a random person from another state.”

The Art of the Viral Video
Christina Haswood, a Democratic member of the Kansas House of Representatives, first started her TikTok account in the summer of 2020, when she
was running for her seat.

“I went to my campaign manager and was like, ‘Wouldn’t it be funny if I made a campaign TikTok?’” Ms. Haswood, 27, said.
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                                                    “A lot of folks don’t see an Indigenous politician, a young
                                                    politician of color,” said Christina Haswood, a member of the
                                                    Kansas House of Representatives. She hopes to inspire young
                                                    people to run for office. Arin Yoon for The New York Times


She won the race, making her one of a handful of Native Americans in the Kansas state legislature. “A lot of folks don’t see an Indigenous politician, a
young politician of color. You don’t see that every day across the state, let alone across the country,” Ms. Haswood said. “I want to encourage young
people to run for office.”

At first, Ms. Haswood created TikToks that were purely informational — videos of her talking directly to the camera, which weren’t getting much
traction. When one of the candidates running against her in the primary also started a TikTok, she felt she needed to amp things up.

Conner Thrash, at the time a high school student and now a college student at the University of Kansas, started to notice Ms. Haswood’s videos. “I really
loved what she stood for,” Mr. Thrash, 19, said. “I realized that I had the ability to bridge the gap between a politician trying to expand their outreach and
people like my young, teenage self.”

So he reached out to Ms. Haswood, and the two started making content together and perfecting the art of the viral TikTok. A video should strike a careful
balance of entertaining but not embarrassing; low-fi without seeming careless; and trendy but innovative, bringing something new to the never-ending
scroll.

One of their most-watched videos lays out key points of Ms. Haswood’s platform, including the protection of reproductive rights and legalizing
recreational marijuana. The video is set to a viral remix of Taylor Swift’s “Love Story” and follows a trend in which TikTok users push the camera away
from themselves midsong. (Ms. Haswood used a Penny skateboard to achieve the effect.)
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                                                                 haswoodforks     Filed
                                                                                    profile
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                                                                                                          Christina Haswood




                                                                                                       Related videos




                                                                                                            4.5M                                             2




                                                                                                   Watch more exciting                Watch now

                                                                                              @haswoodforks
                                                                                              Meet Christina Haswood, the future for
                                                                                              democratic politics in Kansas.❤️ ...See more
                                                                                                   Love Story - Disco Lines




TikTok may have helped Ms. Haswood win her race, but few candidates have had her success. Several politicians with large TikTok followings, including
Matt Little (a former liberal member of the Minnesota Senate) and Joshua Collins (a socialist who ran for U.S. representative for Washington), lost,
“pretty badly — in their respective elections,” Ms. Literat said, “so technically they did not succeed from a political perspective.”

The behavior of young voters in particular can be hard to predict. In the 2020 presidential election, about half of Americans between the ages 18 and 29
voted, according to the Center for Information & Research on Civic Learning and Engagement at Tufts University — a record turnout for an age group
not known for showing up to the polls.

Still, “young people help drive the culture,” said Jennifer Stromer-Galley, the author of “Presidential Campaigning in the Internet Age” and a professor of
information studies at Syracuse University.

“Even though they may or may not ever vote for Jon Ossoff, being on TikTok does help shape Ossoff’s image,” she added. “More people are going to
know Ossoff’s name today because of his TikTok stunt than they did before.”
Audio produced by Adrienne Hurst.

A version of this article appears in print on , Section ST, Page 10 of the New York edition with the headline: Trying to Trend, Politicians Take On The TikTok Challenge
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68th Legislature 2023                                                                                                  SB0419




       AN ACT BANNING TIKTOK IN MONTANA; PROHIBITING A MOBILE APPLICATION STORE FROM

       OFFERING THE TIKTOK APPLICATION TO MONTANA USERS; PROVIDING FOR PENALTIES;

       PROVIDING FOR ENFORCEMENT AUTHORITY; PROVIDING DEFINITIONS; PROVIDING FOR

       CONTINGENT VOIDNESS; AND PROVIDING A DELAYED EFFECTIVE DATE.



               WHEREAS, the People's Republic of China is an adversary of the United States and Montana and has

       an interest in gathering information about Montanans, Montana companies, and the intellectual property of

       users to engage in corporate and international espionage; and

               WHEREAS, TikTok is a wholly owned subsidiary of ByteDance, a Chinese corporation; and

               WHEREAS, the People's Republic of China exercises control and oversight over ByteDance, like other

       Chinese corporations, and can direct the company to share user information, including real-time physical

       locations of users; and

               WHEREAS, TikTok gathers significant information from its users, accessing data against their will to

       share with the People's Republic of China; and

               WHEREAS, TikTok fails to remove, and may even promote, dangerous content that directs minors to

       engage in dangerous activities, including but not limited to throwing objects at moving automobiles, taking

       excessive amounts of medication, lighting a mirror on fire and then attempting to extinguish it using only one's

       body parts, inducing unconsciousness through oxygen deprivation, cooking chicken in NyQuil, pouring hot wax

       on a user's face, attempting to break an unsuspecting passerby's skull by tripping him or her into landing face

       first into a hard surface, placing metal objects in electrical outlets, swerving cars at high rates of speed,

       smearing human feces on toddlers, licking doorknobs and toilet seats to place oneself at risk of contracting

       coronavirus, attempting to climb stacks of milkcrates, shooting passersby with air rifles, loosening lug nuts on

       vehicles, and stealing utilities from public places; and

               WHEREAS, TikTok's stealing of information and data from users and its ability to share that data with

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                                                                                                          ENROLLED BILL
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       the Chinese Communist Party unacceptably infringes on Montana's right to privacy; and

                WHEREAS, TikTok's continued operation in Montana serves as a valuable tool to the People's

       Republic of China to conduct corporate and international espionage in Montana and may allow the People's

       Republic of China to track the real-time locations of public officials, journalists, and other individuals adverse to

       the Chinese Communist Party's interests; and

                WHEREAS, TikTok's allowance and promotion of dangerous challenges threatens the health and

       safety of Montanans.



       BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MONTANA:



                Section 1.    Prohibition -- penalty -- enforcement -- definitions. (1) Tiktok may not operate within

       the territorial jurisdiction of Montana. An entity violates this prohibition when any of the following occurs within

       the territorial jurisdiction of Montana:

                (a)      the operation of tiktok by the company or users; or

                (b)      the option to download the tiktok mobile application by a mobile application store.

                (2)      An entity that violates a provision of this section is liable in the amount of $10,000 for each

       discrete violation and is liable for an additional $10,000 each day thereafter that the violation continues.

                (3)      It is an affirmative defense to this section if the violating entity could not have reasonably

       known that the violation occurred within the territorial jurisdiction of Montana.

                (4)      Penalties under this section do not apply to law enforcement activities, national security

       interests and activities, security research activities, or essential government uses permitted by the governor on

       the information technology system of the state.

                (5)      Penalties in this section do not apply to users of tiktok.

                (6)      The department of justice shall enforce the provisions of this section.

                (7)      As used in this section, the following definitions apply:

                (a)      "Discrete violation" means each time that a user accesses tiktok, is offered the ability to access

       tiktok, or is offered the ability to download tiktok.

                (b)      "Entity" means a mobile application store or tiktok.


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               (c)      "Mobile application" means a type of software program designed to run on a mobile device.

               (d)      "Territorial jurisdiction" means all places subject to the criminal jurisdiction of Montana.

               (e)      "Tiktok" means the social networking service owned by the Chinese company bytedance

       limited or any successors.



               Section 2.     Codification instruction. [Section 1] is intended to be codified as an integral part of Title

       30, chapter 14, and the provisions of Title 30, chapter 14, applies to [section 1].



               Section 3.     Severability. Each part of [this act] is severable. If any part of [this act] is invalid, illegal, or

       unenforceable, all valid parts remain in effect. If a part of [this act] is invalid in one or more of its applications,

       only those applications may be void and the remaining valid applications remain in effect as severable from the

       invalid applications and parts.



               Section 4.     Contingent voidness. [This act] is void if tiktok is acquired by or sold to a company that is

       not incorporated in any other country designated as a foreign adversary in 15 C.F.R. 7.4 at the time tiktok is

       sold or acquired.



               Section 5.     Effective date. [This act] is effective January 1, 2024.

                                                                - END -




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                                                                                                               ENROLLED BILL
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                                   I hereby certify that the within bill,

                                   SB 419, originated in the Senate.




                                    ___________________________________________

                                   Secretary of the Senate




                                    ___________________________________________

                                   President of the Senate



                                    Signed this _______________________________day

                                    of____________________________________, 2023.




                                    ___________________________________________

                                   Speaker of the House



                                    Signed this _______________________________day
                                    of____________________________________, 2023.
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                                 SENATE BILL NO. 419

                              INTRODUCED BY S. VANCE



AN ACT BANNING TIKTOK IN MONTANA; PROHIBITING A MOBILE APPLICATION STORE FROM

OFFERING THE TIKTOK APPLICATION TO MONTANA USERS; PROVIDING FOR PENALTIES; PROVIDING

FOR ENFORCEMENT     AUTHORITY; PROVIDING   DEFINITIONS;   PROVIDING   FOR   CONTINGENT

VOIDNESS; AND PROVIDING A DELAYED EFFECTIVE DATE.
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From: Corrigan, Christian <Christian.Corrigan@mt.gov>
Sent: Monday, June 26, 2023 10:07 AM
To: Berengaut, Alexander <aberengaut@cov.com>; Rob Cameron <rcameron@jmgattorneys.com>
Cc: Tasha Jones <npjones@boonekarlberg.com>; Torstensen, Peter <Peter.Torstensen@mt.gov>;
Kumar, Ambika <AmbikaKumar@dwt.com>; Anna R. Snedeker <ASnedeker@jmgattorneys.com>
Subject: RE: TikTok cases - proposed Joint Motion re PI schedule

Alex:

Thank you for your patience. As discussed, please see Defendant’s proposed limited
expedited discovery requests. We’re certainly open to limiting any of the requests in
scope in order to facilitate an agreement on the issue of limited discovery. To that
same end, we’re open to removing some of the requests as well. As for length of
discovery, we’re amenable to any time period that works for Plaintiffs.

We look forward to hearing from you.

Sincerely,

Christian B. Corrigan
Solicitor General
Office of Montana Attorney General Austin Knudsen
Christian.Corrigan@mt.gov
406.444.2707




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                               INTERROGATORIES
      Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,

Defendant, by its undersigned counsel, hereby serves the following Interrogatories.

Defendant serves these Interrogatories after discussion with Plaintiff’s counsel about

conducting limited discovery before Plaintiff files a motion for preliminary injunction.

Defendant does not waive any arguments or defenses in response to Plaintiff’s

complaint and forthcoming preliminary injunction motion.

      These Interrogatories are to be answered by Plaintiff, who shall answer each

Interrogatory separately and fully in writing and other oath. Plaintiff shall serve a

copy of the answers and objections, if any, by electronic mail to Defendant’s counsel

within 30 days. Grounds for objecting to an interrogatory, if any, must be stated with

specificity. Any ground not stated in a timely objection is waived unless the Court,

for good cause, excuses the failure.

                                   DEFINITIONS

      For purposes of these interrogatories only, Defendant uses the definitions set

forth below. Any terms not defined shall be given their ordinary meaning.

      1.     “Describe” means to state all facts, information, and opinions known and

held regarding, relating to, concerning, and pertinent to the Interrogatory.

      2.     “Identify” means to give, to the extent known, the person’s full name,

present or last known address, and when referring to a natural person, additionally,

the present or last known place of employment and title. Once a person has been

identified in accordance with this subparagraph, the name of that person need only
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be listed in response to subsequent discovery requesting the identification of that

person.

      3.     “You” and “your” mean Plaintiff TikTok, as well as any of its employees,

agents, representatives, or members, including any person or entity acting or

purporting to act on its behalf, at its direction, or under its supervision.

      4.     “ByteDance” means ByteDance, Ltd., as well as any of its subsidiaries,

employees, agents, representatives, or members, including any person or entity

acting or purporting to act on its behalf, at its direction, or under its supervision.

      5.     All references in these Interrogatories to an individual person include

any and all past or present employees, staff, interns, representatives, designees,

attorneys, advisors, consultants, contractors, agents, predecessors in office or

position, and all other persons or entities acting or purporting to act on the individual

person’s behalf or subject to the control of such a person. All references in these

Interrogatories to an entity, governmental entity, or any other type of organization

include its past or present officers, executives, directors, employees, staff, interns,

representatives, designees, attorneys, advisors, consultants, contractors, agents, and

all other persons or entities acting or purporting to act on behalf of such an

organization or subject to its control.

      6.     In construing these Interrogatories, apply the broadest construction, so

as to produce the most comprehensive response. Construe the terms “and” and “or”

either disjunctively or conjunctively, as necessary, to bring within the scope of the

Interrogatory all responses that might otherwise be construed to be outside that
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scope. Words used in the singular shall include the plural. Words or terms used

herein have the same intent and meaning regardless of whether the words or terms

are depicted in lowercase or uppercase letters.

                                   INSTRUCTIONS

      1.     Responses to these Interrogatories should be made in the manner

prescribed by Federal Rule of Civil Procedure 33.

      2.     You shall restate each interrogatory before responding to it.

      3.     If you object to any part of an Interrogatory, respond to all parts of the

Interrogatory to which you do not object, and separately state with specificity the part

of each Interrogatory to which you are objecting and the ground for each objection.

      4.     An interrogatory is not objectionable merely because an answer involves

an opinion or argument that relates to fact or the application of law to fact.

      5.     If the answer to any of these Interrogatories in whole or in part is

refused because of a claim of privilege or protection, please state in a written response

all of the circumstances and facts upon which your assertion of privilege is based,

including all information as is necessary to understand and challenge (if appropriate)

the withholding of the information.

      6.     That an Interrogatory calls in part for information which you claim to

be privileged is not a basis for you to fail to identify and produce fully all information

called for by the Interrogatory as to which no privilege is claimed.

      7.     Any Interrogatory propounded in the disjunctive should also be read as

if propounded in the conjunctive and vice versa.
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      8.     Any Interrogatory propounded in the singular should also be read as if

propounded in the plural and vice versa.

      9.     Any Interrogatory propounded in the present tense should also be read

as if propounded in the past tense and vice versa.

      10.    These Interrogatories are continuing in nature, so as to require you to

reasonably notify Defendant and to supplement responses hereto in the event that

any additional responsive information is discovered during the pendency of these

proceedings. Supplemental responses shall be served promptly upon discovery of such

information and undertaken in accordance with Federal Rule of Civil Procedure 26(e).

      11.    No Interrogatory is to be left unanswered. If the answer to an

Interrogatory or any part thereof is “none” or “unknown,” you should specify as much

in writing in your response. If the question is not applicable, please specify “not

applicable” in writing in your response, as well as the reasons for the alleged

inapplicability.

                               INTERROGATORIES

INTERROGATORY NO. 1:

Identify all beneficial owners of ByteDance Ltd., including but not limited to all global
institutional investors, governments, governmental entities or parties, public
officials, subsidiary employees, and private individuals, and include in your response
the name and address of the owner as well as their percentage of ownership.

ANSWER:

INTERROGATORY NO. 2:

Identify all subsidiaries of TikTok, including but not limited to all “special-purpose”
subsidiaries as noted in Paragraph 38 of Plaintiff’s complaint, and include in your
response the name and address of each subsidiary.
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ANSWER:

INTERROGATORY NO. 3:

Identify every foreign location where TikTok has ever stored U.S. user data, and
include in your response the name of the location or facility, the address, and the
approximate dates that information was stored at each location.

ANSWER:

INTERROGATORY NO. 4:

Identify all information that TikTok currently collects from its U.S. users as alleged
in Paragraph 36 of Plaintiff’s complaint.

ANSWER:

INTERROGATORY NO. 5:

Identify all information that TikTok previously collected from its U.S. users,
excluding any information disclosed in response to Interrogatory No. 4.

ANSWER:

INTERROGATORY NO. 6:

Describe with specificity the “unprecedented initiative dedicated to safeguarding U.S.
user data,” as alleged in Paragraph 37 of Plaintiff’s complaint, and include in your
response the dates on which you started to implement each aspect of the “initiative”
and the dates on which you expect you will have fully implemented each aspect of the
initiative.

ANSWER:

INTERROGATORY NO. 7:

Identify all “USDS-controlled infrastructure” as alleged in Paragraph 38 of Plaintiff’s
complaint, and include in your response the name and address of any entity identified
in your response.

ANSWER:

INTERROGATORY NO. 8:

Identify every request to TikTok or its subsidiaries for U.S. user data, and include in
your response the name of the requester, the entity—foreign or domestic—on behalf
of which the request was made, the date of the request.
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ANSWER:

INTERROGATORY NO. 9:

Identify every measure proposed “to mitigate any purported national security
concerns,” as alleged in Paragraph 66 of Plaintiff’s complaint, and include in your
response a description of the measure and whether each measure proposed was
ultimately implemented.

ANSWER:

INTERROGATORY NO. 10:

Identify all data breaches to TikTok’s systems, networks, databases, or data storage
facilities, and include in your response a description of the breach, the date of the
breach, the duration of the breach, the source of the breach, and the data that was
accessed during the breach.

ANSWER:

INTERROGATORY NO. 11:

Identify any communications between TikTok and the Chinese Communist Party or
any Chinese government entity, agency, party, or authority regarding TikTok’s U.S.
user data, and include in your response names, dates, and a description of what was
discussed.

ANSWER:

INTERROGATORY NO. 12:

Identify any ByteDance officer or employee who has or ever had access to U.S. user
data collected by TikTok, and include in your response the names and addresses of
any person identified.

ANSWER:

INTERROGATORY NO. 13:

Identify all prior versions of the TikTok app that have ever collected precise or
approximate GPS information from U.S. users, and include in your response the
name or number of the app version, the dates the version was used, and whether the
GPS information was approximate or precise.

ANSWER:

INTERROGATORY NO. 14:
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Identify all government investigations into TikTok, and include in your response the
name of the governmental entity, the government agency involved, the dates of the
investigation, the target of the investigation, and a brief description of the
government’s findings.

ANSWER:
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                         REQUESTS FOR PRODUCTION
      Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,

Defendant, by its undersigned counsel, hereby serves the following Interrogatories.

Defendant serves these Interrogatories after discussion with Plaintiff’s counsel about

conducting limited discovery before Plaintiff files a motion for preliminary injunction.

Defendant does not waive any arguments or defenses in response to Plaintiff’s

complaint and forthcoming preliminary injunction motion.

      These Requests for Production are to be answered by Plaintiff and served

upon counsel for Defendant on or before 30 days at the Office of the Montana

Attorney General, 215 North Sanders Street, Helena, MT 59601, or at such a place

or in such a manner mutually agreed upon by counsel for Plaintiff and Defendant.

The grounds for objecting to these Requests for Production must be stated with

specificity. Any ground not stated in a timely objection is waived unless the Court,

for good cause, excuses the failure.

                                  DEFINITIONS

      For purposes of these requests only, Defendant uses the definitions set forth

below. Any terms not defined shall be given their ordinary meaning.

      1.     “Document,” whether singular or plural, is used here in the broadest

sense to mean anything which may be considered to be a document or tangible thing

within the meaning of Federal Rule of Civil Procedure 34. This definition includes,

but is not limited to, each and every writing of whatever nature, and shall mean the

original and any draft or copy that differs in any way from the original in any written

or graphic matter, however produced or reproduced, and shall mean, without
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limitation, each and every tangible thing from which information can be processed or

transcribed from disk, diskette, compact disc, tape, or any other electronic media or

data computations. The term includes, but is not limited to, communications, letters,

emails, and any attachments, messages, facsimile transmissions, telegrams, telex

messages,   reports,   books,   agreements,   correspondence,   contracts,   financial

statements, instruments, ledgers, journals, accountings, minutes of meetings,

payrolls, studies, calendar and diary entries, notes charts, schedules, tabulations,

maps, work papers, brochures, evaluations, memoranda of telephone conversations,

audio and video tape recordings, internal communications, bills, tapes, computer

printouts, drawings, designs, diagrams, exhibits, photographs, reproductions, data,

spreadsheets, maps, shapefiles, geojson files, block assignment files, and any

marginal comments appearing on any document and copies of documents which are

not identical duplicates of the originals (e.g., because handwritten or “blind copy”

notes or notations appear thereon or are attached thereto). The term “document(s)”

includes the defined term “Electronically Stored Information,” which is defined below.

The term “document” specifically seeks the production of Electronically Stored

Information in native format.

      2.     “Electronically Stored Information” or “ESI” includes, but is not limited

to, any and all electronic data or information stored on a computing device and/or

electronic platform. Information and data is considered “electronic” if it exists in a

medium that can only be read through the use of computing device. This term

includes but is not limited to databases; all text file and word processing documents
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(including metadata); presentation documents, shapefiles, geojson files, block

assignment files, data, code, spreadsheets; graphics, animations, and images

(including but not limited to “JPG, GIF, BMP, PDF, PPT, and TIFF files); email,

email strings, and instant messages (including attachments, logs of email history and

usage, header information and “deleted” files) and any real-time text, audio, picture,

or video transmissions through the internet as well as any text, audio, picture, or

video transmissions between mobile phones and/or fixed or portable devices,

including server, network, desktop, laptop, or tablet computers whether private or

public; email attachments; calendar and scheduling information; cache memory;

Internet history files and preferences; audio; video, audiovisual recordings; voicemail

stored on databases; networks; computers and computer systems; computer system

activity logs; servers; archives; back-up or disaster recovery systems; hard drives;

discs; CD’s; diskettes; removable drives; tapes; cartridges and other storage media;

printers; scanners; personal digital assistants; computer calendars; handheld

wireless devices; cellular telephones; pagers; fax machines; and voicemail systems.

This term includes but is not limited to onscreen information, system data, archival

data, legacy data, residual data, and metadata that may not be readily viewable or

accessible, and all file fragments and backup files.

      3.       “You” and “your” mean Plaintiff TikTok, as well as any of their

employees, agents, representatives, or members, including any person or entity

acting or purporting to act on their behalf, at your direction, or under their

supervision.
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      4.     “ByteDance” means ByteDance, Ltd., as well as any of its subsidiaries,

employees, agents, representatives, or members, including any person or entity

acting or purporting to act on its behalf, at its direction, or under its supervision.

      5.     All references in these requests to an individual person include any and

all past or present employees, staff, interns, representatives, designees, attorneys,

advisors, consultants, contractors, agents, predecessors in office or position, and all

other persons or entities acting or purporting to act on the individual person’s behalf

or subject to the control of such a person. All references in these requests to an entity,

governmental entity, or any other type of organization include its past or present

officers, executives, directors, employees, staff, interns, representatives, designees,

attorneys, advisors, consultants, contractors, agents, and all other persons or entities

acting or purporting to act on behalf of such an organization or subject to its control.

      6.     In construing these Requests for Production, apply the broadest

construction, so as to produce the most comprehensive response. Construe the terms

“and” and “or” either disjunctively or conjunctively, as necessary, to bring within the

scope of the request all responses that might otherwise be construed to be outside

that scope. Words used in the singular shall include the plural. Words or terms used

herein have the same intent and meaning regardless of whether the words or terms

are depicted in lowercase or uppercase letters.


                                  INSTRUCTIONS

      1.     You are required when answering these Requests, to furnish all

requested information, not subject to valid objection, that is known by, possessed
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by, available to, or subject to reasonable access or control by you or any of your

attorneys, consultants, representatives, investigators, agents, and all others acting

on your behalf or under your supervision. Without limiting the term “control,” a

document is deemed to be within your control if you have the right to secure the

document or copy thereof from any persons or public or private entity having

physical control thereof.

      2.     If you object to responding to any of these Requests, in whole or in part,

you must state your objection(s) with specificity and all factual and legal bases for

the objection(s). If you object to a portion of a Request, you must specify the part to

which you object and respond to the remainder.

      3.     If, in responding to or failing to respond to any of these

discovery requests, you invoke or rely upon privilege of any kind, state specifically

the nature of the privilege(s), the bases on which you invoke, rely upon, or claim the

privilege(s), including statutory or decisional reference, and identify all documents

or other information, including contacts and communications, which you believe to

be embraced by the privilege(s) invoked. If you withhold any information based on

the attorney-client privilege, the attorney work-product immunity, or any other

privilege or immunity, you must identify the document or information withheld and

provide the following information: (i) a description of the document or information,

including the nature of the document or information (e.g., email, letter, database,

etc.); (ii) the author(s) and/or creator(s) of the document or information; (iii) the

recipient(s) or addressee(s) of the document or information; (iv) the date of the
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document or information; (v) the subject matter of the document or information; (vi)

the nature of all privileges or immunities claimed; and (vii) all such additional

information as is necessary to understand and challenge (if appropriate) the

withholding of the document or information.

      4.     If you contend that it would be unduly burdensome to obtain and

provide all of the information or documents called for in response to any Request or

part thereof, then in response to the appropriate request: (a) produce all such

information or documents as are available without undertaking what you contend

to be an unduly burdensome request; (b) describe with particularity the efforts made

by you or on your behalf to produce such information or documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to

produce such information or documents would be unduly burdensome.

      5.     These requests are continuing in nature. Pursuant to the duty of

supplementation under Federal Rule of Civil Procedure 26(e), your response must

be supplemented, and any additional responsive material disclosed if responsive

material becomes available after you serve your response. You must also amend

your responses to these requests if you learn that a production is in some material

respect incomplete or incorrect.

      6.     If any requested document or other potentially relevant document is

subject to destruction under any document retention or destruction program, the

documents should be exempted from any scheduled destruction and should not be
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destroyed until the conclusion of this lawsuit or unless otherwise permitted by court

order.

         7.   If a responsive document has been destroyed or has passed out of your

possession, custody, or control, please provide the following information with

respect to each such document: its title, date, author(s), sender(s), recipient(s),

subject matter, the circumstances under which it has become unavailable, and, if

known, its current location and custodian.

         8.   Documents are to be kept in their original format as they are kept by

you, provided that documents or records shall be produced as described hereinafter,

and hard-copy documents may be produced in electronic format. Documents should

be produced in their entirety, without abbreviation, redaction, or expurgation; file

folders with tabs or labels identifying documents responsive to these requests

should be produced intact with said documents; and documents attached to each

other should not be separated. Please produce any electronically stored information

(“ESI”) in native format files and bates numbered individual PDF files, with a

corresponding load file preserving all native metadata. Each document produced

should be categorized by the number of the request for which it is produced.

         9.   For documents produced in PDF format that originated in electronic

form, metadata shall be included with the data load files described above, and shall

include (at a minimum) the following information: file name (including extension);

original file path; page count; creation date and time; last saved date and time; last

modified date and time; author; custodian of the document (that is, the custodian
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from whom the document was collected or, if collected from a shared drive or server,

the name of the shared drive or server); and MD5 hash value. In addition, for email

documents, the data load files shall also include the following metadata: sent date;

sent time; received date; received time; “to” name(s) and address(es); “from” name(s)

and address(es); “cc” name(s) and address(es); “bcc” name(s) and address(es);

subject; names of attachment(s); and attachment(s) count. All images and load files

must be named or put in folders in such a manner that all records can be imported

without modification of any path or file name information.

      10.    All Requests for Production concern the period of time as specified in

the response to present, until the date on which the trial in this cases commences,

or if unspecified from January 1, 2020, to the present, until the date on which trial

in this case commences.



              REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

Produce any and all communications to or from the Chinese Communist Party or any
Chinese government agency, authority, party, or official regarding TikTok’s U.S. user
data.

RESPONSE:

REQUEST FOR PRODUCTION NO. 2:

Produce any and all communications to or from ByteDance regarding TikTok’s U.S.
user data.

RESPONSE:
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                          REQUESTS FOR ADMISSION
      Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure,

Defendant, by its undersigned counsel, hereby serves the following Interrogatories.

Defendant serves these Interrogatories after discussion with Plaintiff’s counsel about

conducting limited discovery before Plaintiff files a motion for preliminary injunction.

Defendant does not waive any arguments or defenses in response to Plaintiff’s

complaint and forthcoming preliminary injunction motion.

      These Requests for Admissions are to be answered by Plaintiff, who shall

answer each Request for Admission separately and fully in writing and under oath.

Plaintiff shall serve a copy of the answers and objections, if any, by electronic mail to

Defendant’s counsel within 30 days. The matter is admitted unless, within 30 days

after service of these requests, Plaintiff serves upon Defendant a written response.

Any grounds for objection must be stated with specificity. It is not grounds for

objection that the truth of a matter is a genuine issue for trial. Any ground not stated

in a timely objection is waived unless the Court, for good cause, excuses the failure.

                                   DEFINITIONS

      For purposes of these requests only, Defendant uses the definitions set forth

below. Any terms not defined shall be given their ordinary meaning.

      1.       “You” and “your” mean Plaintiff TikTok, as well as any of their

employees, agents, representatives, or members, including any person or entity

acting or purporting to act on their behalf, at your direction, or under their

supervision.
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      2.     “ByteDance” means ByteDance, Ltd., as well as any of its subsidiaries,

employees, agents, representatives, or members, including any person or entity

acting or purporting to act on its behalf, at its direction, or under its supervision.

      3.     In construing these Requests, apply the broadest construction, so as to

produce the most comprehensive response. Construe the terms “and” and “or” either

disjunctively or conjunctively, as necessary, to bring within the scope of the Request

all responses that might otherwise be construed to be outside that scope. Words used

in the singular shall include the plural. Words or terms used herein have the same

intent and meaning regardless of whether the words or terms are depicted in

lowercase or uppercase letters.

                                   INSTRUCTIONS

      1.     Responses to these Requests for Admission should be made in the

manner prescribed by Federal Rule of Civil Procedure 36.

      2.     The matter is admitted unless, within 30 days after service of these

requests, you serve a written response.

      3.     You must restate each request before responding to it.

      4.     Unless you object to a matter, you must admit or deny the matter or

state in detail the reasons why you cannot truthfully admit or deny.

      5.     You may identify the part of a matter that is true and deny the rest. Any

denial must fairly meet the substance of the request.
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      6.     Lack of information is not a reason for failure to admit or deny unless,

after reasonable inquiry, the information known or reasonably available is

insufficient to enable an admission or denial.

      7.     You may not object to a request on the ground that you consider the

subject of the requests to be a genuine issue for trial.

      8.     You must respond to any portion of a Request to which you do not object,

and separately state with specificity the part of each Request to which you are

objecting and the ground for each objection.

      9.     If your admission or denial to any of these Requests in whole or in part

is refused because of a claim of privilege or protection, state in a written response all

of the circumstances and facts upon which your assertion of privilege is based.

      10.    Any Request propounded in the disjunctive should also be read as if

propounded in the conjunctive and vice versa.

      11.    Any Request propounded in the singular should also be read as if

propounded in the plural and vice versa.

      12.    Any Request propounded in the present tense should also be read as if

propounded in the past tense and vice versa.

      13.    These Requests are continuing in nature, so as to require you to

reasonably notify Defendant and to supplement responses hereto in the event that

any additional responsive information is discovered during the pendency of these

proceedings. Supplemental responses shall be served promptly upon discovery of such

information and undertaken in accordance with Federal Rule of Civil Procedure 26(e).
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                         REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Admit that at any time Plaintiff could modify the TikTok app to start collecting GPS
information from U.S. users.

ANSWER:

REQUEST FOR ADMISSION NO. 2:

Admit that the TikTok app has been hacked.

ANSWER:

REQUEST FOR ADMISSION NO. 3:

Admit that a hacker could access U.S. user data.

ANSWER:

REQUEST FOR ADMISSION NO. 4:

Admit that ByteDance has access to U.S. user data collected by TikTok.

ANSWER:

REQUEST FOR ADMISSION NO. 5:

Admit that there are members of the Chinese Communist Party employed by TikTok.

ANSWER:

REQUEST FOR ADMISSION NO. 6:

Admit that individuals employed by the Chinese Communist Party share office space
with ByteDance.

ANSWER:
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             EXHIBIT 20
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TO:      Kevin Gilbertson, Chief Information Officer
         Executive agency directors

FROM: Governor Greg Gianforte

CC:      Attorney General Austin Knudsen
         Secretary of State Christi Jacobsen
         State Auditor Troy Downing
         Superintendent of Public Instruction Elsie Arntzen

DATE: December 16, 2022

RE:      Prohibiting the Use of TikTok on State IT Infrastructure

Government’s chief responsibility is keeping its citizens safe and secure. Recently, the
director of the Federal Bureau of Investigation raised “national security concerns” about
TikTok operations, warning the app is controlled by “a government that doesn’t share
our values, and that has a mission that’s very much at odds with what’s in the best
interests of the United States.”

TikTok, a video-sharing app owned by a Chinese company called ByteDance Ltd.,
harvests expansive amounts of data from its users’ devices, much of which is unrelated
to the app’s purported objective of video sharing, and offers this information to the
Chinese Communist Party.

Use of TikTok on state devices poses a significant risk to the security of our state and
Montanans’ sensitive data. Given these grave security concerns, effective immediately,
no executive agency, board, commission, or other executive branch entity, official, or
employee of the State of Montana shall download or access TikTok on government-
issued devices or while connected to the state network. Additionally, any third party
firms conducting business for or on behalf of the State of Montana shall not use TikTok.

This TikTok ban applies to all state-issued cell phones, laptops, tablets, desktop
computers, and other devices which connect to the internet, and I direct you to take all
necessary steps to block TikTok from being accessed. If TikTok is currently downloaded
on any device described above, it must be immediately removed. If exceptions to
enable law enforcement and essential government uses of the app are necessary, they
must be reported to the Office of the Governor by agency leadership.

Together, we will defend the State of Montana and its people against threats to our
security and way of life.
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       AN ACT ESTABLISHING THE CONSUMER DATA PRIVACY ACT; PROVIDING DEFINITIONS;

       ESTABLISHING APPLICABILITY; PROVIDING FOR CONSUMER RIGHTS TO PERSONAL DATA;

       ESTABLISHING REQUIREMENTS AND LIMITATIONS FOR A CONTROLLER OF PERSONAL DATA;

       ESTABLISHING REQUIREMENTS AND LIMITATIONS FOR A PROCESSOR OF PERSONAL DATA;

       PROVIDING FOR DATA PROTECTION ASSESSMENTS; PROVIDING EXEMPTIONS AND COMPLIANCE

       REQUIREMENTS; PROVIDING FOR ENFORCEMENT; AND PROVIDING A DELAYED EFFECTIVE DATE

       AND A TERMINATION DATE.



       BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MONTANA:



               Section 1.    Short title. [Sections 1 through 12] may be cited as the "Consumer Data Privacy Act".



               Section 2.    Definitions. As used in [sections 1 through 12], unless the context clearly indicates

       otherwise, the following definitions apply:

               (1)      "Affiliate" means a legal entity that shares common branding with another legal entity or

       controls, is controlled by, or is under common control with another legal entity.

               (2)      "Authenticate" means to use reasonable methods to determine that a request to exercise any

       of the rights afforded under [section 5(1)(a) through (1)(e)] is being made by, or on behalf of, the consumer who

       is entitled to exercise these consumer rights with respect to the personal data at issue.

               (3)      (a) "Biometric data" means data generated by automatic measurements of an individual's

       biological characteristics, such as a fingerprint, a voiceprint, eye retinas, irises, or other unique biological

       patterns or characteristics that are used to identify a specific individual.

               (b)      The term does not include:

               (i)      a digital or physical photograph;

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                 (ii)    an audio or video recording; or

                 (iii)   any data generated from a digital or physical photograph or an audio or video recording, unless

       that data is generated to identify a specific individual.

                 (4)     "Child" means an individual under 13 years of age.

                 (5)     (a) "Consent" means a clear affirmative act signifying a consumer's freely given, specific,

       informed, and unambiguous agreement to allow the processing of personal data relating to the consumer. The

       term may include a written statement, a statement by electronic means, or any other unambiguous affirmative

       action.

                 (b)     The term does not include:

                 (i)     acceptance of a general or broad term of use or similar document that contains descriptions of

       personal data processing along with other unrelated information;

                 (ii)    hovering over, muting, pausing, or closing a given piece of content; or

                 (iii)   an agreement obtained using dark patterns.

                 (6)     (a) "Consumer" means an individual who is a resident of this state.

                 (b)     The term does not include an individual acting in a commercial or employment context or as an

       employee, owner, director, officer, or contractor of a company, partnership, sole proprietorship, nonprofit, or

       government agency whose communications or transactions with the controller occur solely within the context of

       that individual's role with the company, partnership, sole proprietorship, nonprofit, or government agency.

                 (7)     "Control" or "controlled" means:

                 (a)     ownership of or the power to vote more than 50% of the outstanding shares of any class of

       voting security of a company;

                 (b)     control in any manner over the election of a majority of the directors or of individuals exercising

       similar functions; or

                 (c)     the power to exercise controlling influence over the management of a company.

                 (8)     "Controller" means an individual who or legal entity that, alone or jointly with others, determines

       the purpose and means of processing personal data.

                 (9)     "Dark pattern" means a user interface designed or manipulated with the effect of substantially

       subverting or impairing user autonomy, decision-making, or choice.


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                (10)     "Decisions that produce legal or similarly significant effects concerning the consumer" means

       decisions made by the controller that result in the provision or denial by the controller of financial or lending

       services, housing, insurance, education enrollment or opportunity, criminal justice, employment opportunities,

       health care services, or access to necessities such as food and water.

                (11)     "Deidentified data" means data that cannot be used to reasonably infer information about or

       otherwise be linked to an identified or identifiable individual or a device linked to the individual if the controller

       that possesses the data:

                (a)      takes reasonable measures to ensure that the data cannot be associated with an individual;

                (b)      publicly commits to process the data in a deidentified fashion only and to not attempt to

       reidentify the data; and

                (c)      contractually obligates any recipients of the data to satisfy the criteria set forth in subsections

       (11)(a) and (11)(b).

                (12)     "Identified or identifiable individual" means an individual who can be readily identified, directly

       or indirectly.

                (13)     "Institution of higher education" means any individual who or school, board, association, limited

       liability company, or corporation that is licensed or accredited to offer one or more programs of higher learning

       leading to one or more degrees.

                (14)     "Nonprofit organization" means any organization that is exempt from taxation under section

       501(c)(3), 501(c)(4), 501(c)(6) or 501(c)(12) of the Internal Revenue Code of 1986 or any subsequent

       corresponding internal revenue code of the United States as amended from time to time.

                (15)     (a) "Personal data" means any information that is linked or reasonably linkable to an identified

       or identifiable individual.

                (b)      The term does not include deidentified data or publicly available information.

                (16)     (a) "Precise geolocation data" means information derived from technology, including but not

       limited to global positioning system level latitude and longitude coordinates or other mechanisms, that directly

       identifies the specific location of an individual with precision and accuracy within a radius of 1,750 feet.

                (b)      The term does not include the content of communications, or any data generated by or

       connected to advanced utility metering infrastructure systems or equipment for use by a utility.


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                 (17)    "Process" or "processing" means any operation or set of operations performed, whether by

       manual or automated means, on personal data or on sets of personal data, such as the collection, use, storage,

       disclosure, analysis, deletion, or modification of personal data.

                 (18)    "Processor" means an individual who or legal entity that processes personal data on behalf of a

       controller.

                 (19)    "Profiling" means any form of automated processing performed on personal data to evaluate,

       analyze, or predict personal aspects related to an identified or identifiable individual's economic situation,

       health, personal preferences, interests, reliability, behavior, location, or movements.

                 (20)    "Protected health information" has the same meaning as provided in the privacy regulations of

       the federal Health Insurance Portability and Accountability Act of 1996.

                 (21)    "Pseudonymous data" means personal data that cannot be attributed to a specific individual

       without the use of additional information, provided the additional information is kept separately and is subject to

       appropriate technical and organizational measures to ensure that the personal data is not attributed to an

       identified or identifiable individual.

                 (22)    "Publicly available information" means information that:

                 (a)     is lawfully made available through federal, state, or municipal government records or widely

       distributed media; or

                 (b)     a controller has a reasonable basis to believe a consumer has lawfully made available to the

       public.

                 (23)    (a) "Sale of personal data" means the exchange of personal data for monetary or other

       valuable consideration by the controller to a third party.

                 (b)     The term does not include:

                 (i)     the disclosure of personal data to a processor that processes the personal data on behalf of

       the controller;

                 (ii)    the disclosure of personal data to a third party for the purposes of providing a product or

       service requested by the consumer;

                 (iii)   the disclosure or transfer of personal data to an affiliate of the controller;

                 (iv)    the disclosure of personal data in which the consumer directs the controller to disclose the


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       personal data or intentionally uses the controller to interact with a third party;

                (v)      the disclosure of personal data that the consumer:

                (A)      intentionally made available to the public via a channel of mass media; and

                (B)      did not restrict to a specific audience; or

                (vi)     the disclosure or transfer of personal data to a third party as an asset that is part of a merger,

       acquisition, bankruptcy, or other transaction, or a proposed merger, acquisition, bankruptcy, or other

       transaction in which the third party assumes control of all or part of the controller's assets.

                (24)     "Sensitive data" means personal data that includes:

                (a)      data revealing racial or ethnic origin, religious beliefs, a mental or physical health condition or

       diagnosis, information about a person's sex life, sexual orientation, or citizenship or immigration status;

                (b)      the processing of genetic or biometric data for the purpose of uniquely identifying an individual;

                (c)      personal data collected from a known child; or

                (d)      precise geolocation data.

                (25)     (a) "Targeted advertising" means displaying advertisements to a consumer in which the

       advertisement is selected based on personal data obtained or inferred from that consumer's activities over time

       and across nonaffiliated internet websites or online applications to predict the consumer's preferences or

       interests.

                (b)      The term does not include:

                (i)      advertisements based on activities within a controller's own internet websites or online

       applications;

                (ii)     advertisements based on the context of a consumer's current search query or visit to an

       internet website or online application;

                (iii)    advertisements directed to a consumer in response to the consumer's request for information

       or feedback; or

                (iv)     processing personal data solely to measure or report advertising frequency, performance, or

       reach.

                (26)     "Third party" means an individual or legal entity, such as a public authority, agency, or body,

       other than the consumer, controller, or processor or an affiliate of the controller or processor.


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               (27)     "Trade secret" has the same meaning as provided in 30-14-402.



               Section 3.      Applicability. The provisions of [sections 1 through 12] apply to persons that conduct

       business in this state or persons that produce products or services that are targeted to residents of this state

       and:

               (1)      control or process the personal data of not less than 50,000 consumers, excluding personal

       data controlled or processed solely for the purpose of completing a payment transaction; or

               (2)      control or process the personal data of not less than 25,000 consumers and derive more than

       25% of gross revenue from the sale of personal data.



               Section 4.      Exemptions. (1) [Sections 1 through 12] do not apply to any:

               (a)      body, authority, board, bureau, commission, district, or agency of this state or any political

       subdivision of this state;

               (b)      nonprofit organization;

               (c)      institution of higher education;

               (d)      national securities association that is registered under 15 U.S.C. 78o-3 of the federal Securities

       Exchange Act of 1934, as amended;

               (e)         financial institution or an affiliate of a financial institution governed by, or personal data

       collected, processed, sold, or disclosed in accordance with, Title V of the Gramm-Leach-Bliley Act, 15 U.S.C.

       6801, et seq.; or

               (f)      covered entity or business associate as defined in the privacy regulations of the federal Health

       Insurance Portability and Accountability Act of 1996, 45 CFR 160.103.

               (2)      Information and data exempt from [sections 1 through 12] include:

               (a)      protected health information under the privacy regulations of the federal Health Insurance

       Portability and Accountability Act of 1996;

               (b)      patient-identifying information for the purposes of 42 U.S.C. 290dd-2;

               (c)      identifiable private information for the purposes of the federal policy for the protection of human

       subjects of 1991, 45 CFR, part 46;


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                  (d)    identifiable private information that is otherwise information collected as part of human subjects

       research pursuant to the good clinical practice guidelines issued by the international council for harmonisation

       of technical requirements for pharmaceuticals for human use;

                  (e)    the protection of human subjects under 21 CFR, parts 6, 50, and 56, or personal data used or

       shared in research as defined in the federal Health Insurance Portability and Accountability Act of 1996, 45

       CFR 164.501, that is conducted in accordance with the standards set forth in this subsection (2)(e), or other

       research conducted in accordance with applicable law;

                  (f)    information and documents created for the purposes of the Health Care Quality Improvement

       Act of 1986, 42 U.S.C. 11101, et seq.;

                  (g)    patient safety work products for the purposes of the Patient Safety and Quality Improvement

       Act of 2005, 42 U.S.C. 299b-21, et seq., as amended;

                  (h)    information derived from any of the health care-related information listed in this subsection (2)

       that is:

                  (i)    deidentified in accordance with the requirements for deidentification pursuant to the privacy

       regulations of the federal Health Insurance Portability and Accountability Act of 1996; or

                  (ii)   included in a limited data set as described in 45 CFR 164.514(e), to the extent that the

       information is used, disclosed, and maintained in a manner specified in 45 CFR 164.514(e).

                  (i)    information originating from and intermingled to be indistinguishable with or information treated

       in the same manner as information exempt under this subsection (2) that is maintained by a covered entity or

       business associate as defined in the privacy regulations of the federal Health Insurance Portability and

       Accountability Act of 1996, 45 CFR 160.103, or a program or qualified service organization, as specified in 42

       U.S.C. 290dd-2, as amended;

                  (j)    information used for public health activities and purposes as authorized by the federal Health

       Insurance Portability and Accountability Act of 1996, community health activities, and population health

       activities;

                  (k)    the collection, maintenance, disclosure, sale, communication, or use of any personal

       information bearing on a consumer's credit worthiness, credit standing, credit capacity, character, general

       reputation, personal characteristics, or mode of living by a consumer reporting agency, furnisher, or user that


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       provides information for use in a consumer report and by a user of a consumer report, but only to the extent

       that the activity is regulated by and authorized under the Fair Credit Reporting Act, 15 U.S.C. 1681, as

       amended;

                (l)     personal data collected, processed, sold, or disclosed in compliance with the Driver's Privacy

       Protection Act of 1994, 18 U.S.C. 2721, et seq., as amended;

                (m)     personal data regulated by the Family Educational Rights and Privacy Act of 1974, 20 U.S.C.

       1232g, et seq., as amended;

                (n)     personal data collected, processed, sold, or disclosed in compliance with the Farm Credit Act

       of 1993, 12 U.S.C. 2001, et seq., as amended;

                (o)     data processed or maintained:

                (i)     by an individual applying to, employed by, or acting as an agent or independent contractor of a

       controller, processor, or third party to the extent that the data is collected and used within the context of that

       role;

                (ii)    as the emergency contact information of an individual under [sections 1 through 12] and used

       for emergency contact purposes; or

                (iii)   that is necessary to retain to administer benefits for another individual relating to the individual

       who is the subject of the information under subsection (2)(a) and is used for the purposes of administering the

       benefits; and

                (p)     personal data collected, processed, sold, or disclosed in relation to price, route, or service, as

       these terms are used in the Airline Deregulation Act of 1978, 49 U.S.C. 40101, et seq., as amended, by an air

       carrier subject to the Airline Deregulation Act of 1978, to the extent [sections 1 through 12] are preempted by

       the Airline Deregulation Act of 1978, 49 U.S.C. 41713, as amended.

                (3)     Controllers and processors that comply with the verifiable parental consent requirements of the

       Children's Online Privacy Protection Act of 1998, 15 U.S.C. 6501, et seq., shall be considered compliant with

       any obligation to obtain parental consent pursuant to [sections 1 through 12].



                Section 5.   Consumer personal data -- opt-out -- compliance -- appeals. (1) A consumer must

       have the right to:


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                 (a)     confirm whether a controller is processing the consumer's personal data and access the

       consumer's personal data, unless such confirmation or access would require the controller to reveal a trade

       secret;

                 (b)     correct inaccuracies in the consumer's personal data, considering the nature of the personal

       data and the purposes of the processing of the consumer's personal data;

                 (c)     delete personal data about the consumer;

                 (d)     obtain a copy of the consumer's personal data previously provided by the consumer to the

       controller in a portable and, to the extent technically feasible, readily usable format that allows the consumer to

       transmit the personal data to another controller without hindrance when the processing is carried out by

       automated means, provided the controller is not required to reveal any trade secret; and

                 (e)     opt out of the processing of the consumer's personal data for the purposes of:

                 (i)     targeted advertising;

                 (ii)    the sale of the consumer's personal data, except as provided in [section 7(2)]; or

                 (iii)   profiling in furtherance of solely automated decisions that produce legal or similarly significant

       effects concerning the consumer.

                 (2)     A consumer may exercise rights under this section by a secure and reliable means established

       by the controller and described to the consumer in the controller's privacy notice.

                 (3)     (a) A consumer may designate an authorized agent in accordance with [section 6] to exercise

       the rights of the consumer to opt out of the processing of the consumer's personal data under subsection (1)(e)

       on behalf of the consumer.

                 (b)     A parent or legal guardian of a known child may exercise the consumer rights on the known

       child's behalf regarding the processing of personal data.

                 (c)     A guardian or conservator of a consumer subject to a guardianship, conservatorship, or other

       protective arrangement, may exercise the rights on the consumer's behalf regarding the processing of personal

       data.

                 (4)     Except as otherwise provided in [sections 1 through 12], a controller shall comply with a

       request by a consumer to exercise the consumer rights authorized pursuant to this section as follows:

                 (a)     A controller shall respond to the consumer without undue delay, but not later than 45 days after


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       receipt of the request. The controller may extend the response period by 45 additional days when reasonably

       necessary, considering the complexity and number of the consumer's requests, provided the controller informs

       the consumer of the extension within the initial 45-day response period and the reason for the extension.

                  (b)   If a controller declines to act regarding the consumer's request, the controller shall inform the

       consumer without undue delay, but not later than 45 days after receipt of the request, of the justification for

       declining to act and provide instructions for how to appeal the decision.

                  (c)   Information provided in response to a consumer request must be provided by a controller, free

       of charge, once for each consumer during any 12-month period. If requests from a consumer are manifestly

       unfounded, excessive, technically infeasible, or repetitive, the controller may charge the consumer a

       reasonable fee to cover the administrative costs of complying with the request or decline to act on the request.

       The controller bears the burden of demonstrating the manifestly unfounded, excessive, technically infeasible, or

       repetitive nature of the request.

                  (d)   If a controller is unable to authenticate a request to exercise any of the rights afforded under

       subsections (1)(a) through (1)(d) of this section using commercially reasonable efforts, the controller may not

       be required to comply with a request to initiate an action pursuant to this section and shall provide notice to the

       consumer that the controller is unable to authenticate the request to exercise the right or rights until the

       consumer provides additional information reasonably necessary to authenticate the consumer and the

       consumer's request to exercise the consumer's rights. A controller may not be required to authenticate an opt-

       out request, but a controller may deny an opt-out request if the controller has a good faith, reasonable, and

       documented belief that the request is fraudulent. If a controller denies an opt-out request because the controller

       believes the request is fraudulent, the controller shall send notice to the person who made the request

       disclosing that the controller believes the request is fraudulent and that the controller may not comply with the

       request.

                  (e)   A controller that has obtained personal data about a consumer from a source other than the

       consumer must be deemed in compliance with the consumer's request to delete the consumer's data pursuant

       to subsection (1)(c) by:

                  (i)   retaining a record of the deletion request and the minimum data necessary for the purpose of

       ensuring the consumer's personal data remains deleted from the controller's records and not using the retained


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       data for any other purpose pursuant to the provisions of [sections 1 through 12]; or

               (ii)     opting the consumer out of the processing of the consumer's personal data for any purpose

       except for those exempted pursuant to the provisions of [sections 1 through 12].

               (5)      A controller shall establish a process for a consumer to appeal the controller's refusal to act on

       a request within a reasonable period after the consumer's receipt of the decision. The appeal process must be

       conspicuously available and like the process for submitting requests to initiate action pursuant to this section.

       Not later than 60 days after receipt of an appeal, a controller shall inform the consumer in writing of any action

       taken or not taken in response to the appeal, including a written explanation of the reasons for the decisions. If

       the appeal is denied, the controller shall also provide the consumer with an online mechanism, if available, or

       other method through which the consumer may contact the attorney general to submit a complaint.



               Section 6.   Authorized agent. (1) A consumer may designate another person to serve as the

       consumer's authorized agent and act on the consumer's behalf to opt out of the processing of the consumer's

       personal data for one or more of the purposes specified in [section 5(1)(e)]. The consumer may designate an

       authorized agent by way of a technology, including but not limited to an internet link or a browser setting,

       browser extension, or global device setting indicating a customer's intent to opt out of such processing.

               (2)      A controller shall comply with an opt-out request received from an authorized agent if the

       controller is able to verify, with commercially reasonable effort, the identity of the consumer and the authorized

       agent's authority to act on the consumer's behalf.

               (3)      Opt-out methods must:

               (a)      provide a clear and conspicuous link on the controller's internet website to an internet web

       page that enables a consumer, or an agent of the consumer, to opt out of the targeted advertising or sale of the

       consumer's personal data; and

               (b)      by no later than January 1, 2025, allow a consumer to opt out of any processing of the

       consumer's personal data for the purposes of targeted advertising, or any sale of such personal data through

       an opt-out preference signal sent with the consumer's consent, to the controller by a platform, technology, or

       mechanism that:

               (i)      may not unfairly disadvantage another controller;


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               (ii)      may not make use of a default setting, but require the consumer to make an affirmative, freely

       given and unambiguous choice to opt out of any processing of a customer's personal data pursuant to [sections

       1 through 12];

               (iii)    must be consumer-friendly and easy to use by the average consumer;

               (iv)     must be consistent with any federal or state law or regulation; and

               (v)      must allow the controller to accurately determine whether the consumer is a resident of the

       state and whether the consumer has made a legitimate request to opt out of any sale of a consumer's personal

       data or targeted advertising.

               (4)      (a) If a consumer's decision to opt out of any processing of the consumer's personal data for

       the purposes of targeted advertising, or any sale of personal data, through an opt-out preference signal sent in

       accordance with the provisions of subsection (3) conflicts with the consumer's existing controller-specific

       privacy setting or voluntary participation in a controller's bona fide loyalty, rewards, premium features,

       discounts, or club card program, the controller shall comply with the consumer's opt-out preference signal but

       may notify the consumer of the conflict and provide the choice to confirm controller-specific privacy settings or

       participation in such a program.

               (b)      If a controller responds to consumer opt-out requests received in accordance with subsection

       (3) by informing the consumer of a charge for the use of any product or service, the controller shall present the

       terms of any financial incentive offered pursuant to subsection (3) for the retention, use, sale, or sharing of the

       consumer's personal data.



               Section 7.    Data processing by controller -- limitations. (1) A controller shall:

               (a)      limit the collection of personal data to what is adequate, relevant, and reasonably necessary in

       relation to the purposes for which the personal data is processed, as disclosed to the consumer;

               (b)      establish, implement, and maintain reasonable administrative, technical, and physical data

       security practices to protect the confidentiality, integrity, and accessibility of personal data appropriate to the

       volume and nature of the personal data at issue; and

               (c)      provide an effective mechanism for a consumer to revoke the consumer's consent under this

       section that is at least as easy as the mechanism by which the consumer provided the consumer's consent and,


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       on revocation of the consent, cease to process the personal data as soon as practicable, but not later than 45

       days after the receipt of the request.

               (2)      A controller may not:

               (a)      except as otherwise provided in [sections 1 through 12], process personal data for purposes

       that are not reasonably necessary to or compatible with the disclosed purposes for which the personal data is

       processed as disclosed to the consumer unless the controller obtains the consumer's consent;

               (b)      process sensitive data concerning a consumer without obtaining the consumer's consent or, in

       the case of the processing of sensitive data concerning a known child, without processing the sensitive data in

       accordance with the Children's Online Privacy Protection Act of 1998, 15 U.S.C. 6501, et seq.;

               (c)      process personal data in violation of the laws of this state and federal laws that prohibit

       unlawful discrimination against consumers;

               (d)      process the personal data of a consumer for the purposes of targeted advertising or sell the

       consumer's personal data without the consumer's consent under circumstances in which a controller has actual

       knowledge that the consumer is at least 13 years of age but younger than 16 years of age; or

               (e)      discriminate against a consumer for exercising any of the consumer rights contained in

       [sections 1 through 12], including denying goods or services, charging different prices or rates for goods or

       services, or providing a different level of quality of goods or services to the consumer.

               (3)      Nothing in subsection (1) or (2) may be construed to require a controller to provide a product or

       service that requires the personal data of a consumer that the controller does not collect or maintain or prohibit

       a controller from offering a different price, rate, level, quality, or selection of goods or services to a consumer,

       including offering goods or services for no fee, if the consumer has exercised their right to opt out pursuant to

       [sections 1 through 12] or the offering is in connection with a consumer's voluntary participation in a bona fide

       loyalty, rewards, premium features, discounts, or club card program.

               (4)      If a controller sells personal data to third parties or processes personal data for targeted

       advertising, the controller shall clearly and conspicuously disclose the processing, as well as the way a

       consumer may exercise the right to opt out of the processing.

               (5)      A controller shall provide consumers with a reasonably accessible, clear, and meaningful

       privacy notice that includes:


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               (a)       the categories of personal data processed by the controller;

               (b)       the purpose for processing personal data;

               (c)       the categories of personal data that the controller shares with third parties, if any;

               (d)       the categories of third parties, if any, with which the controller shares personal data; and

               (e)       an active e-mail address or other mechanism that the consumer may use to contact the

       controller; and

               (f)       how consumers may exercise their consumer rights, including how a consumer may appeal a

       controller's decision regarding the consumer's request.

               (6)       (a) A controller shall establish and describe in a privacy notice one or more secure and reliable

       means for consumers to submit a request to exercise their consumer rights pursuant to [sections 1 through 12]

       considering the ways in which consumers normally interact with the controller, the need for secure and reliable

       communication of consumer requests, and the ability of the controller to verify the identity of the consumer

       making the request.

               (b)       A controller may not require a consumer to create a new account to exercise consumer rights

       but may require a consumer to use an existing account.



               Section 8.     Data processor -- allowances -- limitations. (1) A processor shall adhere to the

       instructions of a controller and shall assist the controller in meeting the controller's obligations under [sections 1

       through 12] to include:

               (a)       considering the nature of processing and the information available to the processor by

       appropriate technical and organizational measures as much as reasonably practicable to fulfill the controller's

       obligation to respond to consumer rights requests;

               (b)       considering the nature of processing and the information available to the processor by assisting

       the controller in meeting the controller's obligations in relation to the security of processing the personal data

       and in relation to the notification of a breach of security, as provided for in 30-14-1704, of the system of the

       processor to meet the controller's obligations; and

               (c)       providing necessary information to enable the controller to conduct and document data

       protection assessments.


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               (2)      A contract between a controller and a processor must govern the processor's data processing

       procedures with respect to processing performed on behalf of the controller. The contract must be binding and

       clearly set forth instructions for processing data, the nature and purpose of processing, the type of data subject

       to processing, the duration of processing, and the rights and obligations of both parties. The contract must also

       require that the processor:

               (a)      ensure that each person processing personal data is subject to a duty of confidentiality with

       respect to the personal data;

               (b)      at the controller's direction, delete or return all personal data to the controller as requested at

       the end of the provision of services, unless retention of the personal data is required by law;

               (c)      on the reasonable request of the controller, make available to the controller all information in

       the processor's possession necessary to demonstrate the processor's compliance with the obligations in

       [sections 1 through 12];

               (d)      engage any subcontractor pursuant to a written contract that requires the subcontractor to

       meet the obligations of the processor with respect to the personal data; and

               (e)      allow and cooperate with reasonable assessments by the controller or the controller's

       designated assessor, or the processor may arrange for a qualified and independent assessor to assess the

       processor's policies and technical and organizational measures in support of the obligations under [sections 1

       through 12] using an appropriate and accepted control standard or framework and assessment procedure for

       the assessments. The processor shall provide a report of the assessment to the controller on request.

               (3)      Nothing in this section may be construed to relieve a controller or processor from the liabilities

       imposed on the controller or processor by virtue of the controller's or processor's role in the processing

       relationship, as described in [sections 1 through 12].

               (4)      Determining whether a person is acting as a controller or processor with respect to a specific

       processing of data is a fact-based determination that depends on the following context in which personal data is

       to be processed:

               (a)      A person who is not limited in the processing of personal data pursuant to a controller's

       instructions or who fails to adhere to a controller's instructions is a controller and not a processor with respect to

       a specific processing of data.


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               (b)      A processor that continues to adhere to a controller's instructions with respect to a specific

       processing of personal data remains a processor.

               (c)      If a processor begins, alone or jointly with others, determining the purposes and means of the

       processing of personal data, the processor is a controller with respect to the processing and may be subject to

       an enforcement action under [section 12].



               Section 9.    Data protection assessment. (1) A controller shall conduct and document a data

       protection assessment for each of the controller's processing activities that presents a heightened risk of harm

       to a consumer. For the purposes of this section, processing that presents a heightened risk of harm to a

       consumer includes:

               (a)      the processing of personal data for the purposes of targeted advertising;

               (b)      the sale of personal data;

               (c)      the processing of personal data for the purposes of profiling in which the profiling presents a

       reasonably foreseeable risk of:

               (i)      unfair or deceptive treatment of or unlawful disparate impact on consumers;

               (ii)     financial, physical, or reputational injury to consumers;

               (iii)    a physical or other form of intrusion on the solitude or seclusion or the private affairs or

       concerns of consumers in which the intrusion would be offensive to a reasonable person; or

               (iv)     other substantial injury to consumers; and

               (d)      the processing of sensitive data.

               (2)      (a) Data protection assessments conducted pursuant to subsection (1) must identify and weigh

       the benefits that may flow, directly and indirectly, from the processing to the controller, the consumer, other

       stakeholders, and the public against the potential risks to the rights of the consumer associated with the

       processing as mitigated by safeguards that may be employed by the controller to reduce these risks.

               (b)      The controller shall factor into any data protection assessment the use of deidentified data and

       the reasonable expectations of consumers, as well as the context of the processing and the relationship

       between the controller and the consumer whose personal data will be processed.

               (3)      (a) The attorney general may require that a controller disclose any data protection assessment


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       that is relevant to an investigation conducted by the attorney general, and the controller shall make the data

       protection assessment available to the attorney general.

                (b)      The attorney general may evaluate the data protection assessment for compliance with the

       responsibilities set forth in [sections 1 through 12].

                (c)      Data protection assessments are confidential and are exempt from disclosure under the

       Freedom of Information Act, 5 U.S.C. 552.

                (d)      To the extent any information contained in a data protection assessment disclosed to the

       attorney general includes information subject to attorney-client privilege or work product protection, the

       disclosure may not constitute a waiver of the privilege or protection.

                (4)      A single data protection assessment may address a comparable set of processing operations

       that include similar activities.

                (5)      If a controller conducts a data protection assessment for the purpose of complying with another

       applicable law or regulation, the data protection assessment must be considered to satisfy the requirements

       established in this section if the data protection assessment is reasonably similar in scope and effect to the data

       protection assessment that would otherwise be conducted pursuant to this section.

                (6)      Data protection assessment requirements must apply to processing activities created or

       generated after January 1, 2025, and are not retroactive.



                Section 10.     Deidentified data. (1) Any controller in possession of deidentified data shall:

                (a)      take reasonable measures to ensure that the deidentified data cannot be associated with an

       individual;

                (b)      publicly commit to maintaining and using deidentified data without attempting to reidentify the

       deidentified data; and

                (c)      contractually obligate any recipients of the deidentified data to comply with all provisions of

       [sections 1 through 12].

                (2)      Nothing in [sections 1 through 12] may be construed to:

                (a)      require a controller or processor to reidentify deidentified data or pseudonymous data; or

                (b)      maintain data in identifiable form or collect, obtain, retain, or access any data or technology to


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       be capable of associating an authenticated consumer request with personal data.

               (3)      Nothing in [sections 1 through 12] may be construed to require a controller or processor to

       comply with an authenticated consumer rights request if the controller:

               (a)      is not reasonably capable of associating the request with the personal data or it would be

       unreasonably burdensome for the controller to associate the request with the personal data;

               (b)      does not use the personal data to recognize or respond to the specific consumer who is the

       subject of the personal data or associate the personal data with other personal data about the same specific

       consumer; and

               (c)      does not sell the personal data to any third party or otherwise voluntarily disclose the personal

       data to any third party other than a processor, except as otherwise permitted in this section.

               (4)      The rights afforded under [section 5(1)(a) through (1)(d)] may not apply to pseudonymous data

       in cases in which the controller is able to demonstrate that any information necessary to identify the consumer

       is kept separately and is subject to effective technical and organizational controls that prevent the controller

       from accessing the information.

               (5)      A controller that discloses pseudonymous data or deidentified data shall exercise reasonable

       oversight to monitor compliance with any contractual commitments to which the pseudonymous data or

       deidentified data is subject and shall take appropriate steps to address any breaches of those contractual

       commitments.



               Section 11.     Compliance by controller or processor. (1) Nothing in [sections 1 through 12] may be

       construed to restrict a controller's or processor's ability to:

               (a)      comply with federal, state, or municipal ordinances or regulations;

               (b)      comply with a civil, criminal, or regulatory inquiry, investigation, subpoena, or summons by

       federal, state, municipal, or other government authorities;

               (c)      cooperate with law enforcement agencies concerning conduct or activity that the controller or

       processor reasonably and in good faith believes may violate federal, state, or municipal ordinances or

       regulations;

               (d)      investigate, establish, exercise, prepare for, or defend legal claims;


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                (e)      provide a product or service specifically requested by a consumer;

                (f)      perform under a contract to which a consumer is a party, including fulfilling the terms of a

       written warranty;

                (g)      take steps at the request of a consumer prior to entering a contract;

                (h)      take immediate steps to protect an interest that is essential for the life or physical safety of the

       consumer or another individual and when the processing cannot be manifestly based on another legal basis;

                (i)      prevent, detect, protect against, or respond to security incidents, identity theft, fraud,

       harassment, malicious or deceptive activities, or any illegal activity, preserve the integrity or security of

       systems, or investigate, report, or prosecute those responsible for any of these actions;

                (j)      engage in public or peer-reviewed scientific or statistical research in the public interest that

       adheres to all other applicable ethics and privacy laws and is approved, monitored, and governed by an

       institutional review board that determines or similar independent oversight entities that determine:

                (A)      whether the deletion of the information is likely to provide substantial benefits that do not

       exclusively accrue to the controller;

                (B)      the expected benefits of the research outweigh the privacy risks; and

                (C)      whether the controller has implemented reasonable safeguards to mitigate privacy risks

       associated with research, including any risks associated with reidentification;

                (k)      assist another controller, processor, or third party with any of the obligations under [sections 1

       through 12]; or

                (l)      process personal data for reasons of public interest in public health, community health, or

       population health, but solely to the extent that the processing is:

                (A)      subject to suitable and specific measures to safeguard the rights of the consumer whose

       personal data is being processed; and

                (B)      under the responsibility of a professional subject to confidentiality obligations under federal,

       state, or local law.

                (2)      The obligations imposed on controllers or processors under [sections 1 through 12] may not

       restrict a controller's or processor's ability to collect, use, or retain personal data for internal use to:

                (a)      conduct internal research to develop, improve, or repair products, services, or technology;


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                (b)     effectuate a product recall;

                (c)     identify and repair technical errors that impair existing or intended functionality; or

                (d)     perform internal operations that are reasonably aligned with the expectations of the consumer

       or reasonably anticipated based on the consumer's existing relationship with the controller or are otherwise

       compatible with processing data in furtherance of the provision of a product or service specifically requested by

       a consumer or the performance of a contract to which the consumer is a party.

                (3)     The obligations imposed on controllers or processors under [sections 1 through 12] may not

       apply when compliance by the controller or processor with [sections 1 through 12] would violate an evidentiary

       privilege under the laws of this state. Nothing in [sections 1 through 12] may be construed to prevent a

       controller or processor from providing personal data concerning a consumer to a person covered by an

       evidentiary privilege under the laws of this state as part of a privileged communication.

                (4)     A controller or processor that discloses personal data to a processor or third-party controller in

       accordance with [sections 1 through 12] may not be considered to have violated [sections 1 through 12] if the

       processor or third-party controller that receives and processes the personal data violates [sections 1 through

       12] provided, at the time the disclosing controller or processor disclosed the personal data, the disclosing

       controller or processor did not have actual knowledge that the receiving processor or third-party controller

       would violate [sections 1 through 12]. A receiving processor or third-party controller receiving personal data

       from a disclosing controller or processor in compliance with [sections 1 through 12] is likewise not in violation of

       [sections 1 through 12] for the transgressions of the disclosing controller or processor from which the receiving

       processor or third-party controller receives the personal data.

                (5)     Nothing in [sections 1 through 12] may be construed to:

                (a)     impose any obligation on a controller or processor that adversely affects the rights or freedoms

       of any person, including but not limited to the rights of any person:

                (i)     to freedom of speech or freedom of the press guaranteed in the first amendment to the United

       States constitution; or

                (ii)    under Rule 504 of the Montana Rules of Evidence; or

                (b)     apply to a person's processing of personal data during the person's personal or household

       activities.


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               (6)      Personal data processed by a controller pursuant to this section may be processed to the

       extent that the processing is:

               (a)      reasonably necessary and proportionate to the purposes listed in this section; and

               (b)      adequate, relevant, and limited to what is necessary in relation to the specific purposes listed in

       this section. The controller or processor must, when applicable, consider the nature and purpose of the

       collection, use, or retention of the personal data collected, used, or retained pursuant to subsection (2). The

       personal data must be subject to reasonable administrative, technical, and physical measures to protect the

       confidentiality, integrity, and accessibility of the personal data and to reduce reasonably foreseeable risks of

       harm to consumers relating to the collection, use, or retention of personal data.

               (7)      If a controller processes personal data pursuant to an exemption in this section, the controller

       bears the burden of demonstrating that the processing qualifies for the exemption and complies with the

       requirements in subsection (6).

               (8)      Processing personal data for the purposes expressly identified in this section may not solely

       make a legal entity a controller with respect to the processing.



               Section 12.    Enforcement. (1) The attorney general has exclusive authority to enforce violations

       pursuant to [sections 1 through 11].

               (2)      (a) The attorney general shall, prior to initiating any action for a violation of any provision of

       [sections 1 through 11], issue a notice of violation to the controller.

               (b)      If the controller fails to correct the violation within 60 days of receipt of the notice of violation,

       the attorney general may bring an action pursuant to this section.

               (c)      If within the 60-day period the controller corrects the noticed violation and provides the attorney

       general an express written statement that the alleged violations have been corrected and that no such further

       violations will occur, no action must be initiated against the controller.

               (3)      Nothing in [sections 1 through 11] may be construed as providing the basis for or be subject to

       a private right of action for violations of [sections 1 through 11] or any other law.



               Section 13.    Codification instruction. [Sections 1 through 12] are intended to be codified as an


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       integral part of Title 30, chapter 14, and the provisions of Title 30, chapter 14, apply to [sections 1 through 12].



               Section 14.    Effective date. [This act] is effective October 1, 2024.



               Section 15.    Termination. [Section 12(2)] terminates April 1, 2026.

                                                              - END -




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                                    I hereby certify that the within bill,

                                    SB 384, originated in the Senate.




                                    ___________________________________________

                                    Secretary of the Senate




                                    ___________________________________________

                                    President of the Senate



                                    Signed this _______________________________day

                                    of____________________________________, 2023.




                                    ___________________________________________

                                    Speaker of the House



                                    Signed this _______________________________day
                                    of____________________________________, 2023.
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                                   SENATE BILL NO. 384

INTRODUCED BY D. ZOLNIKOV, K. REGIER, E. BOLDMAN, S. MORIGEAU, K. BOGNER, K. SULLIVAN, K.

                                   ZOLNIKOV, D. EMRICH



AN   ACT   ESTABLISHING   THE   CONSUMER   DATA   PRIVACY   ACT;   PROVIDING   DEFINITIONS;

ESTABLISHING APPLICABILITY; PROVIDING FOR CONSUMER RIGHTS TO PERSONAL DATA;

ESTABLISHING REQUIREMENTS AND LIMITATIONS FOR A CONTROLLER OF PERSONAL DATA;

ESTABLISHING REQUIREMENTS AND LIMITATIONS FOR A PROCESSOR OF PERSONAL DATA;

PROVIDING FOR DATA PROTECTION ASSESSMENTS; PROVIDING EXEMPTIONS AND COMPLIANCE

REQUIREMENTS; PROVIDING FOR ENFORCEMENT; AND PROVIDING A DELAYED EFFECTIVE DATE

AND A TERMINATION DATE.
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             EXHIBIT 22
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June 30, 2022

 The Honorable Marsha Blackburn               The Honorable Roger Wicker
 United States Senate                         United States Senate
 357 Dirksen Senate Office Building           555 Dirksen Senate Office Building
 Washington, DC 20510                         Washington, DC 20510

 The Honorable John Thune                     The Honorable Roy Blunt
 United States Senate                         United States Senate
 511 Dirksen Senate Office Building           260 Russell Senate Office Building
 Washington, DC 20510                         Washington, DC 20510

 The Honorable Ted Cruz                       The Honorable Jerry Moran
 United States Senate                         United States Senate
 127A Russellll Senate Office Building        521 Dirksen Senate Office Building
 Washington, DC 20510                         Washington, DC 20510

 The Honorable Shelley Moore Capito           The Honorable Cynthia Lummis
 United States Senate                         United States Senate
 172 Russell Senate Office Building           124 Russell Senate Office Building
 Washington, DC 20510                         Washington, DC 20510

 The Honorable Steve Daines
 United States Senate
 320 Hart Senate Office Building
 Washington, DC 20510


Dear Senators Blackburn, Wicker, Thune, Blunt, Cruz, Moran, Capito, Lummis, and
Daines,

Thank you for your letter dated June 27, 2022. We appreciate the opportunity to
address the concerns you set forth. Many of your questions appear to stem from a
recent BuzzFeed article, which contains allegations and insinuations that are incorrect
and are not supported by facts. We appreciate the opportunity to set the record straight
by answering your questions.

Before doing so, we would like to contextualize what many of the people quoted in the
article were talking about and what the company has been broadly working to achieve.
For well over a year, we’ve been pursuing a multi-pronged initiative called “Project
Texas” to strengthen the company’s data security program. Security experts can
confirm that these initiatives are often painstaking and complex, even with expert
assistance from world-class companies like Oracle and Booz Allen. Some people
working on these projects do not have visibility into the full picture, working on a task

TikTok Inc.
5800 Bristol Pkwy, Suite 100
Culver City, CA 90230
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’


’
“ere in service of Project Texas’s aim to halt this data
”















         






“




”     
                                                                              
——












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







’


    
      
      
      
           
              
           
              



 

 ’




evaluating and revising TikTok’s internal policies and operational contro


“”





    TikTok’s privacy policy says you share data you collect with your parent
      
      
          ——
            




                                             
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           
             









 

’ 


    employees have a role in shaping TikTok’s algorithm?





’



    
      in shaping TikTok’s algorithm?

 

TikTok’s business logic, algorithm, integration, and deployment of systems is specific to


 








                                             
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    ——
      
      
           
             
           
             
             
             
           Has ByteDance ever responded to CCP inquiries on TikTok’s behalf?
           
             







                                                                     


    
      



    ——
      


 


    
       

      
    
      


    
      
      



                                           
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           
             
           
             
             
           
             
           
             
             

“” 


 





’







 ’
 






   How will TikTok’s new cloud service arrangement be structured, and how
      will the company determine which data is “protected” such that it is not
      




                                                        
                                                               
                                                                                  




                                           
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“”


 

  


 




   
      






’
’














                                            




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

 
’





        








 
 




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                  IN THE UNITED STATES COURT OF APPEALS
                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
         _________________________________________
                                                     )
         TIKTOK INC.,                                )
                                                     )
         and                                         )
                                                     )
         BYTEDANCE LTD.,                             )
                                                     )
                                     Petitioners,    )
                                                     )
              v.                                     )
                                                     )
         THE COMMITTEE ON FOREIGN                    )
         INVESTMENT IN THE UNITED STATES, )
                                                             20-1444
                                                     ) No. ________________
         STEVEN T. MNUCHIN, in his official          )
         capacity as Secretary of the Treasury and )
         Chairperson of the Committee on Foreign )
         Investment in the United States,            )
                                                     )
         DONALD J. TRUMP, in his official            )
         capacity as President of the United States, )
                                                     )
         and                                         )
                                                     )
         WILLIAM P. BARR, in his official capacity )
         as United States Attorney General,          )
                                                     )
                                     Respondents.    )
                                                     )


                                 PETITION FOR REVIEW

                Pursuant to Section 721 of the Defense Production Act (50 U.S.C.

         § 4565(e)(2)) and Rule 15(a) of the Federal Rules of Appellate Procedure,


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         TikTok Inc. and ByteDance Ltd. hereby petition this Court for review of

         the Presidential Order Regarding the Acquisition of Musical.ly by

         ByteDance Ltd., 85 Fed. Reg. 51,297 (Aug. 14, 2020) (the “Divestment

         Order”), and the related action of the Committee on Foreign Investment

         in the United States (“CFIUS”), including its determination to reject

         mitigation, truncate its review and investigation, and refer the matter to

         the President (collectively, the “CFIUS Action”).1 This Court has original

         and exclusive jurisdiction to hear Petitioners’ challenges.        50 U.S.C.

         § 4565(e)(2); see also Ralls Corp. v. CFIUS, 758 F.3d 296, 311 (D.C. Cir.

         2014); Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1327–28

         (D.C. Cir. 1996).

                The Divestment Order and the CFIUS Action seek to compel the

         wholesale divestment of TikTok, a multi-billion-dollar business built on

         technology developed by Petitioner ByteDance Ltd. (“ByteDance”), based

         on the government’s purported national security review of a three-year-

         old transaction that involved a different business. This attempted taking




         1 A copy of the Divestment Order and CFIUS’s July 30, 2020 letter to

         Petitioners memorializing the CFIUS Action are attached to this
         Petition.

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         exceeds the authority granted to Respondents under Section 721, which

         authorizes CFIUS to review and the President to, at most, prohibit a

         specified “covered transaction” to address risks to national security

         created by that transaction.        Here, that covered transaction was

         ByteDance’s acquisition of the U.S. business of another Chinese-

         headquartered company, Musical.ly—a transaction that did not include

         the core technology or other aspects of the TikTok business that have

         made it successful and yet which the Divestment Order now seeks to

         compel ByteDance to divest.

                The Divestment Order and CFIUS Action are also unlawful in other

         respects.    They violated the Due Process Clause because they

         prematurely terminated the review to which Petitioners were entitled

         and denied them a meaningful hearing. The CFIUS Action violated the

         Administrative Procedure Act because the agency failed to adequately

         explain its decision and did not take account of the alternative mitigation

         proposals submitted by Petitioners. Finally, the forced divestment of

         Petitioners’ business without fair compensation would constitute an

         unlawful taking under the Fifth Amendment.




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                To facilitate this Court’s consideration of this Petition for Review,

         Petitioners summarize the pertinent factual background and the legal

         claims they intend to raise.2

                        Background and Nature of Proceedings

                CFIUS’s Authority Over Certain “Covered Transactions”

                1.   CFIUS is an interagency committee authorized under Section

         721 to “review” and “investigat[e]” a “covered transaction” to determine

         its effects on national security.3 50 U.S.C. § 4565(b)(1)(A)–(B). Congress

         defined a “covered transaction” to include “[a]ny merger, acquisition, or




         2 Because Congress established the original and exclusive jurisdiction of

         this Court over CFIUS petitions for review recently, in 2018, Pub. L. No.
         115-232, sec. 1715(2), 132 Stat. 1636, 2191, (50 U.S.C. § 4565(e)(2)),
         Petitioners are filing a Petition for Review that is more detailed than may
         be required by Federal Rule of Appellate Procedure 15(a) to provide
         background on the statutory and regulatory scheme and factual
         allegations. See Am. Paper Inst. v. ICC, 607 F.2d 1011, 1012 (D.C. Cir.
         1979) (per curiam). Petitioners reserve their rights to raise additional
         facts and arguments in the briefing on the merits. See, e.g., CropLife Am.
         v. EPA, No. 02-1057, 2002 WL 1461788, at *1 (D.C. Cir. July 8, 2002) (per
         curiam).
         3 Section 721 was enacted in 1988, Pub. L. 100-418, and amended several

         times, most notably in the Foreign Investment and National Security Act
         of 2007, Pub. L. 110-49, and the Foreign Investment Risk Review
         Modernization Act of 2018, Pub. L. 115-232.

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         takeover … by or with any foreign person that could result in foreign

         control of any United States business.” Id. § 4565(a)(4)(B)(i).

                2.   Entities can voluntarily submit such transactions for review,

         id. § 4565(b)(1)(A), and CFIUS can request that parties submit

         transactions for review, 31 C.F.R. § 800.501(b). CFIUS’s review process

         begins once it accepts a notice of a transaction filed by an entity, id.

         §§ 800.501, 800.503(a), and must be completed within 45 days, 50 U.S.C.

         § 4565(b)(1)(F); 31 C.F.R. § 800.503(b). The statute provides that CFIUS

         “shall” conduct an investigation if, inter alia, the initial review “results

         in a determination that – the transaction threatens to impair the

         national security” and the risk has not been mitigated, to be completed

         within 45 days from the date the investigation is commenced. 50 U.S.C.

         § 4565(b)(2)(A), (B)(i)(I), (C)(i); 31 C.F.R. §§ 800.505(a), 800.508(a).

         CFIUS may, during the review or investigation, “complete the action of

         the Committee with respect to the transaction” and “refer the transaction

         to the President for action.” 50 U.S.C. § 4565(l)(2).

                3.   Before action by CFIUS is completed or action by the

         President is taken, CFIUS may “negotiate, enter into or impose, and

         enforce any agreement or condition with any party to a completed covered


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         transaction in order to mitigate any risk to the national security of the

         United States that arises as a result of the covered transaction.” Id.

         § 4565(l)(3)(A)(i). Such actions “shall be based on a risk-based analysis,

         conducted by the Committee, of the effects on the national security of the

         United States of the covered transaction, which shall include an

         assessment of the threat, vulnerabilities, and consequences to national

         security related to the transaction.” Id. § 4565(l)(4)(A).

                4.   Congress authorized the President “to suspend or prohibit any

         covered transaction” if the President finds that (i) there is credible

         evidence that the foreign person acquiring the interest in the U.S.

         business as a result of the covered transaction might take action that

         threatens to impair the national security and (ii) provisions of law other

         than Section 721 and the International Emergency Economic Powers Act

         do not provide adequate and appropriate authority to protect the national

         security of the United States in the matter before the President. Id.

         § 4565(d)(1), (4); 31 C.F.R. § 800.101.

                ByteDance’s Business

                5.   ByteDance Ltd. (“ByteDance”) is an innovative technology

         company founded as a start-up in 2012 by Chinese entrepreneur Yiming



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         Zhang. The company launched its first flagship app, Toutiao, the same

         year. Toutiao is a news and content aggregating app, developed for the

         Chinese market, that uses a proprietary “recommendation engine”

         developed entirely in China by ByteDance’s team of elite engineers with

         advanced training and expertise—and based upon cutting-edge machine

         learning and artificial intelligence technology—to create a personalized

         content feed for each user.

                6.   Based in large part on the innovation and commercial appeal

         of ByteDance’s recommendation engine, Toutiao was a huge success.

         Toutiao’s recommendation engine has influenced the core technology

         developed for several of ByteDance’s other apps.            Building on the

         experience with Toutiao and its recommendation engine, in September

         2016, ByteDance launched in China a short entertainment video app

         called Douyin, and ByteDance created another recommendation engine

         for Douyin that recommends videos to Douyin users.             Like Toutiao,

         Douyin was highly successful in China.

                7.   On May 12, 2017, ByteDance launched TikTok globally in

         over 150 countries, including the United States. ByteDance developed

         TikTok to be a short entertainment video app that serves a user base


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         outside of China. When it launched TikTok, ByteDance leveraged its

         experience with Toutiao and Douyin, and it developed another

         recommendation engine that customizes each user’s content feed based

         on how the user interacts with the content they watch.             TikTok is

         operated separately from Douyin (and other ByteDance apps), and at no

         time has TikTok been available in mainland China.

                ByteDance’s Acquisition of Musical.ly

                8.   Another app already in the marketplace at the time of

         TikTok’s launch was Musical.ly, a music video app launched in 2014 and

         developed by musical.ly (a Cayman parent company, together with its

         subsidiaries, referred to herein as the “Musical.ly company”).            The

         Musical.ly company was founded by two Chinese entrepreneurs,

         headquartered in Shanghai, managed from China, and majority owned

         and controlled by Chinese shareholders.

                9.   On November 23, 2017, ByteDance acquired the Musical.ly

         company, which also had a small U.S. presence.            Out of nearly 300

         Musical.ly company employees worldwide, 20 were based in the United

         States, and they were not responsible for core operations, such as

         software    and   product    development.       The   Musical.ly    app   had



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         approximately 9.9 million U.S. registered monthly active users whose

         data was stored in Japan. After completing the transaction, ByteDance

         integrated some of the Musical.ly company’s U.S. assets—namely, the

         Musical.ly app’s U.S. user base, some music licensing agreements and

         other copyright agreements—into its TikTok business.

                10.   At the time of the acquisition, ByteDance examined the

         Musical.ly app’s source code and determined that Musical.ly’s platform—

         the mobile software application, server and data storage infrastructure,

         and its algorithm powering recommendations for user content—was

         technically and commercially inferior to TikTok.             ByteDance had

         significantly better engineering infrastructure than Musical.ly, with a

         more experienced engineering team that was ten times larger.              The

         ByteDance development and engineering teams determined that,

         although Musical.ly’s app was superficially similar to TikTok, the

         technology    developed    by   ByteDance,     and   particularly    TikTok’s

         recommendation engine, was much more sophisticated.

                11.   As a result, starting in February 2018, ByteDance abandoned

         the Musical.ly code base and technology, including Musical.ly’s

         recommendation engine, operation system, user growth, and marketing


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         tools. ByteDance kept, for a time, the Musical.ly name, but over the

         course of 2018, it phased out Musical.ly’s back-end operations and

         technology and combined its user base with the users of the app that

         ByteDance had started, namely, TikTok. In August 2018, ByteDance

         stopped offering the Musical.ly app.

                12.   In short, the TikTok technology platform—which is among the

         most important drivers of its astounding growth and popularity—was not

         acquired by ByteDance from the Musical.ly company but instead

         developed by ByteDance before the Musical.ly acquisition had even

         occurred.

                13.   In addition to utilizing TikTok’s superior technology,

         including its recommendation engine, ByteDance significantly increased

         brand and content promotional spending compared to that of the

         Musical.ly company. ByteDance expanded promotions and marketing

         activities in the United States to include out-of-home advertising,

         television commercials, and key opinion leader marketing as well as

         campaigns related to specific events and holidays.              Whereas the

         Musical.ly company had spent only about $300,000 on advertising in the

         United States in 2017 before it was acquired by ByteDance in November


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         of that year, Petitioners spent more than $300 million on U.S. advertising

         for TikTok in 2019, the first full year after the Musical.ly app was

         abandoned.

                14.   ByteDance also supported TikTok by dramatically expanding

         its U.S.-based business. Whereas prior to the acquisition the Musical.ly

         company had just 20 U.S. employees, Petitioners hired hundreds of U.S.

         employees led by a U.S.-based leadership team deeply committed to

         protecting U.S. user data privacy and security, and to promoting U.S.-led

         content moderation and localized community guidelines.

                15.   The improved technological infrastructure and ByteDance’s

         superior commercial strategy bore fruit and significantly increased

         TikTok’s U.S. user base independently of what ByteDance acquired as

         part of the Musical.ly company. Although the Musical.ly app had 9.9

         million monthly active U.S. users at the time of the transaction in

         November 2017, today there are 98 million monthly active U.S. users on

         the TikTok platform, making TikTok the fastest growing app in the

         country during that period.




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                The CFIUS Proceeding

                16.   The parties did not submit the Musical.ly transaction to

         CFIUS for review in 2017 because ByteDance was a Chinese-

         headquartered     company      and   Musical.ly    was    also   a    Chinese-

         headquartered company; the Musical.ly company had only a small U.S.

         presence; and the product was a short form music video app that did not

         appear to raise any U.S. national security concerns. Nevertheless, on

         October 15, 2019, CFIUS sent ByteDance a set of questions regarding its

         acquisition of Musical.ly. After several months of responding to CFIUS’s

         questions and making presentations to CFIUS, on May 27, 2020, at

         CFIUS’s request, ByteDance submitted a formal notice to CFIUS

         regarding its acquisition of the U.S. business of Musical.ly.

                17.   On June 15, 2020, CFIUS informed ByteDance by letter that

         on June 16, 2020, it would initiate its formal review of a covered

         transaction—ByteDance’s       acquisition    of   the    “U.S.   Business    of

         Musical.ly”—triggering a 45-day statutory-review period.             50 U.S.C.

         § 4565(b)(1)(F); 31 C.F.R. § 800.503(b). Over the next several weeks,

         ByteDance submitted extensive responses to hundreds of questions posed

         by CFIUS.



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                18.   Around July 7, 2020, however—only three weeks into the 45-

         day review process—the government abruptly cut short that process and

         threatened to force the divestiture of TikTok. In the preceding weeks,

         news media had reported that TikTok users claimed to have used TikTok

         to coordinate mass ticket reservations for the President’s June 20, 2020

         campaign rally in Tulsa, depressing attendance and causing an

         embarrassment for the campaign. Shortly thereafter, on July 6, 2020,

         Secretary of State Mike Pompeo said that the United States was

         considering banning TikTok.         Within days of Secretary Pompeo’s

         statement, Treasury Department officials informed ByteDance that it

         would need to propose a divestiture of TikTok to resolve the matter.

                19.   Even though the Treasury Department’s demand lacked any

         legal foundation, ByteDance submitted a term sheet on July 15 that

         proposed a national security mitigation solution in an effort to address

         its concerns. ByteDance submitted another such proposal on July 29,

         and on July 30, the day before the 45-day statutory review period ended,

         submitted with Microsoft Corporation a letter of intent regarding a

         potential transaction involving TikTok.




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                20.   As noted above, if CFIUS identifies a national security

         concern with the covered transaction during the initial 45-day statutory

         review period, the statute and regulation contemplate that CFIUS “shall”

         conduct an investigation that may last for an additional 45 days, 50

         U.S.C. § 4565(b)(2)(A), (B)(i)(I), (C)(i); 31 C.F.R. § 800.505(a), 800.508(a),

         which period gives CFIUS the opportunity to investigate the facts

         thoroughly and, if CFIUS has concerns about the transaction, engage in

         detailed consultations regarding potential mitigation of its concerns with

         the entities involved in the transaction. After its investigation, if CFIUS

         rejects mitigation, CFIUS sends a letter to the entity, as required by this

         Court’s decision in Ralls, 758 F.3d at 319 (addressing the predecessor

         statutory CFIUS scheme), detailing the unclassified basis of its findings

         and affording the entity the opportunity to respond before determining

         whether to issue a report to the President.

                21.   In this case, CFIUS dramatically departed from this statutory

         and regulatory scheme and well-established agency practice. Instead of

         the deliberative process required by Section 721, Treasury officials

         summarily conveyed to Petitioners CFIUS’s intent to force a divestment

         even though the Committee’s staff was continuing to gather facts to


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         inform its statutorily required risk-based analysis. CFIUS itself never

         responded to Petitioners’ proposed mitigation solutions and never

         explained why these mitigation solutions were inadequate, nor did it

         offer any counter-proposals for mitigation.

                22.   On July 30, 2020, at the end of the 45-day review period,

         CFIUS notified Petitioners by letter that CFIUS was “undertaking an

         investigation of the transaction,” commencing the 45-day statutory

         investigation period. Just a few hours later, however, CFIUS informed

         ByteDance in a separate letter that it had rejected ByteDance’s

         mitigation proposals and had not identified adequate mitigation

         measures, without any explanation of the basis for that determination.

         The letter stated summarily that ByteDance’s two mitigation proposals

         “do not adequately address” the Committee’s concerns. The letter also

         stated that CFIUS “anticipate[d]” that it would “refer the matter to the

         President for decision.” CFIUS then—the very next day—referred the

         matter to the President without affording ByteDance a meaningful

         opportunity to respond to CFIUS’s determination to reject mitigation and

         instead refer the matter to the President. This summary determination

         rejecting mitigation, truncating CFIUS’s review and investigation, and


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         referring the matter to the President (collectively, the “CFIUS Action”)

         “complete[d]” CFIUS’s action with respect to the transaction, 50 U.S.C.

         § 4565(l)(2).

                23.   On August 7, 2020, ByteDance responded to the July 30

         CFIUS letter, demonstrating that many of the factual findings in the

         letter were inaccurate or outdated and reiterating its request for prompt

         and meaningful engagement with CFIUS. To date, ByteDance has not

         received a substantive response to its August 7 letter.

                The Divestment Order

                24.   On August 14, 2020, the President issued the Divestment

         Order. The Order asserted, again without explanation, that ByteDance,

         through its acquisition of Musical.ly, “might take action that threatens

         to impair the national security of the United States.” The Divestment

         Order prohibited ByteDance’s acquisition of the Musical.ly company and

         directed ByteDance to “divest all interests and rights in (i) any tangible

         or intangible property, wherever located, used to enable or support

         ByteDance’s operation of the TikTok application in the United States …

         [and] (ii) any data obtained or derived from TikTok application or

         Musical.ly application users in the United States.”          The Divestment



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         Order states that it takes effect on November 12, 2020, unless CFIUS

         grants a 30-day extension.

                25.   Before the issuance of the Divestment Order, President

         Trump stated that he might be willing to approve a mitigation proposal

         involving a transaction with a U.S. acquirer in lieu of a ban, so long as

         the government would receive a “substantial portion” of any price paid by

         the acquirer.

                26.   While Petitioners believed the Divestment Order to be

         unlawful, they continued to explore mitigation alternatives with the

         government to try to achieve a resolution that would obviate the need for

         litigation. To that end, on September 13, Petitioners proposed a multi-

         layered approach to security of the TikTok app and its U.S. user data to

         fully address any national security concerns.

                27.   On September 19, 2020, the President informed reporters that

         he had given his “blessing” to and “approved … in concept” that

         September 13 mitigation proposal.4 The President also indicated that the




         4 Rachel Lerman, “Trump says he has given his ‘blessing’ to TikTok deal

         but that final terms are still being negotiated,” Washington Post (Sep. 19,
         2020).

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         agreement involved “about a $5 billion contribution toward education,”

         but did not specify the source of the investment or the purpose for which

         it would be used.5 During a campaign rally that evening, the President

         announced what he alleged to be a new term of the proposed TikTok

         agreement. Specifically, he stated that the U.S. government had a “deal

         worked out,” in which the parties to the deal would “pay $5 billion into a

         fund for education” so that “we can educate people as to the real history

         of our country.”6 Petitioners had not agreed to contribute to such a fund.

                 28.   On November 6, 2020, ByteDance submitted a fourth

         mitigation proposal, which contemplated addressing the purported

         national security concerns through a restructuring of TikTok U.S. by

         creating a new entity, wholly owned by Oracle, Walmart and existing

         U.S. investors in ByteDance, that would be responsible for handling

         TikTok’s U.S. user data and content moderation.            To allow time to

         negotiate the final terms of a mitigation solution, ByteDance requested

         that CFIUS extend by 30 days the deadline for complying with the


         5 Id.

         6 Demetri Sevastopulo & James Fontanella-Khan, “Doubts surround
         ‘education fund’ at heart of US TikTok deal,” Financial Times (Sept. 20,
         2020).

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         Divestment Order, which the Order itself authorized. As of this filing, no

         extension has been granted.

                29.   From the time the Divestment Order was issued, Petitioners

         have been engaged in discussions with CFIUS in an effort to reach a

         mitigation solution that would avoid litigation. Petitioners had hoped it

         would not be necessary to seek judicial intervention, but given that the

         Divestment Order mandates divestment by November 12, Petitioners

         have no choice but to file this Petition to preserve their rights.

         Petitioners remain committed to reaching a negotiated mitigation

         solution with CFIUS satisfying its national security concerns, and they

         intend to file a motion to stay enforcement of the Divestment Order only

         if discussions reach an impasse and the government indicates an intent

         to take action to enforce the Order.

                          Grounds On Which Relief Is Sought

                Petitioners seek review of the CFIUS Action and Divestment Order

         on grounds that include, without limitation, the following.

                              Ground 1: Ultra Vires Action

                30.   The CFIUS Action and the Divestment Order exceed the scope

         of the government’s authority under Section 721 of the Defense


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         Production Act and are ultra vires, because they (i) seek to compel

         divestment of assets that were not part of, and (ii) seek to address

         purported national security risks that do not arise out of, the “covered

         transaction.” See 50 U.S.C. § 4565(d)(1) (limiting Presidential action to

         covered transactions and risks threatened from such transactions); id.

         § 4565(b)(1), (2) (limiting CFIUS “national security reviews and

         investigations” to covered transactions).

                31.        The CFIUS Action and Divestment Order are ultra vires

         because they seek to compel the divestment of assets that were not part

         of the covered transaction. Congress in Section 721 authorized CFIUS to

         review and investigate only a “covered transaction to determine the

         effects      of    the   transaction”   on    national   security.   50   U.S.C.

         § 4565(b)(1)(A)(i), see also id. § 4565(b)(2) (authorizing “investigation of

         the effects of a covered transaction on the national security”). During its

         “review or investigation of a covered transaction,” CFIUS may “complete

         the action of the Committee with respect to the transaction and refer the

         transaction” to the President for action or impose conditions on “the

         covered transaction in order to mitigate any risk to the national security

         of the United States that arises as a result of the covered transaction.”


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         Id. § 4565(l)(2), (3)(A)(i). The President, in turn, has authority to, at

         most, “suspend or prohibit any covered transaction that threatens to

         impair the national security of the United States.” Id. § 4565(d)(1).

                32.    The plain text of Section 721 thus limits the authority of

         CFIUS and the President to the covered transaction: CFIUS may refer

         only a “covered transaction” to the President, and the President may

         suspend or prohibit only a “covered transaction.”

                33.    Yet the CFIUS Action and Divestment Order ignore that

         limitation.

                     a. The CFIUS Action—the determination that national security

                       risk arising from the transaction could not be mitigated and

                       the referral to the President—exceeded this statutory

                       authority because it was directed at the TikTok U.S. business

                       in its entirety, even though the “covered transaction” under

                       review was ByteDance’s acquisition of the U.S. business of the

                       Musical.ly company.

                     b. The Divestment Order exceeded statutory authority because

                       it mandated that ByteDance divest the entire U.S. TikTok

                       business and all data and assets associated with it, and thus


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                       was not limited to the U.S. business of the Musical.ly company

                       that was the covered transaction.

                     c. The Musical.ly brand has been completely phased out of

                       Petitioners’ TikTok U.S. business for more than two years,

                       and only 3.2 million of TikTok’s 98 million monthly active U.S.

                       users had a Musical.ly app account at the time of the

                       transaction. The TikTok U.S. business—its technology, its

                       value,   its   employees,    locations,   contracts,   and   the

                       overwhelming majority of its users and their data—is a

                       product of ByteDance that was not derived from the U.S.

                       business of Musical.ly, and thus was not part of the “covered

                       transaction,” and the President accordingly did not have the

                       authority to order its divestment.

                     d. The CFIUS Action and the Divestment Order ignored these

                       facts, all of which Petitioners provided to CFIUS during its

                       months-long gathering of information. The CFIUS Action

                       targeted TikTok and its “approximately 133 million users”

                       even though neither TikTok nor the vast majority of its users

                       were acquired by ByteDance as part of the Musical.ly


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                       company transaction.      The Divestment Order similarly

                       purports to require ByteDance to divest “any tangible and

                       intangible assets or property, wherever located, used to

                       enable or support ByteDance’s operation of the TikTok

                       application in the United States” and “any data obtained or

                       derived from TikTok application or Musical.ly application

                       users in the United States”—in other words, assets that had

                       nothing to do with ByteDance’s acquisition of Musical.ly or

                       the U.S. business of Musical.ly or its U.S. assets and, in

                       critical aspects, encompassed assets that are not and never

                       have been in the United States.

                     e. Neither the CFIUS Action nor the Divestment Order even

                       attempt to justify a divestment of the scope and character

                       demanded.    Instead, they merely assert that “ByteDance

                       merged its TikTok application with Musical.ly’s social media

                       application and created a single integrated social media

                       application.” While Musical.ly’s 9.9 million monthly active

                       users migrated to TikTok, and the U.S. Musical.ly entities

                       were renamed to reflect that the Musical.ly app and brand


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                      had been abandoned, the CFIUS Action and Divestment

                      Order do not explain how this could subject the entire TikTok

                      U.S. business to divestment under CFIUS authority,

                      including the technology used to support and the data derived

                      from that business—which indisputably was not part of the

                      covered transaction.

                34.   The CFIUS Action and Divestment Order are ultra vires for

         the additional reason that they seek to address purported national

         security risks that do not arise out of the “covered transaction.” Section

         721 limits CFIUS’s authority to the review and investigation of “the

         effects of a covered transaction on the national security of the United

         States.” 50 U.S.C. § 4565(b)(1)(A)(i), (2)(A) (emphasis added). Before

         completion of CFIUS’s review or investigation, it may “mitigate any risk

         to the national security of the United States that arises as a result of the

         covered transaction.”     Id. § 4565(l)(3)(A)(i) (emphasis added).        And

         CFIUS may make a referral to the President based only on “a risk-based

         analysis … of the effects on the national security of the United States of

         the covered transaction.” Id. § 4565(l)(4)(A) (emphasis added).




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                35.    CFIUS’s regulations, in turn, provide that such a “risk based

         analysis shall include credible evidence demonstrating the risk and an

         assessment of the threat, vulnerabilities, and consequences to national

         security related to the transaction.”      31 C.F.R. § 800.102 (emphasis

         added). The President may act only “to suspend or prohibit any covered

         transaction that threatens to impair the national security of the United

         States.”      50 U.S.C. § 4565(d)(1) (emphasis added).          To mandate

         divestment, the President must find that the foreign acquirer “as a result

         of the covered transaction might take action that threatens to impair the

         national security.” Id. § 4565(d)(4)(A) (emphasis added).

                36.    The statute thereby limits CFIUS’s and the President’s

         authority to address national security risks arising as a result of the

         covered transaction.      The statute does not authorize CFIUS or the

         President to address preexisting national security risks or other national

         security risks that do not result from the covered transaction. Yet in this

         respect as well the CFIUS Action and Divestment Order exceed the limits

         of the statute.

                     a. The CFIUS Action and the Divestment Order exceed Section

                       721’s grant of authority because the purported risks they


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                       address do not arise “as a result of” the acquisition, which was

                       an   acquisition    of    one   China-headquartered    company

                       (Musical.ly)   by   another     China-headquartered    company

                       (ByteDance). Rather, the risks cited by the government are

                       associated with concerns relating to Chinese ownership of

                       apps generally. Any threat posed by Chinese ownership of the

                       Musical.ly app was present prior to the covered transaction,

                       and is not a risk that arose as a result of the covered

                       transaction. It is necessarily the case that whatever national

                       security risks posed by the Musical.ly app and its Chinese

                       ownership at the time of the acquisition were not enlarged or

                       changed by the acquisition of the Musical.ly company by

                       another China-headquartered company, ByteDance.

                     b. CFIUS did not explain how the covered transaction—the

                       acquisition    of   one    China-headquartered    company      of

                       another—results in an incremental national security risk.

                       Nor does the Divestment Order, which is even more sparse

                       and merely parrots the statutory language, declaring that

                       ByteDance, through the transaction, “might take action that


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                       threatens to impair the national security of the United

                       States.”

                     c. Because the CFIUS Action and Divestment Order are

                       predicated on perceived threats that are not a result of the

                       covered transaction, they are unlawful. Cf. Dep’t of Defense

                       Instr. No. 2000.25, DoD Procedures for Reviewing and

                       Monitoring Transactions Filed with the Committee on

                       Foreign Investment in the United States (CFIUS) at 32 (“If

                       the only risk that exists after the transaction is the same risk

                       that existed before the transaction, then that risk is not

                       considered   an   appropriate   rationale   for   CFIUS-based

                       mitigation.”).

                            Ground 2: Violation of Due Process

                37.    CFIUS’s rejection of mitigation, truncation of its review and

         investigation, and referral of the matter to the President, and the manner

         in which the Divestment Order was issued, violated Petitioners’ Fifth

         Amendment due process rights.

                38.    In a CFIUS proceeding involving divestiture, “due process

         requires, at the least, that an affected party be informed of the official


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         action, be given access to the unclassified evidence on which the official

         actor relied and be afforded an opportunity to rebut that evidence.” Ralls,

         758 F.3d at 307–14, 319. Petitioners here have protected interests in

         their assets subject to divestment, such that they are entitled to due

         process under the Fifth Amendment. Id. at 315–16.

                39.   Petitioners were not afforded a meaningful opportunity to

         review or respond to the facts upon which the CFIUS Action and

         Divestment Order purported to be based. Although Petitioners were

         permitted to provide information to CFIUS, they were not “given access

         to the unclassified evidence on which the official actor relied” or “afforded

         an opportunity to rebut that evidence.” Ralls, 758 F.3d at 319.

                40.   The July 30 letter announcing the CFIUS action was cursory,

         conclusory, and unsubstantiated. The letter failed to address key points

         necessary for ByteDance to understand CFIUS’s concerns and have a

         meaningful opportunity to respond to them. And CFIUS addressed its

         supposed concerns—the most important issue in a CFIUS review—in a

         single, conclusory sentence.      Beyond this one conclusory sentence,

         CFIUS’s findings in the July 30 letter either were so broad as to apply to

         every company active in China; were based on inaccurate or outdated


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         news reports; or were unsupported or, in some cases, directly

         contradicted by the record before CFIUS.           While Treasury officials

         expressed their intent to conclude that the agency had concerns, CFIUS

         itself never informed ByteDance of its concerns prior to announcing the

         CFIUS action on July 30 and did not provide any explanation for its

         determination that the purported national security risks could not be

         adequately    mitigated    other   than    through    complete    divestiture.

         Moreover, CFIUS’s determination concluding CFIUS’s action was issued

         only a few hours before the referral to the President, precluding

         ByteDance from a meaningful opportunity to respond.

              Ground 3: Violation of the Administrative Procedure Act

                41.   The CFIUS Action was arbitrary, capricious, and unlawful.

         See 5 U.S.C. § 706(2).

                42.   To survive APA scrutiny, “the agency must examine the

         relevant data and articulate a satisfactory explanation for its action [that

         is] based on a consideration of the relevant factors ….” Motor Vehicle

         Mfrs. Ass’n. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

         “The requirement that agency action not be arbitrary or capricious

         includes a requirement that the agency adequately explain its result.”


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         Pub. Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir. 1993). Moreover,

         an agency must “consider significant alternatives to the course it

         ultimately chooses.” Allied Local & Reg’l Mfrs. Caucus v. EPA, 215 F.3d

         61, 80 (D.C. Cir. 2000).

                43.   The   CFIUS      Action        relied   almost   exclusively   on

         uncorroborated third-party reports and ignored significant evidence

         presented by Petitioners that refuted CFIUS’s stated concerns.              In

         particular, the CFIUS Action failed to consider or explain why the steps

         that ByteDance was willing to undertake to mitigate CFIUS’s purported

         national security concerns were inadequate. Petitioners submitted two

         detailed proposed term sheets on July 15 and July 29, 2020. CFIUS’s

         July 30 letter announcing its action—sent the day after the second term

         sheet was submitted—stated summarily that CFIUS “considered the

         feasibility” of the proposals and that the mitigation proposals “do not

         adequately address” the government’s concerns.

                44.   The July 30 letter articulates no national security concerns

         that could not have been resolved by either proposal. To the contrary,

         the only justification for CFIUS’s conclusion was that “as ByteDance

         currently operates, company leadership and personnel in China remain


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         significantly involved in both the day-to-day operations and broader

         strategic direction of TikTok, reducing the likelihood that any U.S.-based

         personnel could successfully detect, disclose, and defeat actions to impair

         U.S. national security.” The explanation is a non sequitur: ByteDance’s

         mitigation proposals contemplated significant alterations to the current

         operation of TikTok in the United States, which the government’s public

         statements have indicated could be adequate.

                45.   In short, CFIUS chose the harshest measure available under

         the statute—a referral to the President for divestiture—without

         considering alternatives, trying to craft a narrower solution, or providing

         a cogent explanation of why divestiture was justified over such

         alternatives.    That failure renders CFIUS’s action arbitrary and

         capricious. Where, as here, interested parties propose an alternative that

         “was neither frivolous nor out of bounds,” it is reversible error for an

         agency to fail to consider that alternative. Chamber of Commerce v. SEC,

         412 F.3d 133, 145 (D.C. Cir. 2005).




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                           Ground 4: Unconstitutional Taking

                46.   The Presidential Order constitutes an unlawful taking

         without just compensation, in violation of the Fifth Amendment’s Taking

         Clause.

                47.   The Order effectively leaves ByteDance no choice but to either

         (i) forfeit all of its assets in and data derived from the TikTok U.S.

         business to the government or a government-approved entity, on

         whatever conditions the government decides to impose, or, (ii) if such an

         agreement cannot be reached, abandon the TikTok U.S. business.

                48.   This forced divestiture mandated by the government, which

         would permanently deprive ByteDance of its property without

         compensation, is a classic taking. The government has taken virtually

         all of the “sticks” in the “bundle” of property rights ByteDance possesses

         in its TikTok U.S. platform, leaving it with no more than the twig of

         potentially being allowed to make a rushed, compelled sale, under

         shifting and unrealistic conditions, and subject to governmental

         approval. See Nollan v. Cal. Coastal Comm’n, 483 U.S. 825, 831 (1987).

         This “mandate to relinquish specific, identifiable property” thus “effects

         a per se taking.” Horne v. Dep’t of Agric., 576 U.S. 350, 364–65 (2015).


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                49.   Prospective relief is warranted where, as here, just

         compensation would not be available if the unlawful order is enforced.

         See Eastern Enterprises v. Apfel, 524 U.S. 498, 521–22 (1998) (plurality

         op.) (collecting cases involving “the lack of a compensatory remedy” in

         which the Court has “granted equitable relief for Takings Clause

         violations” and concluding that “declaratory judgment and injunction

         sought by petitioner constitute an appropriate remedy under the

         circumstances”); Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438

         U.S. 59, 71 n.15 (1978) (providing declaratory relief on a takings claim

         because challenged action could produce “potentially uncompensable

         damages”).

                50.   This taking cannot be defended as a bona fide exercise of

         regulatory authority. The factors in Penn Cent. Transp. Co. v. City of

         New York, 438 U.S. 104, 123–24 (1978), support the conclusion that the

         Divestment Order is an unconstitutional taking. The economic impact of

         the divestment is severe, it profoundly interferes with ByteDance’s

         reasonable investment-backed expectations, and it does not actually

         further the purported purpose of protecting national security.




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                                      Requested Relief

                Petitioners request that this Court hold unlawful, vacate, enjoin,

         and set aside the Divestment Order and the CFIUS Action, and grant

         any further relief that may be appropriate.



         DATED: November 10, 2020               Respectfully submitted,

                                               /s/ Beth S. Brinkmann                   .
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                  IN THE UNITED STATES COURT OF APPEALS
                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
         _________________________________________
                                                     )
         TIKTOK INC.,                                )
                                                     )
         and                                         )
                                                     )
         BYTEDANCE LTD.,                             )
                                                     )
                                     Petitioners,    )
                                                     )
              v.                                     )
                                                     )
         THE COMMITTEE ON FOREIGN                    )
         INVESTMENT IN THE UNITED STATES, )
                                                     ) No. ________________
         STEVEN T. MNUCHIN, in his official          )
         capacity as Secretary of the Treasury and )
         Chairperson of the Committee on Foreign )
         Investment in the United States,            )
                                                     )
         DONALD J. TRUMP, in his official            )
         capacity as President of the United States, )
                                                     )
         and                                         )
                                                     )
         WILLIAM P. BARR, in his official capacity )
         as United States Attorney General,          )
                                                     )
                                     Respondents.    )
                                                     )


                      CORPORATE DISCLOSURE STATEMENT

                Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure

         and Circuit Rule 26.1, Petitioners state as follows:


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                ByteDance Ltd. (“ByteDance”) is a private company incorporated in

         the Cayman Islands. ByteDance owns several content platforms that

         enable people around the world to connect with, consume, and create

         entertainment content, including TikTok.           TikTok is an inclusive

         platform for short-form mobile videos with over two billion global

         downloads and 98 million monthly active users in the United States.

                TikTok Inc. is an indirect wholly owned subsidiary of ByteDance.

         All of the outstanding shares of capital stock of TikTok Inc. are held by

         TikTok LLC, a Delaware limited liability company, which in turn is

         wholly owned by TikTok Ltd., a Cayman entity, which in turn is wholly

         owned by ByteDance.




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         DATED: November 10, 2020               Respectfully submitted,

                                               /s/ Beth S. Brinkmann                   .
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                                CERTIFICATE OF SERVICE

                I hereby certify that on this 10th Day of November, I caused copies

         of the foregoing Petition for Review and Corporate Disclosure Statement

         to be served upon the parties listed below by first class mail, postage

         prepaid, to:

         Committee on Foreign Investment in the United States
         U.S. Department of the Treasury
         1500 Pennsylvania Ave. NW
         Washington, DC 20220

         Steven T. Mnuchin
         Secretary of the Treasury of the United States
         U.S. Department of the Treasury
         1500 Pennsylvania Ave. NW
         Washington, DC 20220

         Donald J. Trump
         President of the United States
         The White House
         1600 Pennsylvania Ave. NW
         Washington, DC 20500

         William P. Barr
         United States Attorney General
         950 Pennsylvania Ave. NW
         Washington, DC 20530


                                                   /s/ Beth S. Brinkmann
                                                   Beth S. Brinkmann




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                            Exhibit A




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                                                                                                Presidential Documents



                                                                                                Order of August 14, 2020

                                                                                                Regarding the Acquisition of Musical.ly by ByteDance Ltd.

                                                                                                By the authority vested in me as President by the Constitution and the
                                                                                                laws of the United States of America, including section 721 of the Defense
                                                                                                Production Act of 1950, as amended (section 721), 50 U.S.C. 4565, it is
                                                                                                hereby ordered as follows:
                                                                                                Section 1. Findings. (a) There is credible evidence that leads me to believe
                                                                                                that ByteDance Ltd., an exempted company with limited liability incor-
                                                                                                porated under the laws of the Cayman Islands (‘‘ByteDance’’), through acquir-
                                                                                                ing all interests in musical.ly, an exempted company with limited liability
                                                                                                incorporated under the laws of the Cayman Islands (‘‘Musical.ly’’), might
                                                                                                take action that threatens to impair the national security of the United
                                                                                                States. As a result of the acquisition, ByteDance merged its TikTok applica-
                                                                                                tion with Musical.ly’s social media application and created a single integrated
                                                                                                social media application; and
                                                                                                   (b) Provisions of law, other than section 721 and the International Emer-
                                                                                                gency Economic Powers Act (50 U.S.C. 1701 et seq.), do not, in my judgment,
                                                                                                provide adequate and appropriate authority for me to protect the national
                                                                                                security in this matter.
                                                                                                Sec. 2. Actions Ordered and Authorized. On the basis of the findings set
                                                                                                forth in section 1 of this order, considering the factors described in subsection
                                                                                                (f) of section 721, as appropriate, and pursuant to my authority under
                                                                                                applicable law, including section 721, I hereby order that:
                                                                                                   (a) The transaction resulting in the acquisition by ByteDance of Musical.ly,
                                                                                                to the extent that Musical.ly or any of its assets is used in furtherance
                                                                                                or support of, or relating to, Musical.ly’s activities in interstate commerce
                                                                                                in the United States (‘‘Musical.ly in the United States’’), is hereby prohibited,
                                                                                                and ownership by ByteDance of any interest in Musical.ly in the United
                                                                                                States, whether effected directly or indirectly through ByteDance, or through
                                                                                                ByteDance’s subsidiaries, affiliates, or Chinese shareholders, is also prohib-
                                                                                                ited.
                                                                                                  (b) In order to effectuate this order, not later than 90 days after the
                                                                                                date of this order, unless such date is extended for a period not to exceed
                                                                                                30 days, on such written conditions as the Committee on Foreign Investment
                                                                                                in the United States (CFIUS) may impose, ByteDance, its subsidiaries, affili-
                                                                                                ates, and Chinese shareholders, shall divest all interests and rights in:
                                                                                                  (i) any tangible or intangible assets or property, wherever located, used
                                                                                                  to enable or support ByteDance’s operation of the TikTok application
                                                                                                  in the United States, as determined by the Committee; and
                                                                                                  (ii) any data obtained or derived from TikTok application or Musical.ly
                                                                                                  application users in the United States. Immediately upon divestment,
                                                                                                  ByteDance shall certify in writing to CFIUS that all steps necessary to
                                                                                                  fully and permanently effectuate the actions required under sections 2(a)
                                                                                                  and 2(b) have been completed.
                                                                                                  (c) Immediately upon divestment, ByteDance shall certify in writing to
                                                                                                CFIUS that it has destroyed all data that it is required to divest pursuant
jbell on DSKJLSW7X2PROD with EXECORD




                                                                                                to section 2(b)(ii), as well as all copies of such data wherever located,
                                                                                                and CFIUS is authorized to require auditing of ByteDance on terms it deems
                                                                                                appropriate in order to ensure that such destruction of data is complete.
                                                                                                  (d) ByteDance shall not complete a sale or transfer under section 2(b)
                                                                                                to any third party:

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                                                                                                  (i) until ByteDance notifies CFIUS in writing of the intended recipient
                                                                                                  or buyer; and
                                                                                                  (ii) unless 10 business days have passed from the notification in section
                                                                                                  2(d)(i) and CFIUS has not issued an objection to ByteDance. Among the
                                                                                                  factors CFIUS may consider in reviewing the proposed sale or transfer
                                                                                                  are whether the buyer or transferee: is a U.S. citizen or is owned by
                                                                                                  U.S. citizens; has or has had a direct or indirect contractual, financial,
                                                                                                  familial, employment, or other close and continuous relationship with
                                                                                                  ByteDance, or its officers, employees, or shareholders; and can demonstrate
                                                                                                  a willingness and ability to support compliance with this order. In addition,
                                                                                                  CFIUS may consider whether the proposed sale or transfer would threaten
                                                                                                  to impair the national security of the United States or undermine the
                                                                                                  purpose of this order, and whether the sale effectuates, to CFIUS’s satisfac-
                                                                                                  tion and in its discretion, a complete divestment of all tangible or intangible
                                                                                                  assets or property, wherever located, used to enable or support the oper-
                                                                                                  ation of the TikTok application in the United States.
                                                                                                  (e) From the date of this order until ByteDance provides a certification
                                                                                                of divestment to CFIUS pursuant to section 2(b), ByteDance and TikTok
                                                                                                Inc., a Delaware corporation, shall certify to CFIUS on a weekly basis that
                                                                                                they are in compliance with this order and include a description of efforts
                                                                                                to divest the interests and rights described in section 2(b) and a timeline
                                                                                                for projected completion of remaining actions.
                                                                                                  (f) Any transaction or other device entered into or employed for the
                                                                                                purpose of, or with the effect of, evading or circumventing this order is
                                                                                                prohibited.
                                                                                                  (g) Without limitation on the exercise of authority by any agency under
                                                                                                other provisions of law, and until such time as the divestment is completed
                                                                                                and verified to the satisfaction of CFIUS, CFIUS is authorized to implement
                                                                                                measures it deems necessary and appropriate to verify compliance with
                                                                                                this order and to ensure that the operations of the TikTok application
                                                                                                are carried out in such a manner as to ensure protection of the national
                                                                                                security interests of the United States. Such measures may include the
                                                                                                following: on reasonable notice to ByteDance and TikTok Inc., employees
                                                                                                of the United States Government, as designated by CFIUS, shall be permitted
                                                                                                access, for purposes of verifying compliance with this order, to all premises
                                                                                                and facilities of ByteDance and TikTok Inc., and any of their respective
                                                                                                subsidiaries, operated in furtherance of the TikTok application located in
                                                                                                the United States:
                                                                                                  (i) to inspect and copy any books, ledgers, accounts, correspondence,
                                                                                                  memoranda, and other records and documents in the possession or under
                                                                                                  the control of ByteDance or TikTok Inc., or any of their respective subsidi-
                                                                                                  aries, that concern any matter relating to this order;
                                                                                                  (ii) to inspect or audit any information systems, networks, hardware, soft-
                                                                                                  ware, data, communications, or property in the possession or under the
                                                                                                  control of ByteDance or TikTok Inc., or any of their respective subsidiaries;
                                                                                                  and
                                                                                                   (iii) to interview officers, employees, or agents of ByteDance or TikTok
                                                                                                   Inc., or any of their respective subsidiaries, concerning any matter relating
                                                                                                   to this order. CFIUS shall conclude its verification procedures within
                                                                                                   90 days after the certification of divestment is provided to CFIUS pursuant
                                                                                                   to subsection (b) of this section.
                                                                                                   (h) If any provision of this order, or the application of any provision
                                                                                                to any person or circumstances, is held to be invalid, the remainder of
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                                                                                                this order and the application of its other provisions to any other persons
                                                                                                or circumstances shall not be affected thereby. If any provision of this
                                                                                                order, or the application of any provision to any person of circumstances,
                                                                                                is held to be invalid because of the lack of certain procedural requirements,
                                                                                                the relevant executive branch officials shall implement those procedural
                                                                                                requirements.

            (Page 41 of Total)
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                                                             Federal Register / Vol. 85, No. 161 / Wednesday, August 19, 2020 / Presidential Documents                      51299

                                                                                                  (i) The Attorney General is authorized to take any steps necessary to
                                                                                                enforce this order.
                                                                                                Sec. 3. Reservation. I hereby reserve my authority to issue further orders
                                                                                                with respect to ByteDance, Musical.ly, Musical.ly in the United States, and
                                                                                                TikTok Inc. as shall in my judgment be necessary to protect the national
                                                                                                security.
                                                                                                Sec. 4. Publication and Transmittal. (a) This order shall be published in
                                                                                                the Federal Register.
                                                                                                  (b) I hereby direct the Secretary of the Treasury to transmit a copy of
                                                                                                this order to the appropriate parties named in section 1 of this order.




                                                                                                THE WHITE HOUSE,
                                                                                                August 14, 2020.


                                            [FR Doc. 2020–18360
                                            Filed 8–18–20; 11:15 am]
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                             Exhibit B




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                                                  DEPARTMENT OF THE TREASURY
                                                         WASHINGTON, D.C. 20220




                                                                          JUL       0 202U

                     David N. Fagan
Page 2 of 7




                     Covington & Burling LLP
                     850 10th Street, NW
                     Washington, DC 20001

                     Michael E. Leiter
                     Skadden, Arps, Slate, Meagher, and Flom LLP
Filed: 11/10/2020




                     1440 New York Avenue, NW
                     Washington, DC 20005

                     Re: Case 20-100: ByteDance Ltd. (Cayman Islands; UBO: China)/U.S. Business of Musical.ly

                     Dear Messrs. Fagan and Leiter:

                     I am writing on behalf of the Committee on Foreign Investment in the United States (CFIUS or
                     the “Committee”) regarding CFIUS Case 20-100, involving the November 23, 2017, merger of a
                     wholly owned subsidiary of ByteDance Ltd. (“ByteDance”), an exempted company with limited
Document #1870778




                     liability incorporated in the Cayman Islands and headquartered in Beijing, China, with and into
                     musical.ly (“Musical.ly”), an exempted company with limited liability incorporated in the
                     Cayman Islands (the “Transaction”).

                     The purpose of this letter is to provide notice that CFIUS has identified national security risks
                     arising from the Transaction and that it has not identified mitigation measures that would address
                     those risks. As a result ofthe Transaction, ByteDance merged the Musical.ly application (“app”)
                     with the TikTok app and created a single integrated social media app. Today that integrated
                     social media app—which retained the name TikTok—has amassed approximately 1 3 3 million
USCA Case #20-1444




                     registered users in the United States and collects extensive amounts of user data and content,
                     behavioral data, and device and network data. To the extent that they can be summarized at an
                     unclassified level, the national security risks arising as a result ofthe Transaction include
                     furthering the Chinese government’ s ability to : (1) access and exploit TikTok user data on
                     millions of Americans; and (2) promote a pro-Chinese Communist Party (CCP) agenda in the
                     United States through TikTok.

                     In conducting its analysis of whether a transaction poses national security risks, CFIUS assesses
                     whether a foreign person has the intent and capability to take action to impair the national
                     security of the United States (the “threat”) and whether the nature of the U. S business presents
                                                                                                   .



                     susceptibility to impairment of U.S. national security (the “vulnerability”). National security risk
                     is a function of the interaction between threat and vulnerability, and the potential consequences
                                                                                                                            (Page 44 of Total)




                     ofthat interaction for U.S. national security.
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                         In reaching its determination CFIUS relied upon both classified and unclassified information.
                         The sources ofunclassified information include: (1) material provided by ByteDance in response
                         to approximately 50 questions from CFIUS before ByteDance submitted its May 27, 2020, joint
                         notice (the “Notice”); (2) material provided by ByteDance during two meetings with CFIUS
                         representatives on November 12, 2019, and March 27, 2020; (3) material provided by ByteDance
                         in the Notice; (4) material provided by ByteDance in response to approximately 120 questions
                         from CFIUS after ByteDance submitted its Notice;’ and (5) phone calls held between ByteDance
Page 3 of 7




                         and representatives ofthe Committee. CFIUS also considered unclassified information obtained
                         from press reports cited throughout this letter.

                         CFIUS Assesses that ByteDance Poses a Threat to U.S. National Security

                     In assessing whether ByteDance has the intent and capability to take action to impair U.S.
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                     national security, CfIUS considered the following unclassified information:

                            .    China’ s National Security Law imposes broad obligations on citizens and corporations to
                                 assist and cooperate with the Chinese government in protecting national security
                                 including providing data, information, and technological support to security agencies, law
                                 enforcement agencies, and the military.2 China’s Cybersecurity Law similarly requires
                                 Chinese companies to store data within China, cooperate with crime and security
                                 investigators, and allow full access to data to Chinese authorities upon request.3
Document #1870778




                            .    In 2017, one of ByteDance’ s primary Chinese affiliates, Beijing ByteDance Technology
                                 Co., Ltd., established a Communist Party Committee in its governance structure led by
                                 the company’s vice president fuping Zhang. According to press reports, the Committee
                                 holds regular meetings attended by current and aspiring CCP members, CCP officials,
                                 and senior ByteDance leadership including founder and CEO Yiming Zhang. The
                                 meetings cover “doing a properjob of spreading positive energy” (reportedly a propaganda
                                 euphemism), “enhancing industry self-discipline,” and “building a digital silk road.”4

                            .    In October 20 1 8, Yiming Zhang was listed in the All-China Federation of Industry and
                                 Commerce’ s “1 00 outstanding private entrepreneurs at the 40th anniversary of reform and
USCA Case #20-1444




                                 opening up.” China’s United Front Work Department was reportedly heavily involved in
                                 the selection of the list, which seeks business leaders who “resolutely uphold the Party’s
                                 leadership, unswervingly go along the path of socialism with Chinese characteristics, and
                                 champion the reform and opening-up policies.”5

                     1
                       The material ByteDance provided in response to all questions is hereinafter referred to as “the Responses.”
                     2
                       “China Enacts New National Security Law,” Covington & Burling LLP Web site, July 2, 2015 (accessed July 29,
                     2020, www.cov.comk/medifiles/corporate/publications/2Ol5/O6/chinapasses_newnational_securityjaw.pdf).
                     3
                       Jack Wagner, “China’s Cybersecurity Law: What you need to know,” The Diplomat, June 1, 2017 (accessed July
                      17, 2017, www.thediplomat.com/2O 17/06/chinas-cybersecurity-law-what-you-need-to-know).
                     4
                       David Bandurski, “Tech Firms Tilt Toward the Party,” China Media Project, May 2, 2018 (accessed July 17, 2020,
                     www.chinamediaproject.org!201$/05/02/tech-firms-tilk-toward-the-party); Yaqiu Wang, “Targeting TikTok’s
                     privacy policy alone misses a larger issue: Chinese state control,” Quartz, January 24, 2020 (accessed July 17, 2020,
                                                                                                                                             (Page 45 of Total)




                     www.qz.comll 788836/targeting-tiktoks-privacy-alone-misses-a-much-larger-point).
                     5
                       Danielle Cave, et. al., “Mapping China’s Tech Giants: ByteDance,” Australian Security Policy Institute, November
                     28, 2019 (accessed July 17, 2020, www.chinatechmap.aspi.org.au/#/companyIbytedance).


                                                                              2
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                          .    In April 201 8, China’ s State Administration of Radio and Television publicly chastised
                               ByteDance for hosting vulgar and insensitive content on two of its social media apps,
                               Neihan Duanzi and Toutiao, and temporarily ordered their removal from app stores in
                               China. In response, ByteDance discontinued Neihan Duanzi altogether and Yiming
                               Zhang issued a public apology for failing to acknowledge that “technology must be led
                               by the socialist core value system.” Zhang further pledged to “deepen cooperation with
                               authoritative media” and “elevate distribution of authoritative media content.” ByteDance
Page 4 of 7




                               announced plans to educate its employees about socialist core values and committed to
                               hiring 4,000 additional employees to monitor and censor content, also calling upon
                               Chinese government representatives to supervise ByteDance’ s platforms.6

                          .    ByteDance collaborates with public security bureaus across China, including in Xinjiang,
                               where the Chinese government has detained an estimated 1 .5 million religious and ethnic
Filed: 11/10/2020




                               Uighur minorities. for example, ByteDance assisted the Beijing Radio and Television
                               Bureau’s “Xinjiang Aid” initiative to “propagate and showcase Hotan’s new image” via
                               propaganda on Douyin—the Chinese version of TikTok—following two years of mass
                               detentions and the destruction of mosques, cemeteries, and traditional sites in Hotan.7

                          .    ByteDance plays an active role in disseminating CCP propaganda throughout China,
                               according to press reports.8 More than 500 Chinese government entities at various levels
                               have accounts on Douyin that they use to promote nationalist and socialist content as well
                               as support the country’s social credit system.9
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                         .     In September 2019, The Guardian reported on leaked TikTok content moderation
                               documents that show ByteDance censored references to certain political leaders and
                               specific groups, events, and issues under bans on “demonization or distortion of local or
                               other countries’ history,” “foreign leaders and sensitive figures,” and “highly
                               controversial topics,” including Tiananmen Square, Falun Gong, independence
                               movements in Tibet and Taiwan, and religious content in certain countries. The reports
                               also describe how certain content was made invisible to other users without being overtly
                               removed from TikTok.’°
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                     6
                        David Bandurski, “Tech Shame in the ‘New Era,” China Media Project, April 1 1, 2018 (accessed July 16, 2020,
                     www.chinamediaproject.org/20l8/04/1 1/tech-shame-in-the-new-era); “Open Apology from CEO of Toutiao
                     Following the Ban ofNeihan Duanzi,” Medium, April 16, 2020 (accessed July 28, 2020, www.medium.com!
                     pandaily/open-apology-from-ceo-of-toutiao-following-the-ban-of-neihan-duanzi-63$1000939d0).
                     7
                        Danielle Cave, et. al., “Mapping China’s Tech Giants: ByteDance,” Australian Security Policy Institute, November
                     28, 2019 (accessed July 17, 2020, www.chinatechmap.aspi.org.au/#/company/bytedance).
                     8
                       Ibid. ; Rose Perper, “Report claims TikTok parent company ByteDance is working with China’s Communist Party
                     to spread propaganda on Xinjiang,” Business Insider, November 29, 2019 (accessed July 28, 2020,
                     www.businessinsider.comltiktok-parent-company-bytedance-spreads-chinese-propaganda-report-20 19- 1 1).
                     9
                        Meng Jing, “Government Agencies Jump on Short-Video Bandwagon to Ensure Chinese Youth Still Hears
                     ‘Official Voice,” South China Morning Post, June 15, 2018 (accessed July 16, 2020, www.scmp.com]techlchina
                     tecWarticle/2 1 5083 7/government-agencies-jump-short-video-bandwagon-ensure-chinese-youth); Louise Matsakis,
                     “How the West Got China’s Social Credit System Wrong,” Wired, July 29, 2019 (accessed July 28, 2020,
                     www.wired.comlstory/china-social-credit-score-system).
                                                                                                                                           (Page 46 of Total)




                     10
                        Alex Hem, “Revealed: How TikTok Censors Videos that Do Not Please Beijing,” The Guardian, September 25,
                     2019 (accessed July 16, 2020, www.theguardian.comltechnology/2019/sep/25/revealed-how-tiktok-censors-videos-
                     that-do-not-please-beijing).


                                                                             3
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                           .    According to a November 2019 report citing six former U.S.-based ByteDance
                                employees, “moderators based in Beijing had the final call on whether flagged videos
                                were approved [on TikTokJ” and their “attempts to persuade Chinese teams not to block
                                or penalize certain videos were routinely ignored, out of caution about the Chinese
                                government’s restrictions and previous penalties on other ByteDance

                          .     TikTok spokespeople have repeatedly claimed, “[wJe have never provided user data to
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                                the Chinese government, nor would we do so if asked.”2 However, ByteDance
                                acknowledged in the Responses that Chinese laws require companies incorporated in
                                China to provide user data to which they have access.

                     TikTok Has Vulnerabilities that the Chinese Government Can Exploit to Impair U.S. National
                     Security
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                     In assessing the extent to which the nature of Tiklok and the assets that support it present
                     susceptibility to the impairment ofU.S. national security, CFIUS considered the following
                     unclassified information:

                          .    According to the Notice and Responses, TikTok collects extensive amounts of user data
                               and content,13 behavioral data based on users’ interaction with the app,’4 and device and
                               network data associated with users’ mobile devices on which the app is installed.’5
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                          .    In the Responses, ByteDance described TikTok’s algorithm as a “more sophisticated,
                               personalized model for every user to predict their interest in a more precise and tailored
                               fashion.” According to industry press, “The AT-powered apps at ByteDance go to an
                               extreme not common yet in the West.”16


                     11
                         Drew Harwell and Tony Romm, “Inside TikTok: A culture clash where U.S. views about censorship often were
                      overridden by the Chinese bosses,” The Washington Post, November 5, 2019 (accessed July 17, 2020,
                     www.washingtonpost.com/technology/2019/l l/05/inside-tiktok-culture-clash-where-us-views-about-censorship-
                     often-were-overriden-by-chinese-bosses).
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                      12
                         Makena Kelly, “The U.S. government is considering a TikTok ban, says secretary of state,” The Verge, July 7,
                     2020 (accessed July 20, 2020, www.theverge.com/2020/7/7/2 13 16062/tiktok-band-app-mike-pompeo-govemment-
                     china-bytedance-communist-party).
                      13
                         Usemame, password, email address, phone number, name, nickname, birthday/age, profile thumbnail,
                     biographical information, device contacts list, and third-party account information (e.g., Facebook, Twitter, Google,
                     Instagram, PayPal), videos, music, pictures, articles, hashtags, captions, comments, direct messages, and other
                     material uploaded by users (including private or unpublished content users store on the app). TikTok collects
                     further categories of data about users who become influencers pursuant to contracts with ByteDance, including
                     nationality, ID photograph, home address, family relations, passport number, and driver’s license number.
                     However, only a limited number of TikTok users are influencers.
                     14
                         Likes given, likes received, not interested, video playtime, share, follows, followers, block list, favorites,
                     downloads, log-in history, browsing history, search history, keystroke patterns and rhythms, and purchase history.
                     15
                         Internet Protocol address, cookie data, device identifiers, mobile carriers, network settings, time zone settings, app
                     and file names and types, source of user, Android ID, Apple ID for Advertisers, Google Advertising ID, device
                     model and characteristics (e.g., screen resolution), operating system, list of installed apps, systems language and
                                                                                                                                                  (Page 47 of Total)




                     region, and geolocation-related data (including Global Positioning System data).
                     16
                         Rebecca Fannin, “The Strategy Behind TikTok’s Global Rise,” Harvard Business Review, September 13 2019      ,

                     (accessed July 1 8,2020, www.hbr.org/20 19/09/the-strategy-behind-tiktoks-global-rise).


                                                                                 4
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                          .     The current version of TikTok’s privacy policy provided in the Notice states that “[wJe
                                may disclose your information to respond to subpoenas, court orders, legal process, law
                                enforcement requests, or government inquiries       . The current version of the privacy
                                                                                        .   .   .“

                                policy further states that “[wJe may share your information with a parent, subsidiary, or
                                other affiliate of our corporate group.”

                          .     ByteDance stores Tiklok user data on servers hosted by Alibaba, a large Chinese Internet
Page 6 of 7




                                company. Press reports have revealed how large Chinese Internet companies including
                                Alibaba actively support the Chinese government’s intelligence, surveillance, and
                                censorship efforts. They “openly act as the government’s eyes and ears in cyberspace”
                                and designate spaces in their offices for coordinating with representatives of the Chinese
                                government. 17
Filed: 11/10/2020




                          .    ByteDance has 2,409 employees in China supporting TikTok with access to data for up to
                               1 33 million U.S. TikTok user accounts, according to the Responses. ByteDance is
                               unable to account for how many queries of U. S TikTok user accounts China-based
                                                                                    .

                               personnel make, but on a global basis ByteDance employees query databases containing
                               such data 4,200 times per day on average. U.S. and China-based ByteDance employees
                               manage these internal databases and applications for operating TikTok, which do not
                               have the capability to restrict permissions to access data based upon an employee’s
                               physical location in China, according to the Responses.
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                          .    ByteDance regularly provides software updates for TikTok written by engineers based in
                               China, and the company stated in the Responses that “China-based personnel will
                               continue to have a critical role in delivering the software, on both the front-end
                               applications and the backend, to power the Tiklok app user experience.” ByteDance
                               confirmed in the Responses that app stores have in the past flagged issues with the
                               updates ByteDance has provided before making such updates available for users to
                               download.

                          .    In the beginning of 2020, Apple “fixed a serious problem in iOS where apps could
                               secretly access the clipboard on users’ devices inquiries   one of the apps caught
USCA Case #20-1444




                                                                                                     .   .   .

                               snooping by security researchers was China’s TikTok.”18 When asked about the app’s
                               access to users’ device clipboards, a TikTok spokesperson first cited an “outdated Google
                               advertising software development kit” that was since replaced. When asked again several
                               months later after the Apple update showed continued clipboard access by TikTok the
                               spokesperson claimed the access was “triggered by a feature designed to identify
                               repetitive, spammy behavior” and was being remedied through a software update,
                               according to the Responses.


                     17
                        Liza Lin and Josh Chin, “China’s Tech Giants Have a Second Job: Helping Beijing Spy on Its People,” The Wall
                     Street Journal, November 30, 2017 (accessed July 17, 2020, www.wsj.com/articleschinas-tech-giants-have-a
                     second-job-helping-the-government-see-everything- 15 120556284).
                                                                                                                                       (Page 48 of Total)




                     1$
                        Zak Doffman, “Warning: Apple Suddenly Catches TikTok Secretly Spying on Millions of iPhone Users,” Forbes,
                     June 26, 2020 (accessed July 22, 2020, www.forbes.com!sites/zakdoffmanl2020/06/26/warning-apple-suddenly-
                     catches-tiktok-secretly-spying-on-millions-of-iphone-users).


                                                                            5
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                     In assessing the consequences, CFIUS considered the potential effects on national security that
                     could reasonably result from the exploitation ofthe vulnerabilities by the identified threat actors,
                     and concluded that such effects could impair the national security ofthe United States.

                     Based upon the Committee’s national security expertise and judgement, CFIUS has considered
                     the feasibility of mitigation measures to address the national security concerns posed by the
                     Transaction, including the proposals ByteDance submitted to the Committee on July 1 5, 2020,
Page 7 of 7




                     and July 29, 2020. The Committee considered that as ByteDance currently operates, company
                     leadership and personnel in China remain significantly involved in both the day-to-day
                     operations and broader strategic direction of TikTok, reducing the likelihood that any U.S.-based
                     personnel could successfully detect, disclose, and defeat actions to impair U.S. national security.

                     CFIUS also considered press reports that indicate that ByteDance has not fully complied with its
Filed: 11/10/2020




                     binding obligations to the U.S. Government in another context.19 In light ofthese considerations,
                     CfIUS has concluded that the proposals do not adequately address the identified national
                     security concerns. For a mitigation measure to feasible it must be effective, monitorable, and
                     enforceable over a sustained period of time.

                     CFIUS has not identified any mitigation measures that could be negotiated or imposed to address
                     all sources of national security risk arising from the Transaction. Accordingly, the Committee
                     anticipates that it will refer the matter to the President for decision. CFIUS considers referrals to
                     the President when it has not identified a reasonable way to mitigate the national security risk.
Document #1870778




                     ByteDance may promptly provide CFIUS with additional relevant information for its
                     consideration.


                                                                         Sincerely,
USCA Case #20-1444




                                                                         Thomas P. Feddo
                                                                         Assistant Secretary
                                                                         Investment Security

                                                                                                                                        (Page 49 of Total)




                     19
                       Explainer: How the U.S. Seeks to Protect Children’s Privacy Online,” The New York Time, July 8, 2020 (accessed
                     July 1 8, 2020, www.nytimes.com/reuters/2020/07/O$/technology/O8reuters-tiktok-privacy-children-explainer).


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             EXHIBIT 25
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                [ORAL ARGUMENT NOT SCHEDULED]

            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


  TIKTOK INC., et al.,

                   Petitioners,

     v.
                                                        No. 20-1444
 COMMITTEE ON FOREIGN INVESTMENT IN
   THE UNITED STATES, et al.,


                   Respondents.


                             STATUS REPORT

      On February 19, 2021, this Court placed this petition for review in

abeyance, directing that status reports be filed at 60-day intervals. The

government has filed status reports on April 21, 2021, June 21, 2021, August

23, 2021, October 19, 2021, December 20, 2021, February 18, 2022, April 19,

2022, June 21, 2022, August 22, 2022, October 21, 2022, December 20, 2022,

and now respectfully submits this status report.

      The parties continue to be involved in ongoing negotiations to

determine whether this case may be resolved by mutual agreement, and

staff-level officials at each of the Committee member agencies continue to
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review the agency action in question to determine the appropriate course

going forward.

      Abeyance continues to be appropriate, and we therefore respectfully

request that respondents be permitted to file another status report within 60

days after the filing of this report, by April 24, 2023.

                                           Respectfully submitted,

                                           SHARON SWINGLE

                                            s/ Casen B. Ross
                                           CASEN B. ROSS
                                              Attorneys, Appellate Staff
                                              Civil Division, Room 7270
                                              U.S. Department of Justice
                                              950 Pennsylvania Avenue NW
                                              Washington, DC 20530
                                              202.514.1923


                                              February 2023
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                                                                        3 of 3



                      CERTIFICATE OF SERVICE

     I hereby certify that on February 21, 2023, I electronically filed the

foregoing document with the Clerk of the Court by using the appellate

CM/ECF system. I certify that the participants in the case are registered

CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.



                                           /s/ Casen B. Ross
                                          CASEN B. ROSS
